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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                CASE NO. 1:17-CV-23051-KMW


   MERIDIAN TRUST COMPANY, as trustee,
   and AMERICAN ASSOCIATED GROUP, LTD.,

                 Plaintiffs,
   v.

   EIKE BATISTA, WERNER BATISTA, et al.,

               Defendants.
   _______________________________________/

        FIRST FEDERAL AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiffs, MERIDIAN TRUST COMPANY, as trustee, and AMERICAN ASSOCIATED

   GROUP, LTD., sue Defendants, EIKE BATISTA, ELIEZER BATISTA, WERNER BATISTA,

   THOR BATISTA, PAULO MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS

   BERTO, LUIZ CARNEIRO, AZIZ BEN AMMAR, ERICK MAGNO, ERICK MAGNO, PL,

   BANCO ITAÚ INTERNATIONAL, EFG CAPITAL INTERNATIONAL CORP., EFG BANK

   AG, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET

   MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC,

   CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX

   INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, AUX LLC, OLIN BATISTA,

   FLAVIA SAMPAIO and LUMA DE OLIVEIRA, and say as follows:

                               Case Capsule - Requires No Response

          A Brazilian con man, Eike Batista, induced investors from around the U.S. - including

   many State employee pension funds, such as the Florida Retirement System Trust Fund - to invest

   billions of dollars in his oil exploration company OGX and its satellite companies in the EBX
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   Group on the basis of fraudulent promises of the discovery of a trillion dollars of offshore oil. He

   promised to plough in a billion dollars of his own money if the business needed it to come into

   production.

          When the truth was finally discovered, that there was virtually no oil, Batista welshed on

   his billion-dollar promise; OGX and its satellite companies in the EBX Group collapsed; and the

   investors lost their money in what is currently Latin America’s largest corporate default, ever.

          Batista and a few others were indicted for market manipulation, insider trading, and bribery

   of government officials, and he has been fined and banned from heading up public companies for

   five years in Brazil. However, the conspirators all made many hundreds of millions of dollars from

   the scheme. Batista stashed much of his share in the names of family members and shell companies

   and behind trustees in Miami, Florida, and offshore.




          The Plaintiffs - investment vehicles for an elderly disabled beneficiary (now deceased) and

   his Florida family members - invested over $21 million in worthless OGX bonds through their

   Florida investment adviser on the basis of Batista and his accomplices’ fraudulent

   misrepresentations. They seek to recover their losses against Batista and his co-conspirators and

   aiders and abettors; including treble damages pursuant to Florida’s racketeering statutes; and,

   pursuant to Florida’s fraudulent transfer statute, to freeze the proceeds of the fraudulent scheme in




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   the hands of the various recipients and secure the return of assets fraudulently transferred out of

   Florida by Miami private bankers and Miami trustees, pending judgment.

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                                        Parties and Jurisdiction

          Jurisdiction:

          1.      This is an action for actual damages in excess of $20 million and statutory damages

   in excess of $60 million dollars, and therefore far in excess of the minimal jurisdictional damages

   requirements of this Court.

          2.      This is further an action for injunctive and other equitable relief and therefore

   further within the equitable jurisdiction of this Court.

          Plaintiffs:

          3.      Plaintiff, MERIDIAN TRUST COMPANY (“MERIDIAN”), is and was at all times

   material hereto, a trust company incorporated under the laws of Nevis and located in Nevis.

          4.      MERIDIAN, as trustee, is and was at all material times the holder of legal title to

   the assets of a family trust fund termed “The Chrisly Trust” held and administered for the benefit

   of: (a) a very elderly, disabled beneficiary, now deceased, whose affairs were at all times handled

   for his benefit in Miami-Dade County, Florida, under a Florida durable power of attorney by his

   son, a Miami-Dade County, Florida resident and; (b) his Florida family members. The investments

   at issue were made through the Plaintiff’s Florida investment adviser, as agent.

          5.      Plaintiff, AMERICAN ASSOCIATED GROUP, LTD. (“AMERICAN”), is and

   was at all times material hereto a corporation incorporated in the Cayman Islands which held

   investments on behalf of the same very elderly disabled individual, now deceased, and his Florida

   family, through the trust outlined above. The investments at issue were made through the same

   Florida investment adviser, as agent.




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          Defendants:

          6.      Defendant, EIKE BATISTA (“EIKE BATISTA” or “BATISTA”), is and was at all

   times material hereto an individual who is resident in Brazil, doing business directly and through

   agents in Miami-Dade County, Florida.

          7.      Defendant, ELIEZER BATISTA (“ELIEZER BATISTA” or “ELIEZER”), is and

   was at all times material hereto an individual who is resident in Brazil, the father of EIKE

   BATISTA, doing business directly and through agents in Miami-Dade County, Florida.

          8.      Defendant, WERNER BATISTA (“WERNER BATISTA” or “WERNER”), is and

   was at all material times an individual who is resident in Palm Beach, Florida and the brother of

   EIKE BATISTA, doing business directly and through agents in Miami-Dade County, Florida.

          9.      Defendant, THOR BATISTA (“THOR BATISTA” or “THOR”), is and was at all

   material times an individual who is resident in Brazil and the son of EIKE BATISTA, doing

   business directly and through agents in Miami-Dade County, Florida.

          10.     Defendant,      PAULO        MENDONÇA           (“PAULO        MENDONÇA”           or

   “MENDONÇA”), is and was at all material times an individual who is resident in Brazil, doing

   business directly and through agents in Miami-Dade County, Florida.

          11.     Defendant, FLAVIO GODINHO (“FLAVIO GODINHO” or “GODINHO”), is and

   was at all material times an individual resident in both Fisher Island, Florida and in Brazil, a

   Brazilian attorney and the long-time “right-hand man” of EIKE BATISTA, doing business directly

   and through agents in Miami-Dade County, Florida.

          12.     Defendant, PAULO GOUVEA (“PAULO GOUVEA” or “GOUVEA”), is and was

   at all material times an individual resident in Brazil, doing business directly and through agents in

   Miami-Dade County, Florida.




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           13.     Defendant, MARCUS BERTO (“MARCUS BERTO” or “BERTO”), is and was at

    all material times a resident of Key Biscayne, Florida, doing business directly and through agents

    in Miami-Dade County, Florida.

           14.     Defendant, LUIZ CARNEIRO (“LUIZ CARNEIRO” or “CARNEIRO”), is and

    was at all material times an individual resident in Brazil, doing business directly and through agents

    in Miami-Dade County, Florida.

           15.     Defendant, AZIZ BEN AMMAR (“AZIZ BEN AMMAR” or “BEN AMMAR”),

    is and was at all material times a resident of New York, doing business directly and through agents

    in Miami-Dade County, Florida.

           16.     Defendant, ERICK MAGNO (“MAGNO”), is and was at all material times a

    resident of Miami, Florida, doing business directly and through agents in Miami-Dade County,

    Florida.

           17.     Defendant, ERICK MAGNO, PL (“MAGNO PL”), is and was at all material times

    a Miami, Florida professional limited liability services company, resident in Florida, owned and

    controlled by MAGNO, and doing business directly and through agents in Miami-Dade County,

    Florida.

           18.     Defendant, BANCO ITAÚ INTERNATIONAL (“BANCO ITAÚ MIAMI”), also

    known under the trade name “Itaú Private Bank,” is and was at all material times an Edge Act

    corporation created under the laws of the United States and regulated by the Federal Reserve Bank

    of Atlanta, providing services as a “private bank,” with its principal place of business in Miami,

    Florida.

           19.     Defendant, EFG CAPITAL INTERNATIONAL CORP., d/b/a “EFG CAPITAL”

    (“EFG MIAMI”), is and was at all material times, a Delaware corporation, authorized to transact




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    business in the State of Florida, with its principal place of business in Miami, Florida, where it

    provides private banking services.

           20.     Defendant, EFG BANK AG (“EFG SWITZERLAND”) is a Swiss banking

    corporation with its principal place of business in Zurich, Switzerland, doing business directly and

    through its affiliate and agent, EFG MIAMI, in Miami-Dade County, Florida.

           21.     Defendant, 63X INVESTMENTS LTD. (“63X INVESTMENTS”), is and was at

    material times a corporation organized under the laws of the Cayman Islands, doing business

    directly and through agents in Miami-Dade County, Florida.

           22.     Defendant, 63X MASTER FUND, LTD. (“63X MASTER FUND”), is and was at

    material times a corporation organized under the laws of the Cayman Islands, doing business

    directly and through agents in Miami-Dade County, Florida.

           23.     Defendant, 63X FUND (“63X FUND”), is and was at material times a corporation

    organized under the laws of the Cayman Islands (with the two companies above sometimes

    referred to collectively as “the 63X Companies”), doing business directly and through agents in

    Miami-Dade County, Florida.

           24.     Defendant, CENTENNIAL ASSET MINING FUND, LLC (“CENTENNIAL

    NEVADA”), is and was at material times a limited liability company organized under the laws of

    Nevada, doing business directly and through agents in Miami-Dade County, Florida.

           25.     Defendant, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC

    (“CENTENNIAL DELAWARE”) is and was at material times a limited liability company

    organized under the laws of Delaware, doing business directly and through agents in Miami-Dade

    County, Florida.

           26.     Defendant, CENTENNIAL ASSET LTD. (“CENTENNIAL BVI”) is and was at

    material times a limited liability company organized under the laws of the British Virgin Islands



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    (with the companies referred to immediately above, sometimes referred to collectively as “the

    CENTENNIAL Companies”), doing business directly and through agents in Miami-Dade County,

    Florida.

           27.    Defendant, WRM1 LLC (“WRM DELAWARE 1”), is and was at material times a

    limited liability company organized under the laws of Delaware, doing business directly and

    through agents in Miami-Dade County, Florida.

           28.    Defendant, WRM2 LLC (“WRM DELAWARE 2”), is and was at material times a

    limited liability company organized under the laws of Delaware, doing business directly and

    through agents in Miami-Dade County, Florida.

           29.    Defendant, 3BX INVESTMENTS, LLC, (“3BX DELAWARE”) is and was at

    material times a limited liability company organized under the laws of Delaware, doing business

    directly and through agents in Miami-Dade County, Florida.

           30.    Defendant, 3BX INVESTMENT FUND I, LLC (“3BX NEVADA”), is and was at

    material times a limited liability company organized under the laws of Nevada, doing business

    directly and through agents in Miami-Dade County, Florida.

           31.    Defendant, AUX LUXEMBOURG SARL (“AUX LUXEMBOURG”), is and was

    at material times a limited liability company organized under the laws of Luxembourg, doing

    business directly and through agents in Miami-Dade County, Florida.

           32.    Defendant, AUX LLC (“AUX DELAWARE”), is and was at material times a

    limited liability company organized under the laws of Delaware, doing business directly and

    through agents in Miami-Dade County, Florida.

           33.    Defendant, OLIN BATISTA, is and was at all material times an individual who is

    resident in Brazil and the son of EIKE BATISTA, doing business directly and through agents in

    Miami-Dade County, Florida.



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            34.     Defendant, FLAVIA SAMPAIO, is and was at all material times an individual who

    is resident in Brazil, the girlfriend of EIKE BATISTA, and the mother of his minor son, Balder

    Batista, doing business directly and through agents in Miami-Dade County, Florida.

            35.     Defendant, LUMA DE OLIVEIRA, is and was at all material times an individual

    who is resident in Brazil, the ex-wife of EIKE BATISTA, and the mother of his adult sons, the

    Defendants, THOR BATISTA and OLIN BATISTA, doing business directly and through agents

    in Miami-Dade County, Florida.

            Personal Jurisdiction in Florida:

            36.     Defendants, WERNER BATISTA, MARCUS BERTO, FLAVIO GODINHO and

    ERICK MAGNO are ordinarily residents in Florida and are therefore subject to the general

    jurisdiction of its Courts.

            37.     Defendant, BANCO ITAÚ MIAMI is a U.S. Edge Act bank chartered in the U.S.

    and regulated by the Federal Reserve Bank of Atlanta with its principal places of business in

    Miami, Florida and is therefore subject to the general jurisdiction of this Court.

            38.     Defendant, EFG MIAMI, is chartered in Delaware and authorized to do business in

    Florida, with its princiupal place of business in Miami-Dade County, Florida and is therefore

    subject to the general jurisdiction of this Court.

            39.     Further, Defendant, EFG SWITZERLAND uses its affiliate EFG MIAMI, on

    Brickell Avenue, Miami, Florida, as its agent to sign up clients for its Swiss banking services and

    therefore has, in truth and in fact, a place of business in Miami-Dade County, Florida and is subject

    to the general jurisdiction of this Court.

            40.     Further, every Defendant is subject to the general jurisdiction of the courts of this

    State pursuant to Fla. Stat. § 48.193(2) as having engaged in substantial and not isolated activity




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    within this State, both individually and directly and further as a result of the actions of agents and

    co-conspirators which are imputed to each of them.

           41.      Each Defendant is subject to the specific jurisdiction of the courts of this State,

    pursuant to Fla. Stat. § 48.193(1)(a)(1) as having operated, conducted, engaged in or carried on a

    business or business venture in this state, or having an agency in this state, both individually and

    directly, and further as a result of the actions of agents and co-conspirators which are imputed to

    each of them.

           42.      This is an action brought in connection with that business. Brazil is not a party to

    the Hague Service Convention. The non-resident Defendants may therefore be served through the

    Florida Secretary of State pursuant to Fla. Stat. § 48.181(1) with notice of service given by certified

    or registered mail pursuant to Fla. Stat. § 48.161(1).

           43.      Each Defendant is further subject to the specific jurisdiction of the courts of this

    State pursuant to Fla. Stat. § 48.193(1)(a)(2) as having committed tortious acts within this State,

    both individually and directly, and further as a result of the actions of agents and co-conspirators

    which are imputed to each of them.

           44.      As a result of each of their individual and direct actions and further as a result of

    the actions of their agents and co-conspirators which are imputed to each of them, all Defendants

    have sufficient minimum contacts with this State that haling them before the courts of this State

    would not offend Constitutional due process requirements.

           The Fraudulent Scheme – Overview:

           45.      EIKE BATISTA is a scion of the hugely wealthy, politically tied-in Batista clan in

    Rio de Janeiro, Brazil. His father ELIEZER BATISTA, was a past Minister of Mining and Energy

    and past CEO of the massive Vale mineral exploration conglomerate in Brazil, through which he

    made the family fortune.



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           46.     Between 2008 and 2013 BATISTA and his father, ELIEZER, his brother,

    WERNER, and other co-conspirators and accomplices in the EBX Group, described below, raised

    close to $10 billion dollars from investors in stocks and bonds, overwhelmingly in the U.S., on the

    basis of an international press campaign barraging the international investing public with false

    promises of a trillion dollars of recoverable oil off the coast of Brazil pursuant to drilling leases

    from the Brazilian government owned by BATISTA’s oil exploration company, EBX Group

    member, OGX.

           47.     The principal target for these fraudulent misrepresentations were investors across

    the United States. Accordingly, the American Depository Receipts or “ADRs” - a way of trading

    foreign stocks in the U.S. - were listed in New York and the bond trustee was, likewise, in New

    York. The lies were promulgated in English via the OGX standing website, via English language

    interviews to U.S. financial reporters and analysts such as Bloomberg,1 via English language

    interviews to American TV reporters which were broadcast by TV stations in the U.S., by pitches

    made directly to investors, face-to-face, in the U.S., and via OGX financial results, earnings

    presentations, management reports and quarterly earnings calls, which were all in English.

           48.     BATISTA and his co-conspirators and accomplices had OGX commission huge

    multimillion-dollar oil production platforms – tanker vessels equipped with drill rigs – from his

    satellite ship-building company, and EBX Group member, OSX, which he paid for with investor

    money. He trumpeted plans for a satellite port city in Brazil to be run by his logistics company,




    1
     “Bloomberg” refers to the New York-based financial software, data, and media company which
    provides the international investment industry with financial software tools and news through the
    Bloomberg Terminal (via its Bloomberg Professional Service), wire service (Bloomberg News),
    global TV network (Bloomberg Television), websites, radio station [WBBR], newsletters and
    magazines. (Bloomberg Businessweek, Bloomberg Markets and Bloomberg Pursuit.)

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    and EBX Group member, LLX, that would blossom as the tankers offloaded a “trillion dollars” of

    oil.2

            49.    But all the vast production and transport paraphernalia was just window dressing.

    As BATISTA and his co-conspirators and accomplices knew, there was in fact virtually no

    recoverable oil, no need for the massive production machinery to pump and transport it, and no

    need for a dedicated port to offload it.

            50.    The core business, the OGX oil business, was actually an abysmal failure. It stayed

    alive only as long as there was an inflow of fresh capital from duped investors and lenders and as

    long as BATISTA and his co-conspirators and accomplices could maintain the illusion of a huge

    eventual payoff.

            51.    Start to finish, from 2012 to 2017, the OGX venture discovered and pumped

    approximately 19.7 million barrels of oil. That was the equivalent of only fourteen days of

    production at its promised target rate of 1.4 million barrels per day.

            52.    Necessarily, all the billions of dollars that BATISTA and his co-conspirators and

    accomplices took and kept for theirselves was skimmed off the top of what came in from investor

    contributions, leaving an ever-deepening chasm of debt beneath.

            53.    The exit strategy was for the EBX Group co-conspirators to sell whatever stock and

    assets they could, trust to local corruption to safeguard the wealth trapped within Brazil, and trust

    to the complicity of professional co-conspirators, accomplices, bankers, and bribed politicians, to

    hide the vast mass of their takings safely abroad in solid investments or secret bank accounts,




    2
     As part of building his brand, BATISTA typically dubbed his companies by a pair of initials that
    described the core business, followed by an “X,” the multiplication sign, indicating burgeoning
    wealth. Thus, for instance, “OG” stood for “Oil and Gas.” “OS” was “Offshore Services.” “EB,”
    BATISTA’s initials, and “63,” his lucky number (he is notoriously superstitious) indicated
    personal wealth-holding companies.

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    where toothless local Brazilian government processes and their victims, they hoped, would be

    unable to touch them.

           54.     By the start of 2013, through thousands of fraudulent misrepresentations spanning

    the years since 2009, BATISTA and his co-conspirators and accomplices had built an impression

    in the minds of money managers and investors across the United States and worldwide, that OGX

    was sitting on enormous reserves of recoverable oil, when in reality there was virtually none.

           55.     These accumulated fraudulent misrepresentations were at all times available to

    financial analysts in 2013. No BATISTA co-conspirator or accomplice took any steps to correct

    that fraudulently-created belief then or at any time after.

           56.     In 2013, OGX bonds were returning high yields. The unchallenged, oft-repeated

    public boast by BATISTA and his co-conspirators and accomplices was that there was a “trillion

    dollars of oil” in the ground. The only real concern to investors in OGX bonds was whether the

    company was sufficiently capitalized to bring that oil into production.

           57.     To reassure investors, BATISTA and his co-conspirators and accomplices, via

    further fraudulent misrepresentations in the course of 2013, detailed below, created an illusion of

    great interest by sophisticated oil industry players in buying stakes in OGX, and an illusion of deep

    financial resources, ultimately backed by BATISTA’s personal pledge through the “Put Option”

    (also detailed below) to inject a billion dollars into OGX, personally through his EBX company

    CENTENNIAL NEVADA, if and when needed. For good measure, BATISTA pledged a further

    billion dollars to capitalize OSX, also if and when needed.

           58.     On the basis of these fraudulent misrepresentations, the Plaintiffs invested in OGX

    bonds in the course of 2013.

           59.     In October 2013, when BATISTA and his co-conspirators and accomplices had

    secretly cashed out the last of their stakes – and when the wealth had been secreted in the names



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    of BATISTA’s various willing family members, joined as Defendants here, or under Miami trusts

    held by the Miami trustees, BERTO and MAGNO, or in shell companies and bank accounts

    outside Brazil, in Miami, Florida, and around the world – BATISTA reneged on that billion dollar

    pledge and OGX declared bankruptcy, swiftly followed by the bankruptcy of the satellite EBX

    Group companies OSX and MMX.

           60.     Even after the bankruptcy of OGX – with BATISTA and his father ELIEZER still

    at the helm of the reorganizing company (now dubbed “OGPar”) – BATISTA continued to secretly

    loot the corpse, for instance by having one of the 63X Companies send $15 million from its

    Cayman account to the trust account of MAGNO in Miami, where MAGNO, “as trustee,” fronted

    a DIP loan to OGPar on behalf of unnamed beneficiaries at effectively 120% interest. The loan

    was repaid in full months later, plus $3 million interest. The truth behind this, and other similar

    transactions, was not disclosed to investors in the reorganization.

           61.     The fraudulent scheme depended, overwhelmingly, on defrauding North

    Americans. Something like 70% of all the money came from United States investors. Most of the

    rest came from Europe. Less than 10% came from Latin America as a whole. Brazilian investment

    was minimal. So, the U.S. was where the lies were directed and had their major impact, where the

    vast majority of the victims are and where the vast majority of the losses were suffered. Brazil was

    notionally where the assets were. But the fraud was overwhelmingly an American fraud,

    perpetrated on Americans.

           62.     Between the OGX and OSX public offerings, Batista raised $9.8 billion on this

    scam, most of which was lost. The massive investment houses, Pimco from California and

    BlackRock from New York, lost billions of dollars apiece. American government employee

    pension plans across the U.S.A. lost, collectively, hundreds of millions – perhaps billions – of

    dollars through investments made by their pension plan trustees.



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            63.     Thus, the Florida Retirement System Trust Fund lost $24 million.3 The California

    Public Employees’ Retirement System lost $26 million. Other State and local funds across the

    U.S.A., from Alaska, Connecticut, Fresno, Idaho, Illinois, Indiana, Iowa, Louisiana, Michigan,

    Missouri, New Hampshire, New Jersey, New Mexico, the City of New York, Ohio, Oregon,

    Pennsylvania, San Diego, Texas, and West Virginia, invested in this scam and took a bath. The

    current Plaintiffs alone lost in excess of $20 million.

            64.     BATISTA and his co-conspirators and accomplices gambled that they could make

    immense amounts of money with no real comebacks. For the most part that is how it has worked

    out. BATISTA and a few others were eventually criminally indicted in Brazil for insider trading,

    stock manipulation and market fraud. What was probably unanticipated was that Brazil would

    finally start to take baby steps to tackle its endemic corruption problem. As part of the fall-out

    from the “Lava-Jato” corruption probe, BATISTA, GODINHO and CARNEIRO were eventually

    indicted on corruption and bribery charges involving government officials.

            65.     However, in Brazil’s glacially slow, toothless, corrupt legal system, it is highly

    unlikely that there will eventually be any serious consequences for any of them. BATISTA was

    released from preventative detention in jail to “house arrest” at his palatial domestic compound on

    the unilateral order of a willing Brazilian Supreme Court justice – who is married to BATISTA’s

    attorney’s law partner. In doing so, he overruled the lower courts and refused to recuse himself,

    ignoring the protests of the prosecutor, the Attorney General and the rest of the Supreme Court as

    to the glaring conflict of interest.




    3
      The Florida Retirement System Trust Fund is an approximately $150 billion pension fund that
    pays retirement benefits for over a million state, county, school system and higher-education
    teachers and other employees, managed by the Florida State Board of Administration of which the
    trustees are Florida Governor, Richard Scott, Florida Chief Financial Officer, Jeffrey Atwater, and
    Florida Attorney General, Pamela Bondi.

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           66.     BATISTA and his family still wield great social, political and financial clout in

    Brazil, and BATISTA and GODINHO, reportedly, anticipate that they will be able to plea-bargain

    for minimal penalties in exchange for fingering other corrupt government officials.

           67.     Millions of dollars of the domestic Brazilian assets that BATISTA had stashed at

    the last minute in the names of his willing family members in anticipation of the collapse were

    frozen on his home turf, in Rio de Janeiro. But, all in all, apart from what are, in the scheme of

    things, survivable inconveniences, with most of the wealth that he and his co-conspirators and

    accomplices garnered from the scheme stashed in Florida and elsewhere abroad, the fraud has been

    a complete success.

           Organizational Layout of the Complaint:

           68.     The allegations are divided into three sections. The first – “Section I - Inflating

    the OGX Oil Bubble” - covers the period from 2009 through early 2013, during which, as the

    cumulative effect of a series of fraudulent misrepresentations, BATISTA and his co-conspirators

    and accomplices in the EBX Group built a belief in the minds of American and other foreign

    investors that OGX was sitting on massive reserves of recoverable oil when there was in fact

    virtually none. This was the foundational, accepted understanding by financial analysts and

    investors of OGX’s assets and likely profitability at the time that the Plaintiffs made their

    investments in OGX bonds through their Florida investment adviser in 2013.

           69.     The continuing fraudulent misrepresentations and how they induced the successive

    purchases of more than $21 million in OGX bonds by their Florida investment adviser on

    Plaintiffs’ behalf during 2013 is covered in “Section II - The Plaintiffs Invest.”

           70.     The account of the collapse of the whole house of cards in late 2013 and the

    continuing efforts to move funds out of the reach of creditors is detailed in “Section III - The

    OGX Oil Bubble Bursts.”



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                               Section I - Inflating the OGX Oil Bubble

             The Roles played by the Defendants

             The EBX Group - Overview:

             71.   OGX was part of what BATISTA and his accomplices and co-conspirators termed

    “Groupo EBX,” or “the EBX Group.” This was not a formal separate entity, legally, but an

    informal designation to cover a growing roster of companies under the same financial umbrella

    whose success ultimately depended on the success of OGX. It was therefore in the nature of a joint

    venture and - as the fraudulent misrepresentations began to be generated in 2008 - a conspiracy

    between a number of companies and the individuals who controlled them.

             72.   One set of members of the EBX Group were public operating companies. These

    included OGX (oil exploration), OSX (oil platform construction and oil transport and processing),

    LLX (port logistics and operation), MMX, (minerals and mining), MPX (thermo-electric power

    generation) and CCX (coal mining in Colombia). There were also privately held operating

    companies, AUX (gold mining) and REX (real estate). Theses are sometimes referred to as the

    “operating companies.”

             73.   Some of the various logos under which fraudulent misrepresentations were

    generated are shown below, with each of the company logos also noting membership in the EBX

    Group.




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           74.    Behind the public operating companies, there were a number of private, wealth-

    management companies which directly and indirectly, through layers of holding companies, held

    the shares in and exercised control over the operating companies. These all led up to BATISTA at

    the top and included the three 63X Companies, the CENTENNIAL Companies, the WRM

    Companies, the 3BX Companies and the AUX Companies, as well as various other EBX

    companies such as EBX Holding Ltda., EBX Brasil S.A. and EBX Investimentos Ltda.

    (Sometimes referred to as the “wealth-management companies”).

           75.    On a formal level, there were extensive interlocking directorships between the

    public operating companies and the private wealth-management companies, as is further described

    below. On a pragmatic level there were no barriers to information flow between the top executives

    and directors and other individuals who ran the various public and private companies.4 As family

    members and close friends and confidants, there was a keen mutual understanding between the




    4
      Moreover, many of the companies’ were headquareterd in the same office building and often
    entered into contracts with each other to share administrative costs. For example, OGX and EBX
    Investimentos Ltda. had a long-term contract to share millions of dollars in quarterly
    administrative costs.

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    individuals that the fortunes of the companies in the group, and their own personal fortunes,

    depended on the wealth generated by OGX and its satellite companies.

           76.     Accordingly, the decisions as to whether to generate fraudulent misrepresentations

    or to withhold relevant information, constituting fraudulent misrepresentations by omission, was

    a collective, collaborative effort in which all such individuals took part. For the scheme to work,

    all had to toe the line and back up the active fraudulent misrepresentations. If a single member

    disclosed what he knew, all would fail.

           77.     There were formal board memberships taken by the various individual co-

    conspirators in various companies in the EBX Group and the membership positions were

    frequently announced publicly. For example, a press release in May 2010 – which, translated into

    English, stated “Notice of Clarification by the Directors of the Companies of the EBX Group” –

    listed GODINHO, GOUVEA and WERNER BATISTA as directors of EBX Investimentos, Ltda.;

    MENDONÇA as a director of OGX; and CARNEIRO as a director of OSX. The top and bottom

    of that press release is shown here:




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           78.     But membership in what was termed the EBX Group was fluid, both at the

    corporate and the board level, and fluctuated widely over time. Whether the publicly stated formal

    memberships were accurate at any particular time will need to await discovery, as much about the

    EBX Group was made up by the participants to suit their purpose at any particular time and many

    documents cannot be taken at face value.

           79.     However, the de facto managing agents who controlled the companies in the EBX

    Group stayed constant. They were, from the inception of the fraud, onwards, EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, PAULO MENDONÇA, FLAVIO GODINHO,

    PAULO GOUVEA and LUIZ CARNEIRO. From at least late 2012, onwards, the group included

    THOR BATISTA, MARCUS BERTO and AZIZ BEN AMMAR.

           80.     The fraudulent misrepresentations generated between 2008 and 2013, as are

    detailed below, were therefore all generated with the knowledge, approval participation and

    consent of the controlling individual Defendants of the companies in the EBX Group. These were,

    as noted immediately above, from 2008 onwards, EIKE BATISTA, ELIEZER BATISTA,

    WERNER BATISTA, PAULO MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA and

    LUIZ CARNEIRO. From late 2012, onwards, the group included THOR BATISTA, MARCUS

    BERTO and AZIZ BEN AMMAR. More detail on the individuals follows:

           The Individual Co-Conspirators and Accomplices

           Eike Batista:

           81.     BATISTA was the prime mover in the EBX Group of companies and in the

    fraudulent scheme. At all material times, he was the controlling shareholder and top managing

    agent of all members of the EBX Group, both the public operating companies and the private

    wealth-management companies, through whose financial dealings and routing of money he

    accomplished the objective of the fraud.



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           82.     BATISTA also paid the Miami trustees, MARCUS BERTO and ERICK MAGNO,

    who agreed to act as legal owners of many tens of millions of dollars that he siphoned off out of

    the operating companies, and routed through the wealth-management companies, for them to act

    as “fronts” or “blinds” to provide anonymity for money movement from abroad, into Florida, and

    ultimately out again, while he and his family members and accomplices retained full equitable

    ownership and control behind the scenes.

           83.     Through his control position in OGX and as the overall head of the EBX Group,

    BATISTA directly disseminated, ordered, or knowingly permitted the thousands of fraudulent

    communications, of which only a fraction are described below, constituting a colossal barrage of

    hype, inducing investors to contribute money to his enterprise in the expectation of gain.

           84.     Through his control positions in all the Defendant companies, BATISTA appointed

    directors and managers who acted as his agents and who were his co-conspirators and accomplices

    in accomplishing the fraudulent scheme.

           85.     References to BATISTA, OGX, the EBX Group or others having “made,” “stated,”

    “published,” “announced” and the like as to the fraudulent misrepresentations described below

    refer to the fact that BATISTA either directly made, or ordered or knowingly permitted to be made

    such fraudulent communications through accomplices and co-conspirators.

           86.     It is not known how much money BATISTA made off the scheme, but at the bottom

    end of the range it is believed to be in the many hundreds of millions of dollars and at the top end,

    possibly billions. He is presently under indictment in Brazil stemming from an investigation into

    government bribery by the EBX Group of companies, dubbed the “The X-Files.”

           87.     BATISTA had numerous individual co-conspirators and accomplices within the

    EBX Group, who conspired with him and aided and abetted him in effectuating his scheme. Some

    OGX directors and officers, such as the top oil engineer MENDONÇA who generated



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    misrepresentations from the early days in 2009 onwards, knew about the scheme from its

    inception.

           88.     Similarly, trusted advisers such as his father, ELIEZER BATISTA, his brother,

    WERNER BATISTA, his right-hand-man for three decades, GODINHO, his close confidants,

    GOUVEA, MENDONÇA and CARNEIRO, upon information and belief, knew of the fraud and

    also participated in the generation of fraudulent misrepresentations from the early days.

           89.     But all of BATISTA’s confidants, co-conspirators and accomplices and all of the

    board members of OGX and the other companies in the EBX Group were, by some time in 2011,

    or by at the latest during 2012, privy to the fact that the core oil exploration company, OGX, on

    which the success of all largely depended, was actually insolvent. This included THOR BATISTA,

    MARCUS BERTO and AZIZ BEN AMMAR.

           90.     Indeed, when BERTO and BEN AMMAR accepted their board position in EBX

    Group Companies in late 2012, they did so with full knowledge of the fact that OGX was

    worthless, and accepted their positions specifically to help monetize BATISTA’s and his

    accomplices’ interests in OGX and its satellite companies before the crash in October 2013. They

    willingly played along with the plan and failed to disclose the insolvency of OGX, on which the

    success of the group depended, to the investing public.

           91.     Further, since corporations act through their human agents, references to OGX, the

    companies in the EBX Group, and other companies having “made,” “stated,” “published,”

    “announced” and the like as to the fraudulent misrepresentations described below refer to the fact

    that the formal and de facto board members of the respective companies at the time of the

    communication in question approved of such actions and either agreed that such

    misrepresentations should be made, or permitted them to be made and by their silence committed

    fraudulent misrepresentations by omission.



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           92.    All such directors and insiders failed to tell investors the truth and allowed the

    barrage of baselessly optimistic, fraudulent hype to continue, in order to continue looting the

    companies and making money from their salaries and the sale of the stock and corporate assets.

    Only a few of these have been joined as Defendants. These are as follows:

           Eliezer Batista:

           93.    Defendant ELIEZER BATISTA, EIKE BATISTA’s father, was a board member of

    OGX from its early days, in 2007, through the end, and into the reorganized entity OGPar until

    2014. He was also on the board of MMX from 2005 to 2014; OSX from 2009 to 2014; LLX from

    2007 to 2013 as well as on the boards of MPX, CCX and various other EBX companies including

    EBX Brasil S.A. He served as honorary chairman of MMX and vice chairman for MPX and CCX.

           94.    Defendant ELIEZER BATISTA is and was at all material times, a formal and de

    facto managing agent, co-conspirator and accomplice in the EBX Group. The fraudulent

    misrepresentations generated between 2008 and 2013, as are detailed below, were generated with

    his knowledge, approval, participation and consent.

           Werner Batista:

           95.    Defendant WERNER BATISTA was a director of OSX from its inception in Fall

    2009. He served as director of EBX Holding Ltda. from September 2009 until December 2013,

    even after the crash of OGX, OSX and MMX, and also served as a director of other EBX Group

    companies including EBX Brasil S.A. and EBX Investimentos Ltda. from 2009 onwards. He was

    publicly described as the “Managing Director of the EBX Group” and would appear at conferences

    and chamber of commerce meetings in the United States and Canada, billed in this capacity.

           96.    WERNER BATISTA was, at all material times, a formal and de facto managing

    agent, co-conspirator and accomplice in the EBX Group. The fraudulent misrepresentations

    generated between 2008 and 2013, as are detailed below, were generated with his knowledge,



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    approval, participation and consent.

           97.     WERNER BATISTA is and was at all material times a Florida resident and has

    invested part of his profits from the fraudulent scheme into Florida real estate and a Florida

    business.

           Thor Batista:

           98.     Defendant THOR BATISTA is the eldest son of EIKE BATISTA. Upon

    information and belief, during the final two years leading up to the collapse of OGX and the

    satellite companies, his father introduced him to the fact that the business was heading for certain

    failure and unless he wished to give up his life of luxury - which had hitherto included being able

    to fly from Rio to Miami, Florida, by private jet for his routine shopping - he should assist him in

    sheltering proceeds of the fraud in offshore companies and foreign bank accounts, to which his

    son agreed.

           99.     To this end, in or about April 2012, THOR BATISTA, joined the board of EBX

    Brasil S.A., a member of the EBX Group, under the tutelage of GODINHO to learn the state of

    the family business and to that end he also attended board meetings of the operating companies.

           100.    THOR BATISTA agreed with his father to shelter hundreds of millions of dollars

    in his own name and in the name of foreign shell companies, including Thorque1 Fund Ltd., and

    Thorque Investment Management Ltd. in The Bahamas and in accounts under various names at

    BANCO ITAÚ MIAMI and at other banks in Miami and abroad to which he and his father and

    their co-conspirators routed many hundreds of millions of dollars in proceeds from the scheme

    during 2012 and thereafter.

           101.    THOR BATISTA was, from 2012 onward, a formal and de facto managing agent,

    co-conspirator, and accomplice in the EBX Group.




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           Paulo Mendonça:

           102.    Before joining OGX, Defendant PAULO MENDONÇA had been the chief

    geologist at Petrobras (the massive Brazilian state run oil company) for 34 years, throughout its

    successful exploratory campaign. As such, he enjoyed a respected position in the industry. As

    BATISTA’s supposed “Dr. Oil,” MENDONÇA was constantly touted to the press and to the

    investing public in the U.S. and world-wide as the head of a supposed “Dream Team” of oil

    industry experts who would find oil where none had been found before.

           103.    Given MENDONÇA’s background and reputation in the oil industry, his

    pronouncements on recoverable oil volumes were regarded as reliable and his imprimatur was seen

    as a solid assurance of the probity of the company’s predictions.

           104.    However, BATISTA had incentivized MENDONÇA with a big block of OGX

    stock to use his name for their mutual profit in hyping the promise of OGX’s exploratory wells

    which was contrary to industry practice.

           105.    In his position as a board member and top executive in OGX, as detailed below,

    MENDONÇA created and published numerous fraudulent public announcements of supposed

    massive “discoveries” of oil while disposing of his own OGX shares at consequently inflated

    prices for many tens of millions of dollars, and enabling the rest of the group to take and squirrel

    away many hundreds of millions or even billions of dollars as their own proceeds of the scheme.

           106.    MENDONÇA was elected as a director of OGX while it was being formed in

    September 2007. He was elected General Executive Officer of OGX in April 2009 and served in

    that capacity until June 2012. He also served as a director of OSX from January 2010 through

    September, 2012. During 2012 he took on the role of “Special Advisor to the Chairman of the

    EBX Group,” BATISTA.




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           107.    MENDONÇA was, at all material times, a formal and de facto managing agent, co-

    conspirator and accomplice in the EBX Group. The fraudulent misrepresentations generated

    between 2008 and 2013, as are detailed below, were generated with his knowledge, approval,

    participation and consent.

           Flavio Godinho:

           108.    Defendant, FLAVIO GODINHO, is a Brazilian lawyer and has been a close, long-

    time confidant of BATISTA’s since the 1980’s.

           109.    Over three decades, GODINHO has served in an array of capacities in BATISTA’s

    companies, was regarded as his “Right Hand Man” and helped create the corporate structures.

    GODINHO further helped form OGX and OSX, serving as President and director at their

    inception, and was one of the earliest shareholders of those companies.

           110.    GODINHO served as a director of nearly all of the EBX Group companies,

    including OSX from 2009 to 2013; MMX from 2006 to 2009; and LLX from 2009 to 2013, as

    well as MPX and CCX. From 2010 to 2013, he served as the Brazilian representative for foreign

    board members of OGX, OSX, LLX, MMX and MPX.

           111.    In addition, GODINHO was at one time or another a director and shareholder of

    Defendants, WRM DELAWARE 1 and WRM DELAWARE 2; a director of Defendants, 3BX

    DELAWARE and 3BX NEVADA; a director and beneficial owner of Defendant, CENTENNIAL

    NEVADA; a director and Vice President of Defendant CENTENNIAL BVI; Chairman and Chief

    Executive Officer of EBX Brasil S.A.; and General Counsel, Corporate Development Officer and

    a member of the Executive Board of the EBX Group and its private subsidiaries.

           112.    Through his top positions in BATISTA’s companies and as a close friend, confidant

    and legal adviser, GODINHO was aware of the material developments in the scheme and conspired

    with and counseled BATISTA and their co-conspirators in how to achieve its success, including,



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    upon information and belief, the movement of procceeds of the fraud through complex offshore

    structures, and the bribery of government ministers in order to secure an economic advantage.

           113.    He was, at all material times, a formal and de facto managing agent, co-conspirator

    and accomplice in the EBX Group. The fraudulent misrepresentations generated between 2008

    and 2013, as are detailed below, were generated with his knowledge, approval, participation and

    consent.

           114.    GODINHO is believed to have made over R$200 million from the scheme and fled

    Rio de Janeiro for his home in Fisher Island, Florida, in the wake of the OGX collapse. He is

    presently under indictment in Brazil stemming from an investigation into government bribery by

    BATISTA’s companies, dubbed the “The X-Files.”

           Paulo Gouvea:

           115.    Defendant PAULO GOUVEA, like GODHINO, is a lawyer admitted in Brazil

    only, and is a long term confidant of BATISTA who served on the Board of OGX and as head of

    corporate finance in the EBX Group of companies, who conspired with and assisted BATISTA

    and the others in achieving the objectives of the fraudulent scheme.

           116.    GOUVEA, at one time or another, served as director of various EBX Group entities,

    including OGX, MPX, LLX, CCX and OSX. He was also General Counsel and Secretary of MMX,

    and secretary of OGX at its inception. Likewise, he served as head of Corporate Finance and

    Investor Relations for the EBX Group.

           117.    GOUVEA was also at one time or another a director and shareholder of Defendants

    WRM DELAWARE 1 and WRM DELAWARE 2; a director of Defendants 3BX DELAWARE

    and 3BX NEVADA; a director and beneficial owner of Defendant, CENTENNIAL NEVADA;

    and director and Secretary of Defendant CENTENNIAL BVI.




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           118.    GOUVEA is believed to have reaped in excess of R$150 million from the fraud.

    Through his subsequent position as a partner in, and Director of Capital Markets at, Brazil’s

    biggest brokerage house, XP Investimentos, he continued to do business in Florida through its

    Miami, Florida, office.

           119.    GOUVEA was, at all material times, a formal and de facto managing agent, co-

    conspirator and accomplice in the EBX Group. The fraudulent misrepresentations generated

    between 2008 and 2013, as are detailed below, were generated with his knowledge, approval,

    participation and consent.

           Marcus Berto:

           120.    Defendant, MARCUS BERTO, was a long-standing BATISTA confidant who was,

    in December 2012, appointed CEO and Investor Relations Officer of EBX Group member LLX,

    BATISTA’s allied port-logistics company, to help secretly sell off the company ahead of the crash

    of OGX.

           121.    BERTO knew that OGX was insolvent by the end of 2012 and conspired with

    BATISTA and the other co-conspirators in the EBX Group to sell off LLX without disclosing the

    dire straits of the port’s anchor tenant. This he managed to do, and was fined by the Brazilian

    regulators for having failed to make timely disclosure of the deal.

           122.    MARCUS BERTO also helped set up the BATISTA family trust in Miami through

    MAGNO (as detailed below) to assist in funneling tens of millions of dollars of BATISTA’s

    personal wealth out from Florida to Switzerland and acted as its trustee.

           123.    After OGX collapsed, BERTO left Rio de Janeiro for Key Biscayne, Florida, where

    he is believed to have invested part of the proceeds he realized from his part in the fraud, which

    was at least $10 million, in a $9.5 million mansion.




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           124.    BERTO was, at all material times from late 2012 onwards, a formal and de facto

    managing agent, co-conspirator and accomplice in the EBX Group. The fraudulent

    misrepresentations generated between late 2012 and 2013, as are detailed below, were generated

    with his knowledge, approval, participation and consent.

           Luiz Carneiro:

           125.    Defendant LUIZ CARNEIRO joined the EBX Group after 30 years of experience

    in the oil industry, serving on several high-level positions in Petrobras with a background in

    mechanical and petroleum engineering.

           126.    CARNEIRO served as Chief Executive Officer of OSX from 2009 to 2012. In April

    2012, he was appointed to concurrently occupy the positions of interim CFO and Investor

    Relations Officer of OSX. He stepped down as CEO of OSX in June 2012 to become CEO of

    OGX, in which position he served from June 2012 through October 15, 2013.

           127.    CARNEIRO also served as a director of OGX from September 2010 to August

    2012. Then again, in September 2013, he agreed to help fill out the OGX board following the

    resignation of five board members who were unwilling to continue.

           128.    Upon information and belief, in his position as head of OSX, CARNEIRO handled

    the bribery of government officials, which included the payment of a $2.3 million bribe to Brazil’s

    Finance Minister, Guido Mantega, Chairman of the government-run oil behemoth, Petrobras, to

    secure in excess of $922 million in shipbuilding contracts, for which there was no actual

    commercial demand, in order to continue the illusion that OSX was a viable entity. The contracted

    vessels were not completed by the time of the OSX bankruptcy in October 2013.

           129.    CARNEIRO was a close confidant of BATISTA and conspired with him and

    assisted him in achieving the objectives of the fraudulent scheme. He was, at all material times, a

    formal and de facto managing agent, co-conspirator and accomplice in the EBX Group. The



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    fraudulent misrepresentations generated between 2008 and 2013, as are detailed below, were

    generated with his knowledge, approval, participation and consent.

           Aziz Ben Ammar:

           130.    The Defendant, AZIZ BEN AMMAR, was a New York resident who BATISTA

    had done business with through his participation in an EBX Group company, NRX-Newrest. He

    was recruited by BATISTA as a board member of OGX and satellite companies in mid-2012, in

    order to help keep the balls in the air as long as possible, for BATISTA and the others to get their

    stakes monetized and out of Brazil before the crash.

           131.    During 2012, BEN AMMAR was elected to the boards of OGX, LLX, OSX, CCX,

    MMX and MMX by a cadre of unsuspecting victims, including a number of American retirement

    funds who had bought shares or bonds in BATISTA’s companies on the basis of his fraudulent

    promises, among them the Florida Retirement System Trust Fund.

           132.    BEN AMMAR was intimately involved in generating stories for the press during

    2013, regarding the supposed massive capitalization of OGX and the fact that it was impossible

    for it to fail. He was a prime architect of the fraudulent billion-dollar “Put Option” and the cover

    story regarding the fictitious $850 million “sale” to Petronas, both described below.

           133.    During his tenure, BEN AMMAR flew down to Brazil from New York frequently,

    staying for a month or so at a time. On September 4, 2013, having milked as much as he could out

    of the scheme, BEN AMMAR resigned from the Board of OGX, weeks before its bankruptcy, and

    reportedly returned to New York where he continues to reside.

           134.    BEN AMMAR was, at all material times from mid-2012 onwards, a formal and de

    facto managing agent, co-conspirator and accomplice in the EBX Group. The fraudulent

    misrepresentations generated between 2012 and 2013, as are detailed below, were generated with

    his knowledge, approval, participation and consent.



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           The Corporate Co-Conspirators and Accomplices

           The CENTENNIAL, WRM, 63X, 3BX, and AUX Companies:

           135.   There were also many wealth management companies that BATISTA and his

    accomplices owned and controlled that they used in executing the fraud. A few have been joined

    here. Some, such as the CENTENNIAL Companies, acted as holding companies for his stock in

    the operating companies. Others, such as the AUX Companies, were set up for specific

    acquisitions. Still others, such as the WRM Companies, acted primarily as building blocks in

    pyramids of holding companies, structured to put distance between bank accounts and other assets

    and the ultimate owners.

           136.   Thus, for instance, BATISTA held his interest in the publicly traded Brazilian

    companies through the WRM Companies and the CENTENNIAL Companies, diagrammed (as of

    2013) as follows:




           137.   Others, such as the 63X and 3BX companies were set up for the primary purpose

    of being the name on a bank account for the transmission of funds to accomplish the fraudulent


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    scheme. They also acted as “cut-outs,” to obscure the trail between the origin and the destination

    of funds and facilitate the transmissions of funds to achieve the ends of the fraudulent scheme.

    BATISTA’s ownership of the 63X and 3BX companies is diagrammed below:




           138.    These corporations, all of which were incorporated in secrecy jurisdictions, had no

    legitimate corporate business or real independent existence separate from BATISTA and his co-

    conspirators and accomplices and were no more than fictitious names.

           139.    In all these companies, BATISTA and his co-conspirators and accomplices failed

    to observe the required corporate formalities and the entities were used as engines of fraud, such

    that their separate corporate existence should be disregarded.

           140.    Alternatively, to the extent that any of these entities are found to have had true

    separate corporate existence, they should be treated as additionally liable, as being co-conspirators,

    agents and constructive trustees of proceeds of the fraudulent scheme.

           141.    In addition to the foregoing, but not joined, was TMF Consultoria Financeira, Ltda.,

    or “TMF.” This was the name of a group of highly skilled financial advisers who acted as an

    internal money management and investment unit or “family office.” Funds transferred to bank

    accounts in the name of this entity – which was also ultimately controlled by BATISTA and his




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    accomplices – were primarily for payment to the individual managers, but also used to park cash

    abroad, owned by BATISTA and his accomplices.

           142.    There are many other companies that also fall into this category of aiders and

    abettors, accomplices and co-conspirators whose involvement is less clear and have therefore not

    yet been joined as parties, but which may be joined later after discovery.

           The Private Bankers

           143.    The Defendants BANCO ITAÚ MIAMI and EFG MIAMI were among the Miami

    private banks which provided financial services integral to the fraudulent scheme.

           144.    “Private banking” is a form of banking that is far removed from the impersonal

    service performed by the retail commercial banks in regard to processing the mass of anonymous

    deposits and withdrawals, as is experienced by the ordinary customer.

           145.    To be a client of a “private bank” typically requires a minimum net worth of

    millions of dollars, but the ideal target client has a net worth in many multiples of that amount, at

    least tens of millions and preferably hundreds of millions or even billions of dollars.

           146.    Such huge fortunes attract and pay for correspondingly close and informed attention

    from the “private bankers,” the “relationship managers” who have personal relationships with their

    valued “high-net-worth” and “ultra-high-net-worth” clients.

           147.    Private banks often bill themselves as “partners” in the management and

    preservation of their clients’ wealth and vie with each other in emphasizing the closeness of the

    attention that their clients can expect in growing and protecting their money.5


    5
      For instance, Itaú’s website states that it is “[p]repared to be more than a bank, a real partner in
    all of your initiatives” to “ensure growth and preservation of wealth, throughout the various stages
    of your life.” Similarly, EFG’s website states, “At EFG, we are pleased to be your partner for all
    your private banking needs and to be able to build a long-term relationship with you.” And “[w]ith
    our entrepreneurial spirit, we offer you a unique private banking experience. We carefully monitor
    developments as part of our role as a reliable partner. And we act decisively so that you remain
    on course to reach your long-term objectives.”

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           148.    In sum, “private banking” is not what is generally recognized as “banking” in the

    American statutes or case law, which describes the ordinary impersonal relationship that exists

    between the individual of ordinary means and their retail bank.

           149.    Private banking is a highly personalized service offered by a select cadre of

    financial professionals to multi-millionaires and billionaires.

           150.    Typically, private banks are divisions or subsidiaries of major international banks,

    which trade on the brand recognition and substantiality of the parent entity or the group as a whole,

    and its global ties and entrees, to attract this high-net-worth client base.

           151.    Typically, also, private banks attempt to disavow the unity of the group and try to

    stand on their technically separate corporate personalities when it comes time to be sued or render

    disclosure of information or legal discovery in cases involving their clients.

           152.    Indeed, part of the rationale for their (typically) separate incorporation from other

    members of the parent banking group is to provide a (hoped for) technical legal barrier against the

    disclosure of information.

           153.    Further, private banks trade on being afforded the level of legal protection afforded

    to retail banks in the ordinary conduct of anonymous client transactions and assume that their very-

    different, personalized, client-involved, asset protection schemes will attract the same degree of

    “hands-off” treatment. This is not and should not be so in the law.

           Banco Itaú Miami:

           154.    The Defendant, BANCO ITAÚ MIAMI, d/b/a “Itaú Private Bank,” is a part of the

    multinational Itaú group, headquartered in Brazil. Members of the group, particularly in Miami

    and The Bahamas, had over the years developed an extremely close relationship with BATISTA.

    The Itaú group provided enormous loans to BATISTA’s operations and the Itaú group’s own

    finances were tied in to the success or failure of the EBX Group. For example:



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                (a)     On December 17, 2007 Banco Itaú BBA, Nassau Branch loaned

         CENTENNIAL BVI $370 million. The purpose of this loan and the ultimate use of its

         proceeds are currently unknown.

                (b)     In June of 2008, Banco Itaú BBA served as a “Global Coordinator and Joint

         Bookrunner” for the OGX IPO. Also, in connection with the OGX IPO, Itaú USA

         Securities, LLC served as an “international agent” appointed by OGX to facilitate the

         placement of shares outside of Brazil.

                (c)     Banco Itaú BBA SA, Nassau Branch extended loans in the aggregate

         amount of $1.28 billion to BATISTA and his holding companies during the period

         September 14, 2009 through January 25, 2013, as follows:

                      (i)     On September 14, 2009, CENTENNIAL NEVADA borrowed $280

              million to purchase shares of OGX from the Ontario Teacher’s Pension Plan, an early

              investor in OGX, CENTENNIAL NEVADA pledged shares of OGX as collateral.

              BATISTA personally guaranteed the loan.

                      (ii)    On February 10, 2011, AUX LUXEMBOURG borrowed $500

              million to purchase Ventana Gold, a Canadian company that held gold mines in

              Colombia, later to be known as “AUX.” CENTENNIAL NEVADA pledged

              additional shares of OGX as collateral. BATISTA personally guaranteed the loan.

                      (iii)   On August 22, 2011, CENTENNIAL NEVADA borrowed $200

              million. The purpose of this loan and the ultimate disposition of the loan proceeds

              are currently unknown. BATISTA personally guaranteed the loan. It is currently

              unclear whether CENTENNIAL NEVADA pledged any collateral for this loan.

                      (iv)    On January 25, 2013, AUX LUXEMBOURG borrowed $300 million,

              which was sometimes referred to within the BATISTA group as “the Galway Loan.”



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              AUX LUXEMBOURG had purchased Galway Resources, another Canadian

              company that held gold concessions in Colombia, in December of 2012. It is believed

              that the proceeds of this $300 million loan were used in connection with the Galway

              purchase.

                      (v)      Also on January 25, 2013, BATISTA, CENTENNIAL NEVADA, and

              CENTENNIAL DELAWARE entered into additional agreements with Itaú whereby

              BATISTA, CENTENNIAL NEVADA, and CENTENNIAL DELAWARE pledged

              shares of OGX and shares of MPX amounting to approximately 49% of that

              company’s shares.

                (d)    In October of 2011, OSX borrowed $850 million from an international

         syndicate led by Itaú BBA, ING Bank and Banco Santander for the construction of its oil

         platform, OSX-2 FPSO. As of December 31, 2013, the outstanding amount of this debt

         was $432.2 million.

                (e)    Furthermore, in April 2012, Itaú BBA Nassau Branch granted a separate

         loan, in the amount of $250 million to OSX. As of December 31, 2013 the balance of this

         loan was $112.1 million.

                (f)    BATISTA transferred at least $563 million from numbered accounts in the

         Bahamas and the Cayman Islands to bank accounts controlled by BATISTA in the United

         States between August 2009 and July of 2014. More specifically, BATISTA transferred at

         least $494 million, in aggregate, to accounts he controlled at BANCO ITAÚ MIAMI.

                (g)    Of particular note, BATISTA transferred a total amount of $76.7 million

         from a CENTENNIAL DELAWARE account in the Cayman Islands to a CENTENNIAL

         DELAWARE account at BANCO ITAÚ MIAMI in June and July of 2013 as the OGX

         scheme was collapsing. The ultimate disposition of those funds is currently unknown.



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                   (h)     In addition, Batista transferred $8.7 million from a 63X Master Fund

           account in the Cayman Islands to an account of AUX, LLC at BANCO ITAÚ MIAMI in

           2014 after the collapse of his scheme.

           155.    Accordingly, members of the Itaú Group were among BATISTA’s and the EBX

    Group’s major creditors as BATISTA’s empire collapsed. Members of the Itaú Group were in a

    unique position with respect to knowledge of BATISTA’s financial position and had specific

    knowledge of BATISTA’s ability to repay creditors. The group members also had a vested interest

    in assisting BATISTA to move assets out of the reach of competing creditors and maintaining

    them within the confines of its affiliated banks.

           156.    Many members of the Itaú Group had, by 2013, played a part in various countries

    in assisting BATISTA and his accomplices in moving the profits of the fraudulent scheme

    internationally to ultimate repository accounts in secrecy jurisdictions around the world.

           157.    By July 2014, BATISTA’s companies had moved at least $494 million through

    BANCO ITAÚ MIAMI. It is unknown before discovery all of the names on the accounts at the

    Miami private bank, but they are believed to have included many of the Defendant wealth-

    management companies and other accounts of which members of the BATISTA family were

    beneficial owners.

           158.    Through the intimate knowledge that the Itaú group members had developed in the

    course of their relationship with BATISTA and the EBX Group, all of which was accessible in

    Miami to BANCO ITAÚ MIAMI, and known to the relationship managers in Miami, the Miami

    bank knew by sometime in 2012, and well in advance of the crash in October 2013 that a financial

    disaster for the EBX Group was impending.

           159.    BANCO ITAÚ MIAMI further knew by 2012 that BATISTA and the EBX Group

    had colossal debts which they were unable to pay, and that the money movements that it was



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    conducting and is still continuing to conduct on behalf of BATISTA and his co-conspirators was

    and is essentially money laundering for them to avoid the payment of their legitimate debts.

           160.    However, the Miami bank was and is motivated to ensure that debts to other

    members of the group were and are re-paid rather than other creditors. Therefore, with full

    knowledge of the foregoing facts, BANCO ITAÚ MIAMI, continued to launder money and help

    shield assets for the BATISTA conspirators and so became an aider and abettor and a part of the

    conspiracy to defraud investors and creditors.

           EFG Miami and EFG Switzerland:

           161.    Defendant, EFG Miami, was introduced to EIKE BATISTA, THOR BATISTA and

    the 63X Companies by MAGNO and MAGNO PL at the end of 2013 or early 2014. At that time,

    the crash of OGX, OSX and MMX in October 2013 had already happened and it was notorious

    that BATISTA and his group had debts in the billions of dollars that they were unable to pay.

    BATISTA was publicly claiming that he had a negative net worth.

           162.     By late 2013, therefore, BATISTA and his associates were radioactive in banking

    circles and no bank in the U.S. that actually followed its “Know Your Customer” rules and the law

    would move significant private funds for BATISTA and his family members because of the very

    legitimate fear that they would be laundering money and assisting in defrauding creditors.

           163.    This was, upon information and belief, a brand new relationship for EFG MIAMI.

    Its private bankers were reportedly extremely reluctant to open an account for a trust set up by

    MAGNO, of which MARCUS BERTO – a past top executive in LLX – was to be the trustee, and

    of which the beneficiaries were to be BATISTA and his family members, funded by money held

    in a bank in the Cayman Islands, in the names of a Cayman island company, 63X MASTER FUND,

    and undeclared to the Brazilian authorities. This raised all sorts of red flags that the transactions

    contemplated were illegal.



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           164.    However, the amounts intended to be transferred were substantial and the future

    relationship likely to be lucrative, and the request was to “book” the account as if the funds were

    held in Switzerland, at the Miami bank’s Swiss parent, EFG SWITZERLAND.

           165.    Thus, EFG MIAMI gambled that BATISTA’s problems were all in Brazil and that

    the details of the deal would never come out. EFG MIAMI did the deal at its offices on Brickell

    Avenue, where the account was actually opened, but the funds were “booked” as if in Switzerland

    with its Swiss parent.

           166.    EFG SWITZERLAND had set up its Florida subsidiary as its agent to do deals like

    this, primarily for Latin Americans looking for a safe place to bank their funds. Had it done any

    due diligence on this new account, which would be ordinary prudent banking practice, it would

    not have opened the account. It either did no due diligence – which in light of the persons and the

    amounts involved would equate to “willful blindness,” equivalent to actual intent, or it actually

    knew the details that its subsidiary knew.

           167.    In either event, both EFG entities knew that they were laundering money and

    helping shield assets for the BATISTA conspirators, and so a part of the conspiracy to defraud

    investors and creditors.

           168.    It is unknown how much was ultimately transferred out of Florida to Switzerland

    in this way, but more than $70 million flowed through the MAGNO PL Citibank trust account in

    Miami and out to other repositories. It is believed that a substantial fraction of this, and perhaps

    much more, was transferred from MAGNO’s trust account to EFG MIAMI and then to EFG

    SWITZERLAND.




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           Florida Fraudulent Transfer Recipients

           Erick Magno, Magno PL, and Marcus Berto:

           169.    During the course of 2013 MARCUS BERTO introduced BATISTA to an attorney

    in Miami named ERICK MAGNO and his firm MAGNO PL, who were skilled in international

    asset protection. MAGNO and his firm already acted for BERTO and agreed to act for EIKE

    BATISTA, THOR BATISTA, their other family members, the 63X Companies and other

    companies and individuals in the conspirator group to help them shield assets from creditors.

           170.    In August 2013, in advance of the impending financial collapse of the EBX Group

    operating companies, and with full knowledge that such collapse was imminent, BATISTA,

    through the 63X Companies paid BERTO at least $10 million for his assistance in getting EBX

    Group member LLX sold off under the radar as (detailed below).

           171.    The technical recipient of the funds was Lin, LLC, a nominally Arizona company,

    but in fact a wealth-management company owned and controlled by MARCUS BERTO in Miami.

           172.    As of 2013, BATISTA and his family members could not pay off the billions of

    dollars in losses that they had caused to investors across the U.S. and worldwide. This $10 million

    payment to BERTO was also in consideration of his agreement to act as trustee, and therefore

    facial legal owner, of many millions of dollars to be transferred into his name and held for

    BATISTA and his family members.

           173.    The purpose of this “Batista Family Trust” (its real name is unknown before

    discovery) was so that the BATISTA family members could deny ownership and fraudulently

    avoid creditors. The total amount of additional consideration paid to BERTO for his assistance is

    unknown before discovery.

           174.    In the late summer of 2013 through to 2015, with full knowledge that BATISTA

    and his EBX GROUP were in serious financial trouble and unable to pay their debts, and that the



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    structures he was being asked by BERTO and BATISTA to help set up were to defraud creditors,

    MAGNO and his firm, MAGNO PL agreed to take, and took, a number of steps to assist in

    furtherance of the fraudulent conspiracy and to defraud creditors.

           175.    These included: (a) the creation in 2013 of the Batista Family trust with BERTO

    as trustee; (b) using the MAGNO PL Citibank trust account in Miami, between 2013 and 2015, to

    hold, park and distribute in excess of $70 million from EIKE BATISTA, THOR BATISTA and

    the 63X Companies; (c) providing an introduction to the Private Banker EFG MIAMI, to persuade

    it to move funds from the MAGNO PL Florida trust account to an account at EFG

    SWITZERLAND; (d) MAGNO’s acting personally as trustee for undisclosed beneficiaries, to

    enable EIKE BATISTA, THOR BATISTA and the 63X Companies to lend $15 million to OGPar

    at 120% interest, repaid within months with $3 million in interest, as a way of further looting the

    corpse of OGX and further defrauding creditors; (e) allowing EIKE BATISTA, THOR BATISTA

    and the 63X Companies to park at least $33 million in the MAGNO PL Miami, Florida, trust

    account for a year and a half, to obscure the whereabouts of funds, before remitting it out of Florida

    in 2015 to defraud creditors.

           176.    MAGNO and MAGNO PL were paid at least $300,000.00. The total amount of

    additional consideration paid to them for their assistance is unknown before discovery.

           177.    The trustees who acquired the legal estate in such funds, and therefore received the

    property, MAGNO and BERTO, who are believed to have between them received over $70

    million, should be compelled to return such funds to Florida under the Florida Uniform Fraudulent

    Transfer Act (“FUFTA”), or if such is beyond their power, they should be held liable to pay an

    equivalent sum as damages.




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            Olin Batista, Flavia Sampaio, and Luma De Oliveira:

            178.    EIKE BATISTA’s family members ELIEZER BATISTA, WERNER BATISTA

    and THOR BATISTA were active participants in the fraudulent scheme. Other family members,

    namely the Defendants, OLIN BATISTA, FLAVIA SAMPAIO, and LUMA DE OLIVEIRA, are

    not presently known to have had any substantial involvement in the active fraud committed within

    the various BATISTA companies.

            179.    However, a number of such BATISTA family members knowingly received

    multimillion-dollar transfers of real estate and cash within Brazil in the months immediately prior

    to the collapse of the three EBX Group companies, for no consideration, as a means of cheating

    creditors in Brazil.

            180.    Upon information and belief, during 2013, BATISTA wired hundreds of millions

    of dollars of the proceeds of the fraudulent scheme to a number of banks outside Brazil in order to

    fraudulently evade creditors.

            181.    Following the template of BATISTA’s actions in Brazil, it is believed that much of

    that wealth has been transferred into the names of the Defendant family members, ELIEZER

    BATISTA, WERNER BATISTA, THOR BATISTA, OLIN BATISTA, FLAVIA SAMPAIO, and

    LUMA DE OLIVEIRA, directly, or into structures beneficially held by those family members,

    including at the Defendant Miami private banks and other banks in Miami.

            182.    None of these family members gave value for such transfers but served knowingly

    as mere nominees for BATISTA in order to park assets, and accepted the equitable estate in such

    assets and therefore received them. Accordingly, they should be held, as constructive trustees, to

    return such funds to Florida for the payment of the Plaintiffs’ claims pursuant to FUFTA or

    alternatively be held liable in damages in such sum.




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            183.    Having described the scheme in general and the general involvement of the various

    Defendants, a detailed account follows.

                                          The Scheme – in Detail

            The Brazilian Deepwater “Pre-Salt” Discoveries:

            184.    The world’s largest oil discoveries in recent years have been in Brazil’s offshore,

    pre-salt basins. “Pre-salt” oil is generally characterized as oil reserves situated exceptionally

    deeply, under thick layers of rock and salt, and requiring substantial investment to extract.

            185.    In 2005, Brazil’s national oil company, Petroleo Brasileiro S.A. (“Petrobras”),

    drilled a wildcat well in the ultra-deep waters of the Santos basin off the coast of São Paulo state

    and discovered the presence of hydrocarbon condensate under a thick layer of salt. This discovery

    confirmed a previously untested geologic model that indicated the potential for large recoverable

    oil deposits.

            186.    In 2006, Petrobras confirmed the presence of potentially recoverable petroleum in

    the discovery of the Tupi oil field in the so-called pre-salt layer in the Santos Basin.

            187.    Additional drilling and testing led to an announcement by Petrobras in November

    2007 that the Tupi oil field (now known as the Lula oil field) contained between five billion and

    eight billion barrels of oil.

            188.    Given these discoveries, there was significant global attention to the oil and gas

    industry in Brazil. The pre-salt discoveries showed great promise.

            The Start of OGX:

            189.    In 2007, the Brazilian government announced it would auction off-drilling leases

    to companies who wish to explore for oil, and it scheduled what promised to be some of the richest

    new deep-water oil fields off its coast for auction on November 27, 2007.




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           190.    BATISTA had no experience in the oil-exploration business but had a lengthy

    background in stock promotion and mineral exploration and he raised approximately $1.3 billion

    in private equity to acquire some of these deepwater drilling leases through a company he named

    OGX, which he owned through his personal asset vehicle, CENTENNIAL NEVADA.

           191.    However, just before the auction, based in part on the very recent Tupi oil field

    discovery, the Brazilian authorities withdrew the deepwater fields from auction, deeming them

    “too valuable” and left in play old shallow-water fields that had been picked over by Petrobras for

    decades and generally viewed as worthless.

           192.    That put BATISTA in a quandary. He had raised approximately $1.3 billion from

    investors to spend on deepwater oil fields. Now there were no deep-water fields to buy. No one

    wanted the shallow-water fields. But, rather than refund the money, BATISTA resolved to press

    forward and acquire these rejects of the industry.

           OGX Wins Rights to 21 Exploratory Blocks:

           193.    On 27 November 2007, OGX submitted the winning bid on twenty-one exploratory

    blocks (seven of them in consortia with other operators) and committed significant funds for

    licensing fees as follows: seven blocks in the Campos Basin off the coast of Rio de Janeiro (two

    of them in consortia with Maersk); four blocks in the Santos Basin; five blocks in the Para-

    Maranhao Basin; and five blocks in the Espirito Santo Basin (in consortia with Perenco S.A.), all

    as shown below:




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           OGX Raises Additional Capital – Initial Public Offering:

           194.   Having committed nearly all of its cash to pay for the licenses and fees associated

    with the exploratory concessions, OGX needed to raise additional capital to conduct exploration.

    It would seek those funds from the capital markets via an initial public offering (“IPO”) of

    approximately five million of its common shares.

           195.   However, persuading the investing public that these fields were unrecognized

    treasures rather than the worthless money-pits that they would eventually prove to be would

    require enormous promotion.

           196.   To garner credibility for OGX, BATISTA built a roster of senior executives from

    Petrobras; individuals who had been integral to that company’s deepwater discoveries, headed by

    the Defendant, PAULO MENDONÇA, a geologist and former Petrobras head of exploration, who

    BATISTA dubbed “Dr. Oil.”

           197.   He also clustered around him a core of family members and trusted counselors who

    could be trusted to help hype the OGX discoveries to investors across the U.S. and world-wide,

    including his father, ELIEZER BATISTA, his brother, WERNER BATISTA, and his trusted long-

    time counsellors and confidants, GODINHO, GOUVEA and CARNEIRO, who became directors

    and top executives in his companies.


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           198.    BATISTA granted his family members and his other co-conspirators and

    accomplices generous stock options in OGX and other companies in what became the EBX Group,

    to ensure that they were personally invested in the value of the stock and incentivized to spread

    any good news and to contain or minimize the bad.

           199.    BATISTA’s publicized rationale for exploring the shallow-water fields was that

    modern technology in the hands of his “dream team” ensured better, more accurate detection. If

    there was oil to be found, they would find it. Plus, when they found it, the much lower extraction

    costs in shallow water than in deepwater meant much greater profitability. This one-two punch of

    state-of-the-art technology in the hands of the best oil gurus in Brazil, coupled with low-cost

    lifting, BATISTA boasted, promised to be a sure-fire winning combination.

           200.    In 2008, BATISTA’s OGX raised $4.1 billion in the biggest initial public offering

    in Brazilian stock market history.

           201.    In its November 2008 Management Presentation, OGX announced that it had

    entered into contracts for 3D seismic surveys for all of its exploratory blocks; acquired various

    logistical transport vessels, including seven boats and two helicopters; and secured four off-shore

    drilling rigs with “world-class contractors.” It stated that it expected to conduct an “intense drilling

    campaign” beginning in the second half of 2009 and reach “first oil” by the end of 2011.

           The Fraudulent Misrepresentations Start:

           202.    BATISTA and his co-conspirators and accomplices now embarked on a relentless

    propaganda campaign boosting the promise of the OGX oil-fields, completely untethered to any

    basis of reasonable fact, in order to attract investment capital and boost the stock and bond prices

    in OGX and other satellite companies soon to be launched. These knowingly false representations

    were all made with the intent of inducing investors to buy stocks and bonds in OGX and its satellite

    companies.



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           203.    The prime target of the misrepresentations were U.S. investors necessarily and

    primarily those in its most populous states, California, Texas, Florida, and New York. Indeed,

    American investors were to account for the vast majority of the sales of OGX shares and bonds,

    including many American government pension funds such as, as noted above, the Florida

    Retirement System Trust Fund.6

           204.    This barrage of fraudulent hype took various forms, all of which was intended to

    induce investment and succeeded in inducing stock and bond sales on the primary and secondary

    markets to maintain the illusion of OGX as a valuable business for as long as possible.

           205.    One was by way of what are termed in Brazil, “Material Facts.” (“Statements of

    Material Fact” or “Material Facts”). These are public disclosures required by Brazilian law as to

    events which might impact equity and debt investor decisions to buy or sell. The directors of any

    public company are legally bound to disclose such facts to the investing public by way of a report

    to the relevant stock exchange and to the press.

           206.    There were many Statements of Material Fact, as detailed below, that contained

    serious fraudulent misrepresentations of promising developments in OGX.

           207.    Further, the medium of the “Statement of Material Fact,” which is intended to be

    reserved for consequential announcements, was abused to trumpet inconsequential news, such as

    the “discovery of hydrocarbons,” to give it undeserved significance and whet market appetite.




    6
      The size of the Florida Retirement System Trust Fund investment into BATISTA’s companies,
    is unknown, though greater than its losses, which equal $24 million. Such institutional investors
    typically invest in very large tranches and the Fund’s stake was large enough for it to vote at
    extraordinary shareholders’ meetings. It is listed online as having voted, inter alia, for instance: at
    an OGX shareholders’ meeting on December 18, 2009; at an OGX shareholders’ meeting (inter
    alia to elect the Defendant, AZIZ BEN AMMAR to the Board) on August 6, 2012; at an OSX
    shareholders’ meeting (inter alia to elect the Defendant, AZIZ BEN AMMAR to the Board) on
    September 6, 2012; and at an MMX shareholders’ meeting to vote on a proposed merger and Board
    re-shuffle following that company’s October 2013 declaration of bankruptcy.

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           208.    Finally, there were many instances where information as to material adverse

    developments should have been published by way of Statements of Material Fact, but was not,

    leaving investors internationally to rely on the continuing validity of prior positive announcements.

    These instances of failure to announce negative news constituted misrepresentations by omission.

           209.    BATISTA and his accomplices and co-conspirators also gave many press

    interviews and held press conferences in which he and they promoted the story of OGX’s great

    success and its supposedly fabulously valuable oilfields. These fraudulent misrepresentations were

    disseminated live or by video recordings to the international financial press, particularly

    Bloomberg, typically in English for the benefit of American investors, to be relayed via the internet

    to the worldwide investment community. He also gave American television interviews in English,

    for the same reason – to attract American investment. For that reason too, OGX financial results,

    earnings presentations, management reports and quarterly earnings calls, were also all in English.

           210.    Following the precept that “a picture is worth a thousand words,” BATISTA and

    his accomplices and co-conspirators also seeded the press with management report graphics and

    news photographs bolstering the illusion of the great success and fabulous wealth of OGX.

           211.    Additional fraudulent misrepresentations were contained in thousands of “tweets”

    sent via BATISTA’s internet Twitter feed to what eventually topped one million followers,

    including many American financial journalists.

           212.    Further, BATISTA personally made face-to-face promotional pitches to high-net-

    worth investors in Florida and elsewhere around the U.S.

           213.    It is not possible to list every one of the many thousands of fraudulent

    misrepresentations but a selection is given below.




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           Technical Terminology – PRMS:

           214.    To understand the quality of the misrepresentations, a very brief primer on oil

    industry jargon is in order.

           215.    The detection of oil is done by way of seismic and other remote studies and the

    drilling of test wells. The exact volume of oil contained in any underground reservoir cannot be

    known exactly until it has been pumped to the surface.

           216.    Moreover a volume of oil may exist but there may be no technological means of

    recovering any of it. Even if some volume may be “technologically recoverable” it may not be

    “commercially recoverable,” i.e. the cost of extraction will exceed its selling price.

           217.    To try to lend some precision to the description of underground oil estimates and

    the likelihood they can be extracted profitably, the oil industry found it necessary to develop an

    agreed set of technical terms.

           218.    Accordingly, the international oil industry developed the Petroleum Resource

    Management System (the “PRMS”), a universal language used for estimating and classifying

    quantities of oil (and gas) discovered in any given reservoir according to their recoverability.

           219.    The PRMS distinguishes between “technological” and “commercial” recoverability

    and further distinguishes between “reserves” and “resources.” “Reserves” refers to oil that is

    reasonably certain to be commercially recoverable. “Resources” is a much wider term, and refers

    to all quantities of oil which is predicted to possibly exist within discovered or undiscovered

    reservoirs. “Resources” therefore encompasses discovered and undiscovered, recoverable and

    unrecoverable, and commercial and non-commercial quantities of petroleum.

           220.    There are internal gradations within these categories running from “proved” to

    “probable” to “possible” reserves and from “contingent” (either “low”, “best” or “high” estimates)




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    to “prospective” resources. Quantities are expressed in “barrels” or “boe” – “barrels of oil

    equivalent.”7

           The First OGX “Oil Strike:”

           221.     It is common for oil exploration ventures seeking to raise finance from international

    investors to retain the services of an independent consultancy firm of specialists to appraise its oil

    discoveries. They essentially act as auditors. OGX retained the prestigious Dallas, Texas-based

    firm of DeGoyler & McNaughton (“D&M”) for this purpose in or around 2008.

           222.     In June 2008, OGX released a Statement of Material Fact that its auditors, described

    as “world-renowned D&M,” believed that OGX might be sitting on as much as 4.8 billion barrels

    of oil. However, at this point these were, at most, very preliminary seismic studies. The unstated

    inference was that this was “recoverable” oil or it was of no moment - i.e. not “material” - and not

    worthy of publication as a Statement of Material Fact. This was a fraudulent misrepresentation

    designed to attract investment. Predictably, OGX share prices jumped.

           223.     On September 18, 2009, OGX announced the commencement of its drilling

    campaign with the drilling of well “OGX-1, block BM-C-43” in a prospect area dubbed the

    “Vesuvio” formation.

           224.     On October 7, 2009 OGX issued a Statement of Material Fact that it had struck oil

    in the Vesuvio oilfield about 85 kilometers offshore, in 140 meters of water. MENDONÇA was

    quoted as stating that this was “a milestone in the industry, which was only possible due to the

    motivation and talent of our unique team.”

           225.     Both the issuance of this news via the medium of a Statement of Material Fact – to

    be reserved for announcements that should materially impact investment - and the quoted



    7
      BOE refers to a unit of energy based on the approximate energy released by burning one barrel
    (42 U.S. gallons or 158.9873 litres) of crude oil.

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    statement were intended to convey the impression that recoverable oil had been discovered.

    However, there was no reason for anyone with access to the OGX drilling test results to believe

    that this was true. This was a fraudulent misrepresentation designed to attract investment.

           226.    On October 14, 2009, OGX released a Statement of Material Fact that declared in

    bold type that from a single exploratory well in the Vesuvio oilfield: “Recoverable Oil Volume

    Expected to be between 500 Million and 1.5 Billion Barrels.” MENDONÇA was quoted as

    saying this find validated the OGX team’s scientific methodology and the “high petrolific (sic)

    potential” of the company’s underwater leases.

           227.    The implication of releasing this news via a Statement of Material Fact was that

    this volume was not just technically recoverable at any cost – even at a loss – but that it was likely

    to be commercially recoverable.

           228.    With oil trading at around $75 a barrel, this was a representation to investors that

    OGX was sitting on minimum oil reserves worth between $37 billion and $111 billion from a

    single well, with many more yet to go. However, there was no reason for anyone with access to

    the OGX drilling test results to believe that any of this was true. This was a fraudulent

    misrepresentation designed to attract investment.

           229.    This core Vesuvio announcement, which was not retracted until shortly before the

    OGX bankruptcy, was a bed-rock misrepresentation for investor confidence in OGX right up

    through the crash in 2013, despite the fact that BATISTA and his co-conspirators and accomplices

    knew the field was worthless long before it was eventually returned as valueless to the Brazilian

    government.

           230.    BATISTA, who had not hitherto been known for his largesse, now became very

    conspicuous for his apparently generous public gifts which were enabled not by profit, but by the

    torrent of inflowing investment capital and consisted of corporate funds skimmed off the top.



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            231.   The point of such apparently “generous” charitable gifts was to keep BATISTA in

    the public eye and to help paint a picture of multiplying wealth – as the “X” in BATISTA’s

    company names was intended to signify – such that he could afford such acts of generosity.

            232.   In fact, the only real “generosity” was on the part of the investing public, because

    it was their money being given away.

            233.   Through his business and such “charitable” activities, and through his father,

    ELIEZER BATISTA’s political and business contacts, BATISTA became close to many of

    Brazil’s top politicos whom he bribed from his various offshore corporate bank accounts to ensure

    that governmental regulators were as supportive and as “hands-off” on him and his enterprises as

    possible.

            234.   Some of the recipients are also now on the long list of government officials who

    are under investigation or indicted by the Brazilian government for accepting bribes in connection

    with the huge Petrobras scandal, dubbed “Lava-Jato,” or “Car-Wash,” that would ultimately break

    in 2014.

            235.   The investigation, which is still in its infancy and is ever-widening, now includes

    more than a hundred Brazilian politicians under indictment for corruption, and led to the

    impeachment and removal of the President, Dilma Roussef, in 2016.

            236.   Little is yet known before discovery of the full extent to which the BATISTA group

    bribed government officials in order to pull off the OGX scam alleged here. But during 2011,

    Sergio Cabral, ex-governor of Rio de Janeiro, was paid $16.5 million in bribes by BATISTA, for

    which Cabral, BATISTA, GODINHO, and Luis Andreas Correa – “Zartha,” (an ex-director of

    TMF, now living in Miami), have all been indicted on corruption and money laundering charges

    in Brazil.




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           237.    Further, during 2013, CARNEIRO paid $2.3 million in bribes to Brazil’s Finance

    Minister, and Chairman of Petrobras, Guido Mantega, to procure a $922 million State shipbuilding

    contract for OSX, for which both have been indicted in Brazil.

           238.    Given that CENTENNIAL NEVADA maintained more than $100 million in its

    slush fund under the names of wholly-owned Panamanian subsidiaries at TAG Bank in Panama

    for the purpose of bribing government officials, these two indictments are likely to represent just

    the emerging tip of the iceberg.

           The Second OGX “Oil Strike:”

           239.    On November 16, 2009, OGX released a Statement of Material Fact announcing a

    new major oil strike captioned, in bold type: “OGX Announces Discovery of Oil . . . Estimated

    Volume of 400 Million – 500 million barrels – Drilling still in progress and new objectives to

    be reached.” This oilfield was later dubbed the “Pipeline Formation.”

           240.    Again, the implication of releasing this news via a Statement of Material Fact was

    that this volume was not just technically recoverable but was likely to be commercial.

           241.    At a market price then around $79 a barrel, this was a representation to investors

    internationally that there was something like another $30-40 billion in value in OGX. The range

    of expected revenues for OGX was now cumulatively somewhere between $70+ and $158+ billion

    – and apparently there was more to come in the same well. This was a fraudulent misrepresentation,

    designed to attract investment.

           242.    Investors reacted predictably. The OGX stock price rose steadily through

    November 2009 to a high of R$1570.00 while the numbers of trades swelled from over 16 million

    to over 22 million in just two days between November 16 and 18, 2009.8



    8
      On December 18, 2009, OGX shares were split 100:1. Share prices in this complaint are reflected
    in their nominal value as reported at the time.

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           243.    Fully realizing that the figures that he had authored were completely baseless and

    were fraudulent misrepresentations, intentionally used to generate a dramatic increase in stock

    prices, and probably not believing that he would be able to prop the prices up much longer, in

    December 2009, MENDONÇA secretly sold 10,000 of his own OGX shares, realizing a profit of

    approximately $5,000,000.

           244.    Upon information and belief, contrary to Brazilian law, this was not disclosed to

    CVM, the Brazilian Securities and Exchange Commission and was a misrepresentation by

    omission.

           OGX Strikes “Even More” Oil:

           245.    On December 22, 2009, OGX announced via Statement of Material Fact that

    completed drilling had revealed that the oil strike declared in November was now estimated at

    being two to four times greater. As the Statement of Material Fact stated, now the: “Recoverable

    Oil Volume Expected to be between 1 and 2 Billion Barrels.”

           246.    Again, the implication of releasing this news via a Statement of Material Fact was

    that this volume was not just “technologically recoverable” but was likely to be “commercial.”

           247.    BATISTA’s announcements to investors by now equated to a cumulative promise

    that OGX was sitting on at least 1.5 billion and maybe as much as 3.5 billion barrels in recoverable

    oil. At a December 2009 price of around $75 a barrel that translated to a promise of between

    roughly $112.5 billion and $262.5 billion in value and investors reacted predictably favorably to

    the cumulative promises. This was a fraudulent misrepresentation, designed to attract investment.

           248.    In fact, the OGX seismic studies and drill test results had failed to indicate that a

    single barrel of oil was necessarily even technologically recoverable at any cost, let alone at a

    profit. Indeed, the internal D&M reports confirmed exactly that.




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            249.    But beyond that, from the very beginning, upon information and belief, very high

    concentrations of hydrogen sulphide gas had been detected. This compound, nicknamed “Death

    Gas” in Portuguese, is very poisonous, corrosive, flammable and explosive. Striking oil is no cause

    for celebration if it kills the drill-crew.

            250.    The presence of this contaminant greatly increases the danger and the cost and

    therefore greatly decreases the commercial viability of an extraction operation. This fact was not

    disclosed and constituted a fraudulent misrepresentation by omission.

            251.    The promulgation of these statements to investors internationally and the

    continuing failure to retract them constituted fraudulent misrepresentations that were intended to

    induce and did successfully induce a belief in and among investors that OGX, and the satellite

    entities that depended on its success, had huge intrinsic commercial value.

            The OSX Public Offering:




            252.    To cope with the huge gushers of oil that he had promised, BATISTA announced

    that he would start a shipyard to build a number of huge Floating Production Storage and

    Offloading vessels, or “FPSOs” - floating offshore production facilities that house both processing

    equipment and storage for produced hydrocarbons - through his company, OSX, and began

    scouting a coastal site for a “Super-Port” to be managed by his logistics company, LLX, where


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    these monsters could dock to unload OGX oil, eventually settling on a location at Açu, near Rio

    de Janeiro.

           253.    OSX went public in 2010 and raised $1.58 billion through its initial public offering

    on the São Paulo Stock Exchange. The rationale for the OSX ships was to transport OGX oil. A

    principal point of the plan for the LLX “Super-Port” was for the OSX ships to dock and offload

    OGX oil. But OGX had found virtually no oil and in all its existence, right up to its bankruptcy in

    2013, would pump virtually no oil.

           254.    The ships were massive and inspired investor confidence - but that was their sole

    point. No responsible businessman would have commissioned such monsters without a predictable

    source of supply, but they were complete overkill for the tiny trickle of OGX oil.

           255.    But their point was not to actually transport oil: they were window dressing,

    intended to mask the fact that there was no oil. They were visible support for BATISTA’s lies. In

    essence, in themselves, they were huge floating fraudulent misrepresentations, boasts to the world

    of the existence of vast quantities of commercially recoverable OGX oil.

           256.    Eventually, OSX would have six ships commissioned, with the assistance of bribes

    to government ministers. But in its entire future, OGX and OGPar would not pump enough oil to

    fill those six multi-million dollar OSX ships even three times.

           257.    Nevertheless, on January 26, 2010, OGX released a Material Fact captioned: “OGX

    Signs Agreements with OSX to Secure Production Equipment – OGX Sets Production

    Target of 1.4 Million barrels per Day by 2019 – Initial Production Expected to Begin in Early

    2011, Ahead of Schedule.” In the body of the Statement, BATISTA was quoted as stating:

                   Our drilling results have revealed a new oil province in the southern
                   part of the Campos Basin and broken paradigms regarding the
                   quality and potential of the reservoirs in this area. At this moment,
                   OGX is entering into a new phase in its history, with a focus on
                   reaching our production target of 1.4 million barrels per day by



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                     2019. We have an unparalleled 10 year growth story, based on
                     world-class assets of extraordinary quality.

            258.     The inference was that these were realistic projections founded on the discovery of

    a “new province” of commercially recoverable oil. But in truth, there was nothing to support it.

            259.     BATISTA’s reference to “world class assets” also resonated with investors in

    America and internationally. In financial accounting, an “asset” is an economic resource that can

    produce value.

            260.     However, nothing that OGX had yet discovered constituted an “asset.” All the data

    available to it indicated that it might have “resources” of various categories, but how much could

    be recovered at any cost remained to be seen let alone what could be recovered at a profit. This,

    then, was a fraudulent misrepresentation, designed to attract investment.

            261.     On February 1, 2010, OGX announced an estimated volume of “recoverable oil of

    100 to 200 million boe” in the Vesuvio formation at well OGX-4. This was a fraudulent

    misrepresentation, designed to attract investment.

            262.     On February 3, 2010, OGX released a Statement of Material Fact that the drill-stem

    test at the 1-OGX-3-RJS well in block BM-C-41 (later named the Tubarão Azul - “Blue Shark” -

    field) had revealed an estimated total recoverable volume of between 500 and 900 million barrels

    of good quality oil. This was represented to be extractable at a rate of approximately 3,000 barrels

    per day by vertical drilling, but at perhaps five times that rate, or 15,000 barrels a day, by horizontal

    drilling, as OGX proclaimed that it planned to do.

            263.     This was untrue. There was no reasonable basis to believe in any such numbers.

    But a possible 15,000 barrels a day, which equated to roughly 5.5 million barrels a year, at a then

    per barrel rate of $87.21, constituted a fraudulent representation to the investors that OGX was

    sitting on close to another half-billion dollars of commercially recoverable oil, annually. This was

    a fraudulent misrepresentation, designed to attract investment.

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           264.    On February 8, 2010, BATISTA appeared on the “Charlie Rose” TV show,

    nationally syndicated in the U.S., including throughout Florida, boasting of the fact that he had

    discovered “a hundred billion barrels of recoverable oil” and that Brazil was destined to be the

    world’s fifth largest economy by 2015. [See Charlie Rose, Interview with Eike Batista, (Feb. 8,

    2010), https://charlierose.com/videos/21203]. This was a fraudulent misrepresentation, designed

    to attract investment, and investors in the Unites States took note.

           265.    On March 5, 2010, OGX released a Statement of Material Fact captioned: “OGX

    Announces the Presence of Hydrocarbons in the Albian Section of Well OGX-6 – Rock Cores

    and Logs Indicate Strong Correlation Between OGX-6, OGX-3 and OGX2 Reservoirs.”

           266.    BATISTA’s “Dr. Oil,” MENDONÇA, was quoted as stating in relation to this new

    “discovery” that, “Ourre [sic] view of this data indicates that these accumulations may be

    connected and that the recently discovered oil province may, in fact, extend to the north of the

    BM-C-41 block, confirming its very significant petroliferous potential.”

           267.    This was all pure nonsense. The “presence of hydrocarbons” was of no intrinsic

    relevance to commerciality. As MENDONÇA well knew, publication of the existence of

    “hydrocarbons” to investors could be highly misleading and industry practice was not to do so.

    Indeed, when at Petrobras he had helped promulgate guidelines forbidding the practice.

           268.    The “oil province” described was a grand, non-technical term designed to convey

    an impression of a huge undersea reservoir of commercially recoverable oil. “Connected”

    accumulations indicated that a single well might tap the totality. But the aggregate description was

    just not true and was intended to whet investment appetite. This, then, was a fraudulent

    misrepresentation, designed to attract investment.

           269.    On April 14, 2010, BATISTA gave a video interview that was broadcast on the

    internet on XPTV, a video channel maintained by the XP brokerage firm, in which he further



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    claimed that OGX had discovered “a new oil province in Brazil,” that OGX had “the best

    exploratory blocks in the world” with “one trillion dollars-worth” of oil, that the company was

    worth up to “$100 billion dollars,” and warned investors not to miss out on the opportunity to buy

    OGX stock. (See XPTV, Entrevista Eike Batista OGX - A Grande Fraude - Entrevista Completa,

    https://www.youtube.com/watch?v=6e_huuUsdH4). This was a fraudulent misrepresentation,

    designed to attract investment.

           270.    At or about this time, BATISTA orally disseminated other such false statements

    through audio and video conferences with financial institutions via the internet, as with all such

    internet publications described above and below, accessible and accessed by investors across the

    United States, including in Florida.

           271.    The intended message to American and other foreign investors was that OGX had

    “one trillion dollars-worth of oil,” and was worth $100 billion. This led to an extraordinary increase

    in OGX’s share price which soared from R$1555.00 $2327.00.

           272.    There was no reasonable basis for BATISTA and his accomplices and co-

    conspirators to believe that more than a tiny fraction of that amount of oil actually existed, let alone

    that it was commercially recoverable. These representations were fraudulently made with the intent

    of inducing investors to rely on them in purchasing and trading OGX stock and bonds.

           273.    On May 13, 2010, OGX released a Material Fact captioned: “OGX Concludes

    Drilling of Wells OGX-6 [and] OGX-8 – Identified Connection Between OGX-2 and OGX-6

    Prospects with Estimated Recoverable Volume Totaling 1.4 to 2.6 Billion Barrels.”

           274.    Again, the use of the words “recoverable volume” was deliberately intended to

    convey the sense that this was money in the bank, but it was untrue. With oil trading at $80.44 per

    barrel, this was equivalent to a statement that there was between $112 billion and $209 billion of

    value in OGX; but there was no reasonable basis for anyone with access to the OGX drilling test



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    results to believe in any such numbers. This was a fraudulent misrepresentation, designed to attract

    investment.

           275.    On May 27, 2010, OGX released a Statement of Material Fact captioned: “OGX

    Detects the Presence of Hydrocarbons in Wells OGX-10 and OGX-13 – Net Pay of

    Approximately 40 meters in the Aptian Section of Well OGX-10.”

           276.    As noted above, the discovery of “hydrocarbons” is inconclusive of any recoverable

    oil. However, in the oil and gas industry, “Net Pay” refers to the thickness of rock that can deliver

    hydrocarbons to the well bore. This statement was intended to convey an overall impression,

    untruthfully, that new bores had discovered new fields of profitable reserves, to further stimulate

    market appetite. This was a fraudulent misrepresentation, designed to attract investment.

           277.    On August 12, 2010, BATISTA and MENDONÇA participated in a Bloomberg

    conference call broadcast over the internet during which MENDONÇA stated that, following a

    new discovery, OGX expected a “significant” increase in its potential oil and natural gas resources.

    BATISTA expanded on this, stating that wells in the Parnaiba Basin in northern Brazil might hold

    10 to 15 trillion cubic feet of natural gas and that MPX, his energy company, planned to build

    power plants nearby.

           278.    These estimates were pure speculation, and were fraudulent misrepresentations,

    designed to attract investment, and had their intended effect: OGX stock prices rose 2.2% and

    MPX stock prices rose by 6.8 %.

           Promoting OGX in Miami:

           279.    BATISTA had always had close ties to Florida including close social and business

    ties with Jeffrey Soffer, the Florida-based real estate and resort developer (then married to super-

    model Elle Macpherson) and was a frequent visitor to Soffer’s Miami, Florida, home.




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           280.     During August 2010, BATISTA solicited Soffer in Florida to partner with him to

    develop office buildings and hotels in the Port of Rio de Janeiro and in “City X,” BATISTA’s

    mega-project for 250,000 residents in Fluminense, Brazil.

           281.     Soffer traveled down from Miami, Florida, to Rio de Janeiro to meet with

    BATISTA and explore the prospects. The meeting was, as BATISTA intended, reported in the

    press with speculation as to the future plans of the prospective “partners.”

           282.     Such well-publicized gambits were designed by BATISTA to generate the

    impression that other high-performing, highly respected businessmen trusted his business acumen,

    and such associations lent BATISTA business credibility in the public mind.

           283.     Jeffrey Soffer was the owner and operator of the Fontainebleau Miami Beach Hotel

    in Miami Beach which he had revamped to the tune of a billion dollars and where he envisioned

    creating a perpetual event marketing space. To this end he had partnered with David Grutman and

    his Miami Marketing Group, who established and operated the premiere Miami nightclub, LIV, at

    the Fontainebleau Miami Beach.

           284.     MMG Nightlife took Miami’s synergistic marketing environment to a new level. It

    created events at the Fontainebleau Miami Beach’s many spaces. The property’s restaurants hosted

    Grutman’s huge 30-50 guest, “A-List” celebrity-studded dinner parties, five nights a week, and

    LIV provided the late-night environment where paparazzi and press could create “buzz” around

    their doings.

           285.     BATISTA - then a member of the international A-List as Bloomberg’s putative

    “Eighth Richest Man in the world” - used his Soffer/Grutman connections to pitch investment in

    OGX stock directly to celebrities in Miami, Florida.

           286.     Thus, in September 2010, BATISTA met with a group of foreign investors in

    Miami at a star-studded dinner party hosted by Jeffrey Soffer and worked the crowd of high-net-



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    worth investors, one-on-one, to buy OGX stock on insider information, because the company was

    about to announce further significant oil discoveries. These were fraudulent misrepresentations,

    designed to attract investment.

           287.    Among the party guests were baseball star Alexander Rodriguez (“A-Rod”), and

    his then girlfriend, the film star, Cameron Diaz. Rodriguez reportedly called his financial advisor

    for advice on the investment who, because it was insider trading, “told me to forget about it and

    never mention it again, because I could go to jail for a transaction like this.”9

           288.    It is unknown before discovery how many other people in Florida BATISTA

    pitched the investment prospects of OGX to at this time and over the years, or how many of them

    were less prudent than A-Rod and actually bought stock as a result of such face-to-face pitches.

    But it is believed that, given the fact that BATISTA wasted no opportunity to boost the value of

    his companies, the face-to-face pitch he made to A-Rod was characteristic of the approach he made

    to many other high rollers in Florida.

           “Interest from the Chinese:”

           289.    On September 13, 2010, BATISTA spoke to reporters on a conference call that was

    published in an article online by Bloomberg in which he stated that all the major oil companies in

    the world including the major Chinese oil companies, Cnooc Ltd. and China Petrochemical Corp.,

    were among bidders for OGX assets. In response to the reporter’s comment that his sources had

    revealed an offered price of $7 billion for the company, BATISTA said that that amount would

    only buy a “tiny” stake in OGX.




    9
      Anderson Antunes, Even Alex Rodriguez Reportedly Almost Fell Victim to Eike Batista’s
    Financial        Collapse,       Forbes        (Apr.      20,     2014),   available   at:
    http://www.forbes.com/sites/andersonantunes/2014/04/20/even-alex-rodriguez-reportedly-
    almost-fell-victim-to-eike-batistas-financial-collapse/#1add8bc51ee5.


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           290.    However, this was just more spin, intended to boost the price for OGX shares. In

    reality no energy company with access to the actual OGX drilling data would have had an interest

    in OGX for more than a tiny fraction of its then supposed market price. This, then, was a fraudulent

    misrepresentation, designed to attract investment.

           291.    Predictably, the OGX share price rose. This time by 2%, to put OGX stock at 20%

    up overall for the year.

           292.    By this time, as the cumulative effect of the barrage of fraudulent hype that

    BATISTA and his co-conspirators and accomplices had churned out over the preceding years, the

    financial press were hailing BATISTA as the world’s eighth richest man with a net worth of $27

    billion, and BATISTA was playing up his supposed position as one of the world’s top billionaires

    by announcing a new series of grand initiatives, including a partnership with sports goliath, IMG

    Worldwide, Inc., forming “IMX” to engage in the sports and entertainment business in Brazil, and

    a foray into consumer electronics by building an Apple computer factory on vacant LLX land.

           293.    As the Forbes article concluded regarding the Apple initiative - reflecting the

    understanding of the American investment community as to the value of OGX - “Whether that will

    come to pass is hard to say. Given the enormously valuable oil and gas empire that Batista has

    built in recent years, he might have a chance.”

           294.    But the “enormously valuable oil and gas empire” was nothing more than smoke

    and mirrors. None of these initiatives came to pass and the prime “X” group of operating

    companies, OGX, OSX and MMX, were to come crashing down in late 2013.

           295.    Nevertheless, because of their own personal stakes in the success of OGX,

    BATISTA and his co-conspirators, including OGX Board members and top executives, ELIEZER

    BATISTA, PAULO MENDONÇA, FLAVIO GODINHO, and PAULO GOUVEA, and LUIZ

    CARNEIRO, who was also a top executive and board member in OSX, WERNER BATISTA,



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    who was the managing director of the EBX group of companies, CENTENNIAL NEVADA and

    CENTENNIAL DELAWARE, who were the controlling shareholders in OGX, failed to make any

    corrective announcement to the investing public – now or at any time thereafter - and continued to

    assist BATISTA by their silence and by actively, fraudulently assisting in fraudulently hyping the

    value of the OGX oilfields.

           296.    On November 26, 2010, Bloomberg reported the news online, sponsored by

    BATISTA, that OGX was delaying its planned sale of a minority stake in its Campos oilfield until

    the D&M report was in by the end of the first quarter of 2011. Bloomberg repeated the BATISTA

    comments from September about selling a $7 billion minority stake to the Chinese; reiterated the

    fact of OGX’s supposed 3.69 billion barrels of potential reserves in the Campos Basin, as estimated

    by D&M in 2009; and reported that the additional recent discoveries were expected to boost those

    numbers. This reflected the illusion that BATISTA and his co-conspirators had successfully

    created. But it was all untrue: these were fraudulent misrepresentations, designed to attract

    investment.

           297.    On March 15, 2011, Bloomberg summarized the information on OGX stemming

    from the cumulative effect of BATISTA’s lies over the three preceding years. It reported that

    OGX, BATISTA’s main source of wealth, was worth $37.1 billion, with 6.7 billion barrels of

    potential reserves. BATISTA was quoted as stating that despite having fielded five purchase offers

    from other oil companies he did not need to sell because OGX had $3 billion in cash and the

    extraction costs in its shallow-water fields were extremely low.

           298.    Bloomberg further reported OGX as claiming a hundred percent success rate in the

    Campos Basin where it planned to drill three additional wells and that higher-than-expected

    production would allow it to use fewer wells per production platform, thereby further cutting

    production costs. OGX had stated that it anticipated that production would ramp up from 20,000



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    barrels a day to 730,000 barrels a day by 2015, and 1.38 million barrels a day by 2018. In a video

    interview with Bloomberg BATISTA said “It’s a bonanza” and “these are bonanza assets.”

           299.    But this was all untrue. For behind the scenes, everything that Brazil’s King Midas

    touched was not turning to gold – not even black gold. These were fraudulent misrepresentations,

    designed to attract investment. But none of the co-conspirators made any attempt to correct the

    public record, even though they all knew the truth.

           The 10.8 Billion Barrel Lie:

           300.    On March 31, 2011, D&M submitted its confidential Report to BATISTA and OGX

    on the Prospective OGX Resources in Brazil. It painted a depressing picture of OGX’s future. Out

    of many billions of barrels of oil and gas that might possibly exist in the OGX fields, D&M failed

    to identify more than a tiny amount, less than 1%, that might constitute “reserves” – i.e.

    commercially recoverable oil.

           301.    When the D&M reports became public there would be an obvious, hugely

    depressive effect on OGX stock prices. The only alternative BATISTA and his co-conspirators

    and accomplices decided, to try to keep the price up, was to lie.

           302.    BATISTA, therefore, had MENDONÇA mix-and-match numbers from the D&M

    Reports, adding apples to oranges, completely contrary to the accepted industry methodology, to

    use as the basis for the most colossal lie to date.

           303.    As a preventive strike to defuse the effect of the impending release of the D&M

    reports, on April 15, 2011, MENDONÇA, “Dr. Oil,” issued a press release to investors in which

    OGX claimed its net potential resources in “recoverable oil” were 10.8 billion barrels and that

    these figures were based on the assessment of its world-renowned oil auditors, D&M.

           304.    In it, BATISTA announced that the 10.8 billion-barrel number was not based just

    on OGX’s own calculations, but that, “[t]hese results, presented by an independent, internationally



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    renowned consulting group, confirm the extraordinary success of our business strategy and

    execution,” he said. This obviously referred to D&M.

           305.    To come up with the 10.8 billion barrel figure, MENDONÇA took D&M’s most

    optimistic estimate of “contingent resources” (i.e. oil that was not necessarily commercially

    extractable in any amount) of 3.1 billion barrels. He then jumbled together three different

    categories of “prospective resources” (i.e. oil that had not yet even been discovered and was

    deemed currently unrecoverable) to come up with another 6.8 billion barrels. He then threw in

    D&M’s figure of 1 billion barrels, which was an upper, outside guess of what might be possible

    from the geology, and which did not even meet the probability level of “resources” of any kind.

           306.    What BATISTA and his co-conspirators and accomplices were doing was

    completely fraudulent. The 10.8 billion number was basically just made up out of thin air. But it

    was published under the imprimatur of “Dr. Oil” and supposedly based on the analysis of world-

    renowned outside auditors, D&M.

           307.    Everybody on the Board at OGX, and everybody within BATISTA’s confidence,

    including the directors of OGX, OSX, LLX and the 63X, EBX, CENTENNIAL, WRM, 3BX and

    AUX companies knew by now that the entire “X” group of companies, whose success was

    predicated on massive oil strikes by OGX, was a massive pump-and-dump scheme. The list of

    individuals included EIKE BATISTA, ELIEZER BATISTA, WERNER BATISTA, PAULO

    MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, and LUIZ CARNEIRO. Their legal

    obligation was to expose the 10.8 billion barrel lie. But they were incentivized by their stock

    options to keep quiet. And they kept quiet.

           308.    Despite the BATISTA and MENDONÇA’s preemptive strike, when the D&M

    Report was released on April 15, 2011, investors reacted with concern and the OGX share price

    dropped sharply.



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              309.   Nevertheless, on the basis of Dr. Oil’s reputation and his $10.8 billion prediction,

    BATISTA and MENDONÇA managed to spark a debate on the reliability of the D&M numbers.

              310.   In a conference call on April 19, 2011, with market analysts, reported by The Wall

    Street Journal, among other media outlets, BATISTA and MENDONÇA defended the OGX data,

    describing D&M, dismissively, as “the most conservative certifier in the world.” BATISTA stated

    that it was time that people started to trust the OGX team which he had brought over from

    Petrobras, headed up by his fabled “Dr. Oil.” BATISTA contended that “it’s time for the market

    to accept the company’s numbers,” and pledged to hire additional consultants to prove OGX’s

    claims.

              311.   The New York based multinational investment banking firm, Goldman Sachs, was

    among those reassured. It stressed publicly that investors should consider the D&M reports as just

    a part of a larger mosaic, and, “[w]hen considering the scope and underlying assumptions, we think

    that the D&M report generally adds confidence to our assumptions” and reiterated its “Buy” rating

    on OGX shares.

              312.   What OGX had successfully managed to do by its fraudulent press releases and

    press conferences, intentionally disseminated across the phone lines and the internet to the world,

    was to confuse the issue and maintain a continuing belief in investors that OGX was sitting on vast

    commercially profitable oilfields and that all it needed was enough cash to stay in business to get

    the oil flowing.

              313.   Maintaining a public story of OGX reserves of 10.8 billion barrels in “recoverable

    oil” as BATISTA was to do for the next two years was a complete fraud, designed to keep the balls

    in the air as long as possible and attract continuing trading in the stocks and bonds of BATISTA’s

    companies, while he and his accomplices siphoned off as much as possible from the top and tried

    to sell off the rest before the bottom fell out.



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           314.    PAULO GOUVEA, however, decided that the writing was on the wall for OGX.

    While his duty was to blow the whistle on the scheme to the regulators and to investors, PAULO

    GOUVEA decided, instead, to cash in his chips and he sold his stake in the various X companies,

    reportedly realizing over $150 million which he reinvested in assets with real value, including real

    estate in New York and Paris. But he continued on in BATISTA’s confidence and as a prime

    adviser in the fraud.

           D&M Secretly Protests:

           315.    Not surprisingly, behind the scenes, D&M was furious that their name was being

    used to mislead investors and on April 29, 2011, they privately stated their “great concern” on this

    point to BATISTA and OGX and demanded a corrective press release.

           316.    On May 3, 2011, OGX sent D&M a placatory response, attempting to negotiate a

    compromise that would allow it to maintain both the 10.8 billion-barrel figure and the D&M

    imprimatur for its probity.

           317.    On May 16, 2011, there was a meeting between OGX and D&M, with a presently

    unknown result. Whatever was agreed, D&M did not make its privately expressed “great concern”

    public and OGX did not retract its 10.8 billion barrel lie.

           318.    Indeed, BATISTA embroidered further on the lie. In May of 2011, at the Michael

    Milken conference in California, which was broadcast to investors across America, including

    Florida, and worldwide, BATISTA, then said to be worth roughly $30 billion, stated to CNBC that

    he was going to be richer than Carlos Slim, Warren Buffett, and Bill Gates because “I have created

    five companies that have in them embedded resources worth $2 trillion at a very low cost of

    producing.” He went on to call them “idiot-proof assets.”

           319.    MENDONÇA, fully realizing that BATISTA’s boasts to the public were nonsense,

    since he had created the underpinnings for the fraudulent hype, between June 9 and June 16, 2011,



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    secretly and improperly sold 321,200 of his own shares in OGX, realizing a profit of approximately

    $2,900,000 without disclosing the transaction to the Brazilian regulators. Publicity as to the fact

    that “Dr. Oil” was unloading his OGX stock would have undermined investor confidence in OGX.

    His failure to disclose the sale was therefore a fraudulent misrepresentation by omission.

           320.    In July 2011, OGX released a Management Presentation to investors trumpeting a

    resolutely upbeat picture, throughout which it consistently described its resources as being “10.8

    billion of recoverable boe” and claiming to have all the needed cash, equipment, and skill in place

    to achieve massive success.

           321.    However, the truth was that OGX had found virtually no commercially recoverable

    oil and BATISTA had no convincing data to show any savvy oil industry investor to convince it

    to buy into OGX. These were continuing fraudulent misrepresentations.

           322.    BATISTA needed a cover story for why his rumored sale to the Chinese was not

    going through and he resolved to tell the press that it was because he did not need the cash and

    wanted to reap the profits himself.

           323.    Thus, on September 23, 2011, in an article published by Reuters U.S. Edition on

    the wires under the title, “Cashed-up Eike Batista won’t sell oil stakes,” Reuters reported that

    BATISTA said he had abandoned talks to sell stakes in his offshore oil prospects because he had

    billions in hand and did not need the cash.

           324.    Oil was then trading at roughly $80 per barrel and BATISTA claimed that the low

    production cost of his shallow-water wells meant that he could break even if the per barrel price

    fell as low as $24. In the Reuters article, he said that OGX was close to signing a long-term deal

    to supply oil to one of the world’s largest refiners – which he declined to identify, citing securities

    regulations – and that a recent bond issue had “brought in exactly what we needed to live off our

    own spoils.” This was a fraudulent misrepresentation designed to attract investment.



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            325.    When asked about a decline in OGX share prices, he responded, “I have to laugh.

    My companies are all going to be massive cash flow machines. I’m going to pump money to my

    shareholders and dividends to my sons and my grandsons.”

            326.    Part of that claim would prove true: he would pump money to his co-conspirator

    shareholders through their sales of fraudulently hyped stock, and would pump OGX money

    directly to his sons and other family members in order to defraud creditors – but not from profits.

            Insiders Sell Their OGX Stock in Miami:

            327.    BATISTA had a number of operating companies in the EBX Group from which he

    could directly siphon money and which he hoped he would be able to flip at a profit. However,

    BATISTA’s co-directors and other insiders at OGX had their fortunes pegged directly to the value

    of their stock options in just that one company. They could see that the picture that BATISTA was

    painting for the public, that they were helping him color in, was false, and they wanted to dump

    their shares before the bottom fell out.

            328.    The problem was that stock sales by insiders would have to be disclosed publicly

    and there would be a high risk of creating panic among investors if they sold. BATISTA had

    therefore placed restrictions on their ability to do so.

            329.    Upon information and belief, however, several OGX executives who were within

    the circle of BATISTA’s confidants and who knew that OGX was a massive fraud, entered into

    transactions to circumvent the prohibition and dispose of their stock without alarming investors

    through “creative thinking” on the part of J.P. Morgan Securities in Miami, Florida.

            330.    One of J.P. Morgan Securities’ wealth-management executives in Miami, Florida,

    reportedly proposed extending the insiders “loans” with their stock standing as collateral and the

    sole recourse for repayment. The idea was that the insiders would default on the “loans,” J.P.

    Morgan would foreclose on the collateral, and both sides would be happy: J.P. Morgan would have



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    OGX stock at what it hoped would be a profit and the insiders would have cash, thus achieving

    the equivalent of a sale of the stock without disclosure to investors.

           The Lies Continue – OGX “Cash Rich:”

           331.    As the cumulative result of BATISTA’s lies, by 2012, there was general acceptance

    in the American and international investment community and among financial analysts that OGX

    had access to massive amounts of recoverable oil. However, investors and analysts were beginning

    to question when OGX would start to deliver and whether the company was sufficiently well-

    capitalized to stay in business until it could start production.

           332.    Accordingly, if his fraudulent scheme was to work, BATISTA’s task was now to

    engender a belief in investors that OGX was cash rich and that the oil would soon start to flow.

           333.    In January 2012, the initial OGX production report on the first well showed flows

    of just 15,000 barrels a day. These extremely modest results nevertheless had Batista and “Dr. Oil”

    putting on a show of huge success, popping champagne corks while technicians opened the valves

    remotely from Rio de Janeiro and webcams delivered pictures to the world.

           334.    On January 16, 2012, OGX released a Statement of Material Fact announcing the

    discovery of evidence of “hydrocarbons” in the Santos Basin, in the Fortaleza field, in well OG-

    63, stating, “[t]his discovery is important for its huge hydrocarbon column and net pay identified

    in the Albian section, as well as by the quality of the Aptian reservoir and its behavior,” commented

    PAULO MENDONÇA, General Executive Officer and Exploration Officer of OGX.

           335.    This was a mishmash of technical jargon intended to convey an overall impression,

    untruthfully, that new bores had discovered new fields of profitable, recoverable oil, to further

    whet market appetite. In other words, this was yet another fraudulent misrepresentation.

           336.    And BATISTA continued boasting of his “success.” On January 20, 2012, he gave

    an in-person interview from Rio de Janeiro with The New York Times, for an article entitled, “A



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    Brazilian Magnate Points to Himself for Inspiration.” The article remarked admiringly on

    BATISTA’s trappings of apparent success, his 1,000,000 Twitter followers, and the fact that OGX

    was expected to begin producing crude oil from an estimated 10 billion barrels of offshore

    discoveries. “Brazil today has the wealth that America had at the turn of the century,” said

    BATISTA. Regarding his ostentatious display of wealth: “I want to help a whole generation of

    Brazilians to be proud. I am rich, yes. I have built it myself. I have not stolen it,” he quipped.

           337.    Regardless of the accuracy of the wealth of his country, his final statement

    regarding the source of his personal wealth was certainly untrue. Again, the idea that there were

    ten billion barrels of recoverable OGX oil offshore was a fraudulent misrepresentation.

           338.    On March 2, 2012, BATISTA gave a telephone interview from Rio de Janeiro to

    Bloomberg. During the interview, BATISTA stated that he still had plans to overtake Carlos Slim

    as the world’s richest person by 2015 and boasted that his companies would post close to $1 billion

    in earnings before interest, taxes, depreciation and amortization in 2012, and double that in 2013.

    With an estimated net worth of $30 billion, BATISTA, still ranking eighth in the Bloomberg

    Billionaires Index, said, “I am probably, among the billionaires, the least indebted guy of all of

    them.” At this time, behind the scenes, BATISTA, personally, owed members of the Itaú banking

    group close to a billion dollars.

           339.    No reasonable person, knowing what BATISTA knew at that time, could have

    made any such statement truthfully. He was playing games with investors with smoke and mirrors.

    His “Empire” was, as he knew, a house of cards, and the collapse was just a matter of time.

           The Mubadala “Investment:”

           340.    The Mubadala Development Company (“Mubadala”), based in Abu Dhabi, is the

    strategic investment and development company of the oil-rich United Arab Emirates.




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              341.   On March 26, 2012, BATISTA and his EBX Group publicly announced that

    Mubadala had signed a “strategic partnership agreement” with the EBX Group whereby Mubadala

    would invest $2 billion in exchange for a 5.63% preferred equity interest in the Defendant,

    CENTENNIAL DELAWARE and other BATISTA offshore holding companies (believed to

    include the 63X and EBX Defendants), giving Mubadala an indirect interest in the public

    companies, OGX, OSX, MMX, LLX, MPX, and privately-held AUX, REX and IMX.

              342.   The BATISTA and the EBX Group further announced: “[t]his is the first time we

    have invited a strategic partner to invest at our holding company level. The investment

    considerably strengthens the entire group and its ability to successfully implement current and

    future projects. Mubadala, after conducting thorough due diligence of our companies recognizes

    the great potential of our Latin American assets.”

              343.   BATISTA announced the agreement as a “framework for further collaboration

    between the two organizations” and that the Mubadala cash was to be used to “reinforce the

    group’s already strong capital structure so as to help fund new enterprises across multiple business

    areas.”

              344.   An attached “Legal Notice” stated that this “strategic partnership constitutes a

    minority investment by Mubadala in Centennial Asset Brazilian Equity Fund with no changes to

    the control, management or day-to-day activities of Mr. Eike Batista’s publicly listed vehicles:

    OGX, OSX, MMX, LLX and MPX.” Mubadala went along with the phrasing of this

    announcement.

              345.   On the surface, as projected to the investing world, a highly experienced and well-

    financed sovereign company from the oil sector, after conducting “thorough due diligence,” had

    seen sufficient value in the prospects of BATISTA’s oil-based EBX empire to accept an

    “invitation” - the first extended to any outside player - to buy a tiny minority equity stake in



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    BATISTA’s holding company, giving it no control, for $2 billion. (By extrapolation, on the raw

    math, without factoring in the value of control shares, the company must have a value as a whole

    of at least $40 billion).

            346.    The subtext of the EBX Group message was that EIKE Batista’s strongly-

    capitalized EBX group did not need the cash, but this contribution would enable it to expand into

    new areas.

            347.    All members of executive management and the boards of directors of the EBX

    Group members at that time were complicit in this announcement. That included EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, PAULO MENDONÇA, FLAVIO GODINHO,

    PAULO GOUVEA and LUIZ CARNEIRO,

            348.    The news about the Mubadala “investment” was disseminated by many financial

    news organizations including Bloomberg.

            349.    As BATISTA later explained in a Milken Conference interview broadcast to the

    investment world by Bloomberg, described below, he entered into this transaction in order to

    convey a message to the world that a savvy outsider had “audited” his operation and placed its

    “stamp of approval” on it. In other words, if one of the world’s great players believed in him to

    the tune of $2 billion for a tiny stake, so should all investors.

            350.    The actual Mubadala “strategic partnership agreement” has not yet been seen. But

    later events described below make it clear that this $2 billion “stock purchase” was far from a

    simple purchase of a tiny non-control block of stock, but was structured far more like a $2 billion

    loan, with BATISTA’s entire worldly wealth, including shares in companies within the group and

    outside, such as his substantial holding in Florida’s Burger King and other treasured plum assets,

    pledged as collateral. The deal was structured and implemented in the Cayman Islands and

    involved the EBX, 63X and CENTENNIAL Companies.



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           351.    This fraudulent presentation was primarily intended to bolster investors’

    confidence in OGX, on which the success of the group depended.

           352.    Had this “strategic partnership” been declared to investors by the boards of the

    companies involved as the desperately-needed “loan” it truly was, investor confidence in OGX

    would have evaporated, its end hastened by perhaps as much as a year, and Plaintiffs would not

    have lost a cent.

           Keeping the Balls in the Air:

           353.    In April 2012, BATISTA staged a photo-op for the world press at his planned LLX

    “Super-Port.” With him onstage were a roster of Brazil’s political and business elite: his father,

    ELIEZER BATISTA, President Dilma Rousseff (now impeached and deposed), Rio Governor

    Sérgio Cabral (now under arrest and indictment for corruption), and Mines and Energy Minister

    Edison Lobão (now also under federal investigation for corruption). The audience of 400 included

    foreign corporate luminaries from around the world.

           354.    Showing off his port, which he predicted would be the largest port in the Americas,

    BATISTA announced that OGX had begun production on what he described as a “new frontier”

    of petroleum 37 miles off the Brazilian coast. “This is a historical moment,” said Batista. “It’s the

    first time an independent Brazilian company has produced offshore oil.”

           355.    President Rousseff did her bit to boost the illusion, announcing resolutely that the

    state-run oil company Petrobras would go into deep partnership with Batista’s firm: “Eike is our

    standard, our expectation and, above all, the pride of Brazil when it comes to a businessman in the

    private sector,” Rousseff told those in attendance, as she stood by his one side, Cabral flanking

    him on the other, all three clad in orange OGX jumpsuits for the photo-op. BATISTA – his jacket

    sporting a black, oily hand-print, symbolizing “first oil,” flashed a two-fisted victory sign while




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    his father, ELIEZER BATISTA grimly smiled in the background at what he knew was the huge,

    secret joke – that there just was no oil to speak of:




           356.    BATISTA and his co-conspirators and accomplices knew that the trickle of oil they

    were witnessing was pretty much all there was. The block was later to be returned to the

    government as worthless.

           357.    On April 18, 2012, roughly a year before the eventual crash, as the result of the

    aggregate lies detailed above, Times magazine named BATISTA one of the 100 Most Influential

    People of 2012. The short supporting puff-piece on BATISTA was written by then-mayor of Rio

    de Janeiro, Eduardo Paes (a key BATISTA ally, now under investigation for corruption).

           358.    In it, Paes spoke of BATISTA as one of Rio’s “most treasured adopted sons” who

    had “helped us shape the renaissance” of Rio, citing his status as “Brazil’s richest man and the

    world’s seventh richest, bringing vital investment to our city from oil and mining,” and boasting

    of his charitable largesse.

           359.    Puff pieces like these were contributed from time to time by BATISTA’s rich and

    powerful friends whose own careers were symbiotically tied to his and were intended to bolster

    the impression of BATISTA’s success and sustain his position with investors.

           360.    However, the insiders could see that the writing was now truly on the wall.


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           361.    In April 2012, OGX board member Marcelo Faber Torres figured that he had better

    dump his OGX stock before the truly bad news came out and he reportedly sold 9 million OGX

    shares in staggered batches so as not to alarm investors.

           362.    Other insiders, co-conspirators, and accomplices started to do the same and

    reportedly, at or about this time, the executive group quietly sold off 17 million shares, realizing

    over $103 million.

           “The Brazilian Dream:”

           363.    On April 30, 2012, Bloomberg Television aired an 11-minute video interview of

    BATISTA on its show, “Money Moves with Deirdre Bolton.” The interview took place at the

    Milken Institute’s 2012 Global Conference in Los Angeles, California, where BATISTA was a

    featured panelist in four different panels during the five-day conference. After Bloomberg

    broadcast the interview on television, it published the interview on youtube.com with the

    description, “Brazilian billionaire Eike Batista talks about the potential benefits of OGX Petroleo

    e Gas Participacoes SA forming project partnerships with Petroleo Brasileiro SA and Vale SA.”

           364.    In the Bloomberg interview, correspondent Stephanie Ruhle introduced BATISTA

    as the “tenth richest man in the world - the goal is to get to number one.” Ms. Ruhle then noted

    that a week earlier, the President of Brazil had visited BATISTA’s oil port in northern Rio de

    Janeiro, where she called BATISTA a special kind of entrepreneur and a hero to Brazil. Bloomberg

    accompanied this anecdote with broadcast footage of BATISTA and President Rousseff getting

    off a helicopter together, surrounded by press. All of this, of course, fed into BATISTA’s artificial

    narrative of himself to lure in American investors.

           365.    BATISTA then utilized this broadcasted English-language news segment to repeat

    his colossal lies about his companies to American investors. He spoke of “a trillion and a half

    dollars in assets: oil, gas, iron ore, gold, coal” and projects with “eighty percent margins.” He



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    spoke of the prospects of collaboration between OGX (which he knew had virtually no oil) and

    the (huge) Vale and Petrobras companies as being a “win-win for everybody.”

           366.    BATISTA also explained his rationale for the sale of a small stake in EBX to

    Mubadala (which was secretly, in reality, a loan) as being to inspire investor confidence:

           We just wanted to have, maybe an extra stamp by investors. Because you know the
           market is funny. Sometimes they demand, well, we like to have the structure
           audited. And when somebody like Mubadala comes in, the world knows how deep
           they go into the auditing process. And I love to be audited. I love transparency. So
           in a way, it’s an extra way to show transparency to what we do.

           He said that he was just spreading hope in “The Brazilian Dream.”

           367.    But by June of 2012, OGX was unable to hide the fact that the wells at its main

    field in the Campos Basin were not as productive as first believed and that it had cut production

    estimates by two-thirds. OGX share prices fell steeply by the end of June.

           368.    Continuing to believe in the aggregate BATISTA-generated hype, however, on July

    19, 2012, the Financial Times in London, England published an article entitled, “It is too soon to

    write off Eike Batista.” The article quoted BATISTA’s boast at an OGX investor meeting from

    earlier in the year, that his companies were “80 per cent ebitda- [earnings before interest, taxes,

    depreciation, and amortization] margin businesses. I search for the truffles.”

           369.    It also quoted a supportive statement from one of BATISTA’s biggest and closest

    bankers, BTG Pactual – who should be in the position to know – that the stock could recover within

    the next twelve months and that “OGX has enough cash to support its business.”

           370.    Nobody listening thought that BATISTA, who continued to boast about his

    “trillions of dollars” of oil, would be prepared to flat out lie. They were to be proved wrong.

           371.    Through a barrage of international press articles and a blizzard of tweets, in the

    course of 2012, BATISTA fraudulently maintained an image of burgeoning wealth through




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    publicized plans for massive investment into an ever-expanding series of business ventures, from

    shipyards and ports, to sports and entertainment ventures.

           372.    Thus, on July 18, 2012, BATISTA tweeted that OSX and OGX had negotiated the

    construction of drill ships; on July 19, 2012, he sent out a video on the synergy between OGX and

    MPX for gas exploitation in the Paraiba Basin; on August 29, 2012, he boasted that his port at Açu

    would be one-and-a-half times bigger than Manhattan Island, New York; and on September 25,

    2012, he re-tweeted an IMX photo regarding his IMX deal with Cirque du Soleil.

           373.    However, as stated above, the OSX shipbuilding business was largely dependent

    on OGX oil and there was no oil. Nor were there continuing orders to build ships from the general

    market. However, corrupt government Ministers controlled the purse at Brazil’s Petrobras and

    were a source of funding – at a price.

           374.    What BATISTA did not include in his tweets was that OSX had been awarded this

    $922 million ship-building contract as a result of a $2.3 million bribe that CARNEIRO had agreed

    to with Brazil’s Finance Minister, and Chairman of Petrobras, Guido Mantega.

           375.    By now the illusion of spectacular reserves of oil had been created. MENDONÇA

    was no longer needed as “Dr. Oil,” and he was promoted out of OGX to the Board of EBX,

    BATISTA’s investment vehicle, presided over by WERNER BATISTA, which was focusing on

    siphoning off as much as possible.

           OGX Secretly Bankrupt:

           376.    Upon information and belief (from the Brazilian indictments) an internal OGX task

    force which had started work in 2011 and Schlumberger, the world-renowned energy consultant,

    essentially a Joint Task Force, presented reports on their conclusions as to OGX’s prospects to the

    OGX Executive Committee, presided over by BATISTA, in September, 2012.




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           377.    Upon information and belief (from the Brazilian indictments) the Joint Task Force

    concluded that a negligible amount of the promised 10.8 billion barrels of oil were “recoverable”

    at any expense and that, even so, they were contaminated with such high levels of H2S “Death

    Gas” that most of what was technically recoverable could not be extracted economically even if

    (which was doubtful, because of the environmental impact) licenses for decontamination could be

    obtained.

           378.    The Joint Task Force concluded that even in a best-case scenario, the company had

    a negative value of about one billion dollars, making the commercial production of oil from any

    of the fields absolutely impossible. This was completely devastating news. In sum, every day of

    additional exploration was a complete waste of money and was creating more debt that could not

    be repaid.

           379.    Thus, by September, 2012, at the very latest, BATISTA, the board members of

    OGX and his other co-conspirators and accomplices, including the board of OSX, knew that OGX

    was insolvent, and digging an even bigger financial hole for itself every day that it stayed in

    operation. The further exploration for oil was a pointless quest. Moreover, even the pretense of oil

    exploration for profit could not continue without fresh massive injections of cash.

           380.    BATISTA, the board members of OGX, the board members of the EBX Group,

    and his other co-conspirators and accomplices, knew from these devastating audits that the whole

    house of cards that depended on OGX oil (the OSX FPSOs, the LLX-run Super-Port, and so on)

    would collapse as soon as the truth was known.

           381.    BATISTA, the board members of OGX, the board members of the EBX Group,

    and his other co-conspirators and accomplices, knew that there was no reason for any investor,

    who knew what they knew, to invest another penny in OGX or OSX stocks, or buy OGX or OSX




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    bonds, and indeed that anyone who had OGX/OSX stocks or bonds who knew what they knew

    would dump them as quickly as possible.

           382.    These reports should have been disclosed to the public immediately as Statements

    of Material Fact. However, BATISTA and his co-conspirators, and the Boards of OGX and OSX

    and the rest of the EBX Group, including ELIEZER BATISTA, WERNER BATISTA, THOR

    BATISTA, PAULO MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA and LUIZ

    CARNEIRO, illegally refused to disclose this information and deliberately suppressed it. This

    constituted a massive fraudulent misrepresentation by omission.

           383.    BATISTA and his co-conspirators and accomplices knew that it was now just a

    matter of time before OGX and the satellite companies were seen by the public to be worthless.

    Their focus was now to keep up the illusion of eventual profitability long enough for them to

    liquidate as much of their remaining stock in OGX and the satellite companies in the EBX Group

    at the highest price possible and route the proceeds out to secret foreign bank accounts before the

    bubble burst. And by continued outright lies, BATISTA and his co-conspirators and accomplices,

    including the boards of OGX and OSX and the other companies in the EBX Group, managed to

    stave off the realization among investors that OGX, and by extension OSX, were bankrupt for

    close to another year.

           The Exit Strategy:

           384.    Upon information and belief, BATISTA’s exit strategy - which was integral to the

    fraud as a whole, since the entire exercise would have been pointless if the money stolen had not

    been put out of the reach of creditors when the bubble burst - is believed to have been largely

    structured and executed in Miami, Florida. It was basically a money-laundering operation intended

    to defraud creditors. The complete details are unknown before discovery, but, to the extent known,

    the ultimate facts are as outlined below.



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           385.    As a part of his own exit plan, BATISTA had for years maintained bank accounts

    in the names of his various Defendant family members, the Defendant companies, and numerous

    other Batista companies not joined here, including the Bahamian “Thorque” companies, in various

    countries outside Brazil, principally in Miami at BANCO ITAÚ MIAMI, and in banks in the

    Cayman Islands and the Bahamas, where he kept much of the proceeds of the fraudulent scheme

           The Miami Asset Protection Lawyer:

           386.    Upon information and belief, one architect of the international asset protection

    scheme was an asset protection attorney, MAGNO, based in Miami, and his firm MAGNO PL.

    MAGNO and MAGNO PL created and implemented the international structures for BATISTA to

    transfer funds internationally and hide proceeds of the fraud. As noted above, they were introduced

    to EIKE BATISTA and THOR BATISTA by BERTO, who served as the trustee of the Batista

    Family Trust, created by MAGNO to hold proceeds of the scheme on behalf of BATISTA and his

    family members. This is further detailed below.

           387.    Upon information and belief, from at least early 2013 onwards, MAGNO and

    MAGNO PL, essentially, had no other client but BATISTA and his various co-conspirators,

    accomplices, corporations, trusts and other interests, and his offices were in fact an agency office

    for BATISTA and his co-conspirators and accomplices.

           388.    Upon information and belief, no professional privilege attaches to MAGNO’s or

    MAGNO PL’s files, as being excluded by the crime-fraud exception and to destroy them or move

    them would constitute furtherance of the conspiracy, spoliation of evidence and cause for

    disciplinary action.




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           Banco Itaú Miami:

           389.    BATISTA’s prime banking relationships were with three massive international

    banking groups: Citibank, BTG Pactual (and its predecessor UBS) and the Bank Itaú group, all of

    whom have presences in Miami and licenses to operate in Florida.

           390.    Upon information and belief, each of the three banks named above had extremely

    close relationships with BATISTA and his co-conspirators and accomplices and different divisions

    and subsidiaries within those groups assisted BATISTA and his co-conspirators and his

    accomplices in routing funds internationally to ultimate repository accounts in secrecy

    jurisdictions around the world.

           391.    Upon information and belief, the messaging to effect such transfers would have

    necessarily been routed through the SWIFT server maintained in Virginia and otherwise through

    the United States.

           392.    It is unknown before discovery whether the degree of knowledge and complicity of

    Citibank and BTG’s U.S. operations would justify joining these banks in this action as defendants.

    However, it is known that BANCO ITAÚ MIAMI provided banking facilities and hosted accounts

    in Miami and, upon information and belief, knowingly laundered money and assisted BATISTA

    and his co-conspirators and accomplices to fraudulently evade creditors in Florida.

           393.    To the extent known before discovery, prior to 2012, BATISTA and the 63X

    Companies had transferred at least $400 million to a 63X MASTER FUND account at BANCO

    ITAÚ MIAMI in Miami, Florida.

           394.    By September 2012, BATISTA and his co-conspirators and accomplices knew that

    OGX was essentially worthless. BANCO ITAÚ MIAMI, with its inside knowledge from the Itau

    group members, also knew that the EBX Group was in a perilous state.




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           395.    Starting in September 2012, BATISTA and his co-conspirators and accomplices

    had 63X MASTER FUND make the following transfers out of its accounts at BANCO ITAÚ

    MIAMI. Some transfers moved money out of Florida. Others shuffled money between titular

    owners and accounts at the same bank. It is believed that these transaction were a small part of a

    much greater and more complex set of transfers that were achieved with BANCO ITAÚ MIAMI’s

    willing assistance, in an effort to defraud, hinder, or delay creditors:

           (a) On September 5, 2012 63X MASTER FUND transferred $1,000,050.00 from its

                account at BANCO ITAÚ MIAMI to an account in the name of TMF at an unknown

                institution.

           (b) On September 18, 2012 63X MASTER FUND transferred $50,270,050.00 from its

                account at BANCO ITAÚ MIAMI to an account in the name of 63X MASTER FUND

                at an unknown institution.

           (c) On September 24, 2012 63X MASTER FUND transferred $1,700,050.00 from its

                account at BANCO ITAÚ MIAMI to in the name of 63X MASTER FUND at Morgan

                Stanley & Co.

           (d) On October 9, 2012 63X MASTER FUND transferred $15,000,050.00 from its account

                at BANCO ITAÚ MIAMI to an account in the name of 63X MASTER FUND at an

                unknown institution.

           (e) On February 4, 2013 63X MASTER FUND transferred $1,500,050.00 from its account

                at BANCO ITAÚ MIAMI to an account in the name of 63X MASTER FUND at JP

                Morgan Chase, N.A.

           (f) On February 12, 2013 63X MASTER FUND transferred $6,419,200.00 from its

                account at BANCO ITAÚ MIAMI to an account in the name of AUX LUXEMBOURG

                at Itaú Unibanco SA - Nassau Branch.



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         (g) On March 21, 2013 63X MASTER FUND transferred $500,000.00 from its account at

            BANCO ITAÚ MIAMI to an account in the name of TMF at TAG Bank in Panama.

         (h) On April 8, 2013 63X MASTER FUND transferred $2,000,000.00 from its account at

            BANCO ITAÚ MIAMI to an account in the name of CENTENNIAL NEVADA at

            BANCO ITAÚ MIAMI.

         (i) On June 24, 2013 63X MASTER FUND transferred $30,890,000.00 from its account

            at BANCO ITAÚ MIAMI to an account in the name of CENTENNIAL DELAWARE

            at BANCO ITAÚ MIAMI.

         (j) On June 25, 2013 63X MASTER FUND transferred $2,850,000.00 from its account at

            BANCO ITAÚ MIAMI to an account in the name of CENTENNIAL DELAWARE at

            BANCO ITAÚ MIAMI.

         (k) On October 17, 2014 63X MASTER FUND transferred $1,700,000.00 from its account

            at BANCO ITAÚ MIAMI to an account in the name of AUX LLC at BANCO ITAÚ

            MIAMI.

         (l) On November 21, 2014 63X MASTER FUND transferred $13,000,000.00 from its

            account at BANCO ITAÚ MIAMI to an account in the name of AUX LLC at BANCO

            ITAÚ MIAMI.

         (m) On April 11, 2016 Thorque1 Fund Ltd. transferred $592,690.96 from its account at

            BANCO ITAÚ MIAMI to an account in the name of THOR BATISTA at BANCO

            ITAÚ MIAMI.

         (n) On January 11, 2017 63X MASTER FUND transferred $60,973.63 from its account at

            BANCO ITAÚ MIAMI to an account in the name of CENTENNIAL NEVADA at

            BANCO ITAÚ MIAMI.




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           396.    In addition, other BATISTA-controlled EBX Group members made the following

    listed transfers from their accounts in the Cayman Islands directly to accounts held by other

    BATISTA-controlled entities at BANCO ITAÚ MIAMI. It is believed that these transaction were

    another part of a much greater and more complex set of transfers that were achieved with BANCO

    ITAU MIAMI’s willing assistance, in an effort to defraud, hinder, or delay creditors:

           (a) On June 24, 2013 CENTENNIAL DELAWARE transferred $50,000,000.00 from its

               account at Banco BTG Pactual S.A. – Cayman Branch to an account in the name of

               CENTENNIAL DELAWARE at BANCO ITAÚ MIAMI. The ultimate disposition of

               these funds is currently unknown.

           (b) On July 2, 2013 CENTENNIAL DELAWARE transferred $26,710,000.00 from its

               account at Banco BTG Pactual S.A. – Cayman Branch to an account in the name of

               CENTENNIAL DELAWARE at BANCO ITAÚ MIAMI. The ultimate disposition of

               these funds is currently unknown.

           (c) On July 15, 2014 63X MASTER FUND transferred $8,000,000.00 from its account at

               Banco BTG Pactual S.A. – Cayman Branch to an account in the name of AUX LLC at

               BANCO ITAÚ MIAMI. The ultimate disposition of these funds is currently unknown.

           (d) On October 28, 2014 63X MASTER FUND transferred $700,000.00 from its account

               at Banco BTG Pactual S.A. – Cayman Branch to an account in the name of AUX LLC

               at BANCO ITAÚ MIAMI. The ultimate disposition of these funds is currently

               unknown.

           The Fake Billion Dollar “Put Option:”

           397.    To give himself time to implement his exit strategy, BATISTA needed more than

    tweets and boasts and he devised other fraudulent stratagems to bolster investor confidence and

    stimulate further public investment.



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           398.    However, directors in OGX now started getting cold feet about staying on in the

    company at the board level, given the likely civil and possible criminal liability they would face

    when the bubble burst, and several of them resigned. None of them, however, imperiled their

    reputations or their pocket-books by blowing the whistle on the OGX fraud.

           399.    BATISTA was meanwhile searching for less squeamish candidates for the board of

    OGX for whom the lure of money would be greater than their fear of consequences and on August

    6, 2012, at a general meeting of OGX shareholders, many of them large North American pension

    plans, including the Florida Retirement System Trust Fund, one such individual was proposed and

    elected: the Defendant AZIZ BEN AMMAR.

           400.    BEN AMMAR was likewise elected to the public boards of OSX, MMX, MPX,

    CCX and LLX.

           401.    Upon information and belief, AZIZ BEN AMMAR was a prime mover in the “Put

    Option” stratagem described immediately below.

           402.    On October 24, 2012, BATISTA announced to investors in the United States and

    internationally, as was duly reported by Bloomberg and the other organs of the financial press that,

    through companies in his EBX Group he had entered into a billion dollar “Put Option” with OGX.

    This was, in essence, a contract between EBX Company, CENTENNIAL NEVADA, BATISTA

    and OGX for BATISTA, through CENTENNIAL NEVADA, to inject a billion dollars of his

    personal wealth from the other EBX companies into OGX, as additional working capital upon

    demand.

           403.    BATISTA similarly announced that he would be ploughing a billion dollars of his

    own wealth held by EBX Companies into OSX, buying stock at three-times market price if and

    when needed, although that might have to be delayed until 2014 because, as BATISTA said,

    Brazilian stock exchange rules required a minimum amount of “free float” time.



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           404.    The announcement that Brazil’s golden boy with the Midas touch had a billion

    dollars-worth of confidence in his oil exploration company, and another billion in his prime

    satellite ship-building company resulted in an expected boost in share and bond prices.

           405.    However, there were at least three fundamental problems with this announcement.

    The first was that BATISTA had no intention of paying in any money whatsoever and there would

    be no practicable way of compelling him to do so. The second was that he did not have a billion –

    let alone two billion - dollars in cash that he could pay in even if he wanted to. The third was that

    no amount of money could fix the fundamental problem, which was that there was no oil.

           406.    In sum, the OGX Put Option was just another lie, a stratagem created by AZIZ BEN

    AMMAR and adopted by the co-conspirators to delay the inevitable and allow BATISTA and

    them all to get as much money as possible out of OGX before it collapsed.

           407.    The boards of OGX and OSX and the other companies in the EBX Group were all

    party to the promulgation of these fraudulent misrepresentations, including EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO

    GODINHO, PAULO GOUVEA, LUIZ CARNEIRO, MARCUS BERTO and AZIZ BEN

    AMMAR.

           408.    In fact, upon information and belief, BATISTA may not have even actually entered

    into any such commitment on paper. Only much later, and only under pressure from insider

    creditors, did he ever actually sign such an obligation, and even then it was conditioned on an “out

    clause” designed to give him some “cover” in backing out which, as we shall see below, is exactly

    what he did.

           409.    That the Put Option was non-binding was not told to the public. Nor was the fact

    that BATISTA did not intend to honor it. Nor was the fact that the company was insolvent. Nor




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    was the fact that there just was no oil, and that no amount of money, however long it might be

    squandered on pointless drilling, could put oil in the ground where no oil existed.

           410.    All of this should have been announced to investors via Statements of Material Fact,

    but was not. The failure to do so constituted fraudulent misrepresentations by omission by OGX

    and OSX and the other companies in the EBX group, and their directors and top executives

    including EIKE BATISTA, ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA,

    PAULO MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, LUIZ CARNEIRO,

    MARCUS BERTO and AZIZ BEN AMMAR.

           411.    However, the announcement of the Put Option was effective in slowing the fall in

    price of OGX stock during the fourth quarter of 2012 and fed its rise in January, 2013.

           412.    The value of LLX - BATISTA’s allied logistics company and member of the EBX

    Group, which was building the port at Açu where OSX ships were to offload OGX oil - was

    conspicuously pegged to the value of OGX and therefore OSX.

           413.    Defendant MARCUS BERTO was a close confidant of BATISTA’s in 2012, with

    whom BATISTA shared the insoluble problems being faced by OGX and OSX. They knew that

    when the news became public, BATISTA’s port logistics company, LLX, whose prime value lay

    in the need to offload OGX oil from OSX ships, would certainly crash in value.

           414.    BERTO therefore agreed to assist in the fraudulent scheme by helping delay the

    emergence of the news that both companies were effectively bankrupt. Consequently, in

    November, 2012, MARCUS BERTO was appointed CEO and Investor Relations Officer of LLX

    to help corral emerging bad news and get the company sold off before the OGX bubble burst.

    Present at the board meeting to elect BERTO were LLX directors EIKE BATISTA, ELIEZER

    BATISTA, FLAVIO GODINHO and AZIZ BEN AMMAR.




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           415.     As CEO, BERTO ran LLX. As Investor Relations Officer, he had prime

    responsibility for reporting to the public on material developments affecting investment in the

    company. Upon information and belief, BERTO fully understood that OGX was insolvent and the

    mission was to cash BATISTA out as fully as possible before the crash rendered everything

    valueless. In breach of his duty to the investing public, throughout his tenure, BERTO failed to

    report anything about the dire financial straits that OGX and OSX were in or that he was helping

    find a buyer so that BATISTA could dump LLX.

           416.    To further boost investor confidence, on November 13, 2012, BATISTA tweeted

    to the world that the Group X operations in the Campos Basin were in an area responsible for 80%

    of Brazil’s oil production. The statement was intended to bolster his previous fraudulent

    misrepresentations and maintain confidence among investors.

                                    Section II - The Plaintiffs Invest

           417.    At the start of 2013, no one apart from the insiders in the EBX Group, not even the

    Brazilian regulators, and certainly not the many American investors and analysts, suspected that

    OGX was a colossal bubble scheme. The consistent, massive lies, spawned by BATISTA, his co-

    conspirators and his accomplices, repeated over the previous years, had generated an overall base-

    line impression among investors across the United States and world-wide of OGX as an oil

    company with enormous oil reserves and enormous likely margins of profit, whose only

    impediment to spectacular success was its cash needs until it could come into full production.

           418.    That the BATISTA-generated spin was continuing to work in early 2013 was

    exemplified by announcements such as one published online by Highbeam Reports in January,

    2013 that London’s financial house Barclay’s was convinced that “[OGX] presents better

    opportunities for investors than its federally-owned peer Petrobras . . .” (This was well before the

    massive Petrobras “Lava Jato” or “Car Wash” corruption scandal broke).



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            419.   As noted above, Gables Capital, Inc. is a registered investment adviser based in

    downtown Miami, Florida, and at all times material hereto acted as investment adviser to the

    Plaintiffs and was their agent for the purchase and sale of stocks and bonds.

            420.   The individual responsible for the MERIDIAN and AMERICAN accounts was Ms.

    Judith Neiwirth, Gables Capital’s co-founder and Chief Investment Officer, who had over thirty

    years of experience in the financial services industry.

            421.   Ms. Neiwirth had available to her the aggregate spin disseminated by BATISTA

    and his co-conspirators and accomplices to the international financial market via the usual “lay”

    internet sources such as Google, telephone conferences with others and, most importantly, the

    Bloomberg terminal on her desk, where moment by moment financial reports were transmitted via

    the internet to professional investment advisers across America and world-wide.

            422.   As a result of the hype generated by BATISTA, described above, the general base-

    line impression among American and international investors and analysts at this time was that

    OGX was a company that was sitting on spectacular reserves, as evidenced in part by the fact that

    savvy industry player, Mubadala, had recently bought a 5.63% stake in its holding company for

    $2 billion.

            423.   To investment advisers like Ms. Neiwirth, reviewing the aggregate information

    available on Bloomberg, it looked like all that OGX needed was sufficient operating capital to get

    to the point when it came into full production and the trillion-dollar “bonanza,” which BATISTA

    and his accomplices had consistently promised, started to gush.

            424.   It seemed, moreover, that OGX was in no danger of running out of cash, given that

    BATISTA’s EBX had pledged an additional billion dollars of operating capital, if and when

    needed. (The subtext was further that although there was a trillion dollars of oil to be had, if a

    billion was not quite enough to bring the gushers online, there would be more cash to come).



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           425.    BATISTA had further announced a pledge to inject another billion dollars from

    EBX into OSX, if and when needed. Since the future of OSX depended heavily on the future of

    OGX, this pledge of cash for OSX reinforced the public impression of the value of OGX.

           426.    This was therefore a particularly attractive opportunity for purchasers in the bond

    market. OGX appeared to be asset rich with plenty of operating capital and OGX bonds were at

    that time yielding above an 8.375% interest rate.

           427.    On January 15, 2013, in reliance on the overall picture painted by BATISTA and

    his co-conspirators and accomplices, his intentional misstatements made via his publications on

    the internet and material omissions, reinforced in her decision to invest by BATISTA’s

    announcement of the Put Option, and not suspecting that OGX was just a colossal fraud, Judith

    Neiwirth at Gables Capital, in Miami, Florida, directed the purchase of 6,000 OGX bonds for the

    sum of $5,849,354.17 on the secondary market on behalf of its client, MERIDIAN, and 3,500

    OGX bonds for the sum of $3,412,123.26 on behalf of its client, AMERICAN.

           428.    On January 22, 2013, in continued reliance on the vaunted future profitability of

    OGX as aforesaid, and BATISTA’s commitment to inject a billion dollars if and when needed,

    Judy Neiwirth at Gables Capital in Miami, Florida, directed the purchase of another 4,325 OGX

    bonds for the sum of $4,234,265.10 on the secondary market on behalf of its client, MERIDIAN.

           The EBX/BTG “Strategic Partnership:”

           429.    In 2013, BTG Pactual was Brazil’s biggest private investment bank, and its

    Chairman, Andre Esteves, was an iconic Brazilian billionaire on a level with BATISTA.

           430.    PR Newswire was a top global English internet service dedicated to helping public

    relations, marketing, corporate communications, and investor relations entities build awareness

    with new audiences, gain media pickup, manage reputation and inspire investor confidence.




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           431.    On March 6, 2013, prnewswire.com relayed the following EBX Group

    announcement:

           The EBX Group and BTG Pactual announce the signing of a novel strategic
           cooperation agreement. The agreement contemplates financial advisory services,
           credit facilities and future long-term capital investments for the transformational
           projects currently being developed by the EBX Group in its segments. ”This
           cooperation represents, above all, a partnership for the success of Brazil”, said Eike
           Batista, EBX Group’s CEO and Chairman.

           This new cooperation will have a Strategic and Financial Management Committee
           comprising of senior executives from the EBX Group and of senior partners of BTG
           Pactual. The Committee will be led by Eike Batista and Andre Esteves and will
           meet on a weekly basis to discuss overall strategies relating to EBX Group’s capital
           structure and investments for the short, medium and long-term projects and
           activities of the group’s portfolio of companies. The agreement does not grant any
           exclusivity for BTG Pactual to render financial services to the EBX Group.

           BTG Pactual’s remuneration will be solely based on the performance of the EBX
           Group’s public companies. Andre Esteves, BTG Pactual’s CEO, stated that: “This
           cooperation shows once again our firm willingness to support unique projects and
           national entrepreneurship, areas in which Eike Batista is an icon.”

           432.    This EBX Group announcement to investors across America and world-wide was

    intended to convey the underlying message that BTG Pactual, one of the largest and most

    sophisticated players in the Brazilian financial market, saw enough value in BATISTA’s empire

    that it was willing to “partner” with EBX, without any promise of exclusivity, and plough in cash

    to finance “short, medium and long-term projects,” with its own profits completely contingent on

    the success of the EBX ventures.

           433.    The phrasing of this release was another BATISTA stratagem intended to dress up

    the fact that OGX desperately needed money to delay its inevitable financial collapse by using the

    language of opportunity and the purported confidence of savvy bankers in the worth of his

    operation. Complicit in this fraudulent misrepresentation were the top executives and directors in

    the EBX Group, which by that time included EIKE BATISTA, ELIEZER BATISTA, WERNER




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    BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA,

    LUIZ CARNEIRO, AZIZ BEN AMMAR and MARCUS BERTO.

            434.     Predictably, OGX share prices shot upwards, closed up 16%, and rallying as much

    as 27.7% in the day following the announcement. On March 7, 2013, the announcement came

    across on the Bloomberg terminal on Ms. Neiwirth’s desk at Gables Capital in Miami, Florida,

    coupled with a report that BTG Pactual was willing to extend BATISTA’s EBX another billion

    dollars for liquidity.

            435.     On March 13, 2013, BATISTA had OGX release another Statement of Material

    Fact to investors declaring that oil recovery from the Pipeline, Fuji and Ilimani formations was

    commercially feasible, announcing an on-site amount between a half billion and 1.3 billion barrels

    of oil, and conveying the impression that commercial production was imminent.

            436.     However, as BATISTA knew, the truth was that only a tiny percent of the oil

    detected was recoverable and commercial feasibility was impossible. This was a fraudulent

    misrepresentation intended to spur investor confidence.

            437.     On March 22, 2013, BATISTA tweeted that OGX had eight acknowledged oil

    commercial accumulations: three onshore, in Maranhao, and five offshore. This was a fraudulent

    misrepresentation intended to spur investor confidence.

            438.     But, despite BATISTA’s continuing fraudulent misrepresentations, the stock price

    began to fall.

            439.     On March 23, 2013, Bloomberg reported that BATISTA via Twitter had warned

    short sellers wagering against his companies that they would regret their bets. Asked by other

    Twitter users about the companies’ falling stock prices, BATISTA had written that “rumors and

    gossip are tools of short sellers” who will be “caught with their pants down,” and he directed his

    readers to an interview with BTG Pactual President, Andre Esteves.



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           440.    In that March 23, 2013, interview BTG Pactual President, Andre Esteves, had stated

    that BATISTA’s companies were in no danger of failing and that BATISTA remained one of the

    best capitalized business men in Brazil.

           441.    Well before the “strategic partnership” announced on March 6, 2013, BTG Pactual

    had been doing due diligence on OGX, supposed prime asset and lynch-pin of the EBX Group, in

    order to act as its financial consultant and potential provider of long-term financing. BTG Pactual

    must therefore have known how precarious a position OGX was in. The public, however, took its

    Chairman’s statement as being true.

           442.    Upon information and belief, Mr. Esteves’ statement on behalf of BTG Pactual was

    intentionally false and was issued pursuant to an agreement with BATISTA. It is unknown what

    the consideration for the deal may have been. (In late 2015 Mr. Esteves was arrested in Rio,

    stepping off a plane from Miami, Florida, in connection with charges of obstruction of justice in

    the Petrobras corruption investigation and was placed under house arrest).

           443.    On March 26, 2013, OGX released its financial statement for 2012. Under

    “Message from the Management,” Defendant LUIZ CARNEIRO, Chief Executive Officer of

    OGX, stated, “In parallel to the development of our fields, we made further advances in our

    exploration campaign, resulting in important oil discoveries such as Tulum and Viedma, also in

    the Campos Basin. We recently declared three more fields commercial: Tubarão Tigre, Tubarão

    Gato and Tubarão Areia, respectively in the Pipeline and Fuji-Illimani accumulations, and we

    continue our studies on how to best develop them.”

           444.    However, as BATISTA, CARNEIRO, and the other co-conspirators knew, none of

    these fields were commercially viable and OGX was insolvent. These were deliberately fraudulent

    misrepresentations and were issued with the knowledge and consent of the top executives and

    board members of the EBX Group companies, which by then included EIKE BATISTA, ELIEZER



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    BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO

    GODINHO, PAULO GOUVEA, LUIZ CARNEIRO, AZIZ BEN AMMAR and MARCUS

    BERTO.

           445.   On March 28, 2013, in continued reliance on the vaunted future profitability of

    OGX as aforesaid and on BATISTA’s commitment to inject a billion dollars if and when needed,

    Gables Capital, in Miami, Florida, directed the purchase of another 2,000 OGX bonds for the sum

    of $1,520,930.56 on the secondary market on behalf of its client, MERIDIAN.

           446.   On April 1, 2013, as expected, MERIDIAN received its first interest payment of

    $432,359.38 on its OGX bonds and AMERICAN received its first interest payment of

    $146,562.50. On the surface, these appeared to be good, performing investments.

           447.   On April 12, 2013, in continued reliance on the vaunted future profitability of OGX

    as aforesaid and on BATISTA’s commitment to inject a billion dollars if and when needed, Gables

    Capital, in Miami, Florida, directed the purchase of another 4,000 OGX bonds for the sum of

    $2,676,888.89 on the secondary market on behalf of its client, MERIDIAN and 1,000 OGX bonds

    for the sum of $669,222.22 on behalf of its client, AMERICAN.

           TAG Bank and Government Bribes:

           448.   Unknown at the time was the fact that BATISTA and his accomplices, the 63X

    companies and CENTENNIAL DELAWARE, maintained several slush funds in accounts at a

    small Brazilian-owned bank, TAG Bank, in Panama for the purpose of paying of bribes to

    government officials.

           449.   These TAG Bank accounts were in the names of several Panamanian foundations,

    including The Golden Rock Foundation and The Blue Diamond Foundation. TAG Bank also

    hosted one of the TMF accounts from which BATISTA’s wealth managers were paid. (TAG

    Bank’s owner has been indicted on corruption charges in Brazil).



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           450.    In 2011, BATISTA had directed the payment of $16.5 million in bribes to Sergio

    Cabral, the Governor of Rio, from the Golden Rock account at TAG Bank in Panama, to secure

    political favors for his businesses.

           451.    In April, 2013, CENTENNIAL DELAWARE wired $111,798,818.97 million from

    an account at BTG Pactual in the Cayman Islands to top off its slush fund, held in its own name at

    an account at TAG Bank, to be used as needed by distribution to one or another of the Foundation

    accounts and thenceforward to be used for bribes to politicians in Brazil.

           452.    During April, 2013, CENTENNIAL DELAWARE directed its Panamanian

    affiliate, The Golden Rock Foundation, to pay a $2.3 million kickback, from its account at TAG

    Bank in Panama, to Brazilian officials who had been instrumental in awarding the $922 million

    OSX shipbuilding contract in mid-2012.

           The $850 Million “Investment” by Petronas:

           453.    BATISTA knew that the sale of supposed oil “assets” to other supposedly savvy

    players in the oil industry would create confidence in OGX and in its other dependent enterprises

    since it would reflect the fact that the buyer, after doing due diligence, saw value in the OGX asset,

    and therefore so should other investors; and OGX would have yet more working capital, so nobody

    invested in its future should worry that it could not pay its way until coming into full production.

           454.    Defendant AZIZ BEN AMMAR was charged by BATISTA with attempting to

    close an asset purchase deal with the Malaysian State-owned oil company Petronas. Upon

    information and belief, BATISTA authorized BEN AMMAR to spend in excess of $10 million to

    help “grease the wheels” of the process by bribing Brazilian and Malaysian government officials.

    AZIZ BEN AMMAR was directly involved in the negotiations and travelled to Kuala Lumpur on

    March 27, 2013 and was in direct contact with BATISTA.




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           455.    On or about May 8, 2013, BATISTA announced publicly that Petronas had agreed

    to buy an $850 million stake in two OGX oil fields in the Tubarão Martelo field in the Campos

    Basin. The news of the $850 million Petronas deal was picked up and reported across the world

    and had its intended effect.

           456.    Thus, on May 8, 2013, London’s Financial Times reported online that BATISTA

    had sold an $850 million stake in OGX assets to Malaysia’s state-run Petronas. The article noted

    that shares in OGX were the biggest risers of Brazil’s stock exchange that day. The good news

    came across the Bloomberg terminal screen on Ms. Neiwirth’s desk.

           457.    That same day, The Wall Street Journal reported online, “Petronas’s purchase of

    stakes in the two Tubarão Martelo blocks, with reserves estimated at 145 billion barrels of oil, will

    give OGX much-needed cash to fund fresh investments. The Malaysian and Brazilian companies

    announced the deal in separate statements.” (Emphasis added)

           458.    Similarly, BNAmericas announced online, “Brazil’s OGX has confirmed an US

    $850 mm farm-out deal with Malaysian giant Petronas for a share of two oil and gas blocks off the

    coast of Rio de Janeiro. The deal hands the Kuala Lumpur-based firm a 40% non-operating

    working interest in the Campos basin’s BM-C-39 and BM-C-40 blocks, OGX said in a statement.

    In addition, Petronas has an option to purchase 5% of OGX’s capital stock at a price of 6.30 reais

    until April 2015.”

           459.    The quote from OGX in the article continued, “OGX’s partnership with Petronas

    underscores the quality of our asset and the potential of the Tubarão Martelo field, where

    production is expected to commence by the end of the year,” OGX chief executive CARNEIRO

    said, “[w]ith more than 32Bb of recoverable resources and a production of about 2Mboe/d,

    Petronas’ expertise will enhance the continued development of oil production in these areas.”




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           460.     However, as CARNEIRO and the other co-conspirators in the EBX Group knew,

    this was a lie: a fraudulent misrepresentation intended to allay fears among investors in America

    and world-wide. In truth, there was virtually no commercially recoverable oil. OGX was a

    complete bust and would soon collapse.

           461.    In later regulatory proceedings in Brazil concerning the late release of news of the

    Petronas deal, which had been under negotiation since February, 2013 (in which BEN AMMAR

    was fined R$200,000 and BATISTA was fined R$300,000), the Defendants admitted that OGX

    was in a “crisis situation, and the consummation of the Petronas sale – which might have been

    imperiled by public announcement of the negotiations - was essential to OGX’s ability to continue

    as a viable business, as part of their defense.

           462.     None of the Derfendants had deemed it necessary to inform the investing public of

    that crucial fact at the time. Had they done so, Plaintiffs would have not made the majority of their

    investment.

           Meridian Invests in More OGX Bonds:

           463.    The news of the supposed Petronas purchase came across the Bloomberg terminal

    screen on Judy Neiwirth’s desk in Miami, Florida, on May 8, 2013. The Bloomberg report also

    recited a supposed quote from the buyer, “Petronas views the acquisition as a highly attractive

    investment opportunity in terms of asset quality and for strategic future growth in Brazil.”

           464.    Investors in OGX bonds were spurred to make greater purchases by this news.

    According to Reuters News Agency, investment in OGX bonds by the massive U.S. investment

    fund, Pimco, climbed as high as $800 million during May, 2013.

           465.    On May 20, 2013, in continued reliance on the vaunted future profitability of OGX,

    as aforesaid and BATISTA’s commitment to inject a billion dollars if and when needed, and further

    encouraged by the announcement of the Petronas deal, Gables Capital, in Miami, Florida, directed



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    the purchase of 3,000 OGX bonds for the sum of $1,798,791.67 on the secondary market on behalf

    of its client, MERIDIAN.

           466.    However, the truth was, in fact, that there was no actual “Petronas deal” as

    portrayed to the public. The “deal” had many contingencies, including OGX restructuring its debt

    and reaching certain production targets. It was merely another fraudulent misrepresentation

    designed to convey the message that sophisticated investors saw great value in the future of OGX.

           467.    Why Petronas – currently wracked by its own massive corruption scandal - did not

    correct the OGX presentation or investor perception at that time is unknown before discovery, but

    it is believed that the Malaysian government officials had been personally financially

    “incentivized” by BATISTA accomplices to play along with the lie.

           Batista Secretly Cashes Out:

           468.    While doing his best to encourage confidence in OGX among investors in America

    and world-wide, between May and June, 2013, BATISTA secretly instructed EBX to sell off

    126.65 million OGX shares. The sale was facilitated by Bank Itaú in Brazil. WERNER and the

    rest of the controlling insiders failed to announce the fact to the Brazilian regulators or to the

    investing public, because, as they knew, to do so would have created a crisis of investor confidence

    in OGX. This was a misrepresentation by omission.

           469.    BATISTA was also siphoning off cash in huge amounts. According to a much later

    released confidential letter from the Cleary Gottlieb law firm in New York, representing a cadre

    of large insider creditors in June, 2013, BATISTA funneled out $450,000,000 to an affiliate

    without justification just that month.

           470.    It is not known before discovery where that money went, but it is believed that a

    substantial amount was routed directly or intermediately through the corporate co-conspirators and




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    accomplices, including the 63X companies, members of the EBX group and the CENTENNIAL

    companies, to bank accounts at BANCO ITAÚ MIAMI and to banks in other countries.

           471.    On June 7, 2013, in an attempt to keep the balls in the air a little longer, BATISTA

    and the board of OGX released an OGX Management Presentation that highlighted the great

    supposed success of the OGX exploratory campaign.

           472.    However, when the news later hit the financial press in June 2013 that BATISTA’s

    EBX had sold a big chunk of its stock in OGX, investors reacted with alarm.

           473.    BATISTA responded by reassuring the Brazilian regulators, on June 13, 2013, that

    this had been just “a one-off adjustment, a divestiture made in the process of concluding the

    restructuring of the group which was now complete that same month of June” and that no further

    shares would be sold. However, this would prove to be a lie.

           474.    On June 20, 2013, in continued reliance on the vaunted future profitability of OGX

    as aforesaid and BATISTA’s commitment to inject a billion dollars if and when needed, and

    reassured by BATISTA’s news of his stock sale being just a “one-off adjustment,” Gables Capital,

    in Miami, Florida, directed the purchase of 3,175 OGX bonds for the sum of $1,070,107.29 on the

    secondary market on behalf of its client, MERIDIAN, as trustee.

           475.    MERIDIAN’s investment in OGX bonds now totaled $16,717,978.30 and

    AMERICAN’s investment in OGX bonds now totaled $3,934,782.98.

           476.    However, on July 1, 2013, OGX was finally forced to admit by a Statement of

    Material Fact that a number of its wells in the Campos Basin were unproductive and, cryptically,

    that none of its projections should be relied upon, which resulted in a plunge in OGX share prices.

           477.    Critically, however, BATISTA, the board of OGX, and the directors and top

    executives in the EBX Group failed to announce: (a) that OGX had virtually no commercially

    recoverable oil; (b) that the Mubadala “investment” had been a massive loan, collateralized on the



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    plum assets of the EBX Group; (c) that behind the scenes Mubadala, who knew the exact state of

    affairs, was realizing on its securities and stripping the value out of the group; (d) that the Petronas

    “investment” had been just another massive intended loan, and that Petronas was not obliged to

    perform unless OGX was re-structured; (e) that there was no viable “EBX/BTG Strategic

    Partnership,” and lastly; (f) that BATISTA and EBX Company CENTENNIAL NEVADA had no

    intention of honoring the obligation under the billion dollar Put Option, if and when demanded.

           478.    In fact, in the face of certain knowledge that OGX was insolvent and had no

    oilfields likely to generate significant recoverable oil, BATISTA and the board of OGX, and the

    directors and top executives in the EBX Group, continued to spawn lies about projected future

    profitability of OGX.

           479.    Thus, on July 3, 2013, Bloomberg relayed the news that OGX had declared the

    Remora field in the Campos Basin commercially viable. Unfortunately, this was just another lie.

           Batista Makes Further Fraudulent Transfers:

           480.    Upon information and belief, during these months, in line with his overall game-

    plan, BATISTA was moving the assets still in Brazil that were the most vulnerable to attachment

    out of his name and into the names of family members, leaving himself immune from collection.

           481.    Upon information and belief (according to the Brazilian indictments) BATISTA

    transferred two buildings in Rio with an aggregate value of approximately $20 million into the

    names of his sons THOR BATISTA and OLIN BATISTA; he moved $60 million from an account

    in Brazil to a Citibank account in the name of THOR BATISTA; and he transferred approximately

    $7 million in cash plus a $2 million apartment in Ipanema to FLAVIA SAMPAIO, his girlfriend

    and mother of his infant son, Balder. Recent press reports indicate that BATISTA sheltered

    additional assets in the name of his father, ELIEZER BATISTA.




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           482.    Upon information and belief, BATISTA, his co-conspirators, and accomplices had

    by this time moved the bulk of his and their liquid assets out of Brazil and off to secrecy

    jurisdictions, where they were held in cash, or reinvested in stock in ventures likely to actually

    prove to be profitable, or in real estate and other more secure investments in other countries,

    typically through the medium of shell companies to act as “blinds” between the asset and the

    ultimate beneficial owners. Much of the money was held in accounts in their various names and in

    the names of other controlled companies at BANCO ITAÚ MIAMI, in an account under BERTO’s

    name as trustee at EFG SWITZERLAND and in MAGNO’s trust account.

           Mubadala Secretly Pulls Out:

           483.    During early July, 2013, news began to leak out that the Mubadala deal, which had

    been announced as an equity investment and seen as BATISTA’s, OGX’s and the EBX Group’s

    ultimate stamp of approval by the investment community, providing important backing for

    BATISTA’s ambitions by a major global sovereign wealth fund, may have been more in the nature

    of a loan than a true equity stake.

           484.    Moreover, behind the scenes, Mubadala, which had inside knowledge as to the true

    state of affairs in BATISTA’s companies and was not prepared to wait for the impending disaster

    to arrive and lose its shirt, had over the course of many months been demanding and receiving the

    surrender of collateral and the partial repayment of its loan to reduce its exposure to the greatest

    extent possible. The fact that Mubadala was pulling out should have been released to the

    investment community as a material fact, but was not. This was a material misrepresentation by

    omission.

           485.    BATISTA and the EBX Group publicly tried to put the best spin possible on the

    leaked news, characterizing the OGX payments to Mubadala as the partial redemption of an

    “investment” rather than the repayment of a loan. Mubadala – who wanted to get as much out



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    before the crash as possible, and therefore had an interest in such a characterization - did not

    publicly deny this account. However, neither the EBX Group nor Mubadala provided details of

    the restructuring, and the deal documents have not been made public.

           486.    Upon information and belief, the process of asset stripping was carried out by

    lawyers at Maples & Calder in the Cayman Islands working with members of the EBX Group.

    According to the online version of The Legal 500 regarding Maples & Calder, “[o]ther major

    instructions included Simon Firth advising Eike Batista’s EBX Group on the ongoing restructuring

    of its strategic partnership with Mubadala Development Company.” Cayman Islands, Corporate

    and Commercial, Maples and Calder, The Legal 500 (last visited Oct. 11, 2016),

    http://www.legal500.com/c/cayman-islands/corporate-and-commercial.

           The 10.8 Billion Barrel Lie – Recap:

           487.    Despite the fact that OGX was now on a very fast countdown to collapse, BATISTA

    and his accomplices resolutely kept on publicly trumpeting a rosy vision for its future, completely

    disconnected from any shred of reality.

           488.    Thus, on July 19, 2013, BATISTA once again blared out reassurances for

    distribution through the internet press [Bloomberg Businessweek, Financial Times, Fox Business,

    San Francisco Chronicle] that, as D&M had stated in a 2011 Report, OGX had reserves amounting

    to 10.8 billion barrels and that regardless of all else, he would stand by the company and honor all

    of his obligations.

           489.    However, BATISTA and his accomplices had always known that the various OGX

    projections had been lies. That had been confirmed by the internal OGX Task Force and

    Schlumberger Task Force Reports in late 2012 and all the evidence since then had reinforced the

    point. BATISTA had neither the capacity nor the intention to make good on all his debts, let alone

    compensate all of the many victims of his fraud. None of the directors and top executives of OGX



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    of OSX or the EBX Group made any attempt to correct these fraudulent misrepresentations to the

    investing public.

           490.    On July 22, 2013, D&M again demanded of BATISTA and OGX, privately, that

    he retract the 10.8 billion barrel lie and detach the D&M name from it. BATISTA and his

    accomplices refused to do so, thus allowing the fraudulent misrepresentation to stand.

           491.    On August 14, 2013, Luciano Coutinho, the President of the Brazilian development

    bank, BNDES, which had loaned BATISTA billions of dollars and must have done due diligence

    that showed otherwise, announced that BATISTA’s OGX had “high-quality assets with which it

    can rebalance itself.” It is unknown before discovery what inducement BATISTA and his

    accomplices supplied for him to state this lie. (Mr. Coutinho has had his assets in the hundreds of

    millions of dollars frozen in Brazil and is currently under investigation by the government).

           492.    On August 16, 2013, the Tubarão Azul oilfield was closed down, having produced

    roughly five million barrels throughout its life, or just 1% of the minimum estimate announced in

    2010. This was OGX’s best field. There would be a later attempt to operate this field commercially

    post-bankruptcy. This attempt, however, would prove futile and the field was eventually returned

    to the Brazilian government.

           493.    As noted above, the task BATISTA had set for MARCUS BERTO was to get the

    EBX stake in LLX secretly monetized before the OGX crash, and the crash of OSX which would

    follow on its heels, leaving the LLX port project without its anchor tenant.

           494.    On August 15, 2013, in a filing with the Brazilian Securities and Exchange

    Commission, BATISTA belatedly confirmed that he was selling a controlling stake in LLX for

    $560 million to U.S.-based EIG Global Energy Partners. This was therefore “mission

    accomplished” for MARCUS BERTO and he left Rio for Miami.




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           495.    Disastrous news was also now emerging about BATISTA’s MMX, iron ore

    “producing” company, which had been fined $1.8 billion for unpaid taxes, equivalent to nearly

    80% of its market value. BATISTA’s hand-picked managers at MMX were trying to sell off this

    company, too, before the others crashed all around it.

           496.    In August and September, 2013, BATISTA secretly sold another 227 million shares

    in OGX, which earned him approximately $35 million and which, upon information and belief, he

    routed to one of his foreign accounts.

           497.    Though not discovered until near the end of the year, and then reported by the

    journalist Elio Gaspari in the Rio de Janeiro daily paper, O Globo, at least ten OGX executives left

    the company during these final months, with parting payments ranging between $46 million and

    $92 million each, further stripping cash out of the company.

           498.    On September 4, 2013, having milked as much as he could out of OGX, AZIZ BIN

    AMMAR resigned from the Board and returned to New York, where he resides.

           499.    With the OGX bankruptcy just days away, upon information and belief, BATISTA

    attempted to transfer another $100 million in corporate funds from a BTG Pactual correspondent

    account in the Caribbean to a Miami, Florida, account at Citibank.

           500.    Upon information and belief, Andre Esteves, billionaire Chairman of BTG Pactual,

    initially refused to make this transfer, however, because he feared that BTG Pactual would become

    liable as an accomplice to BATISTA’s fraud on creditors.

           501.    It is unknown whether those funds remain “stranded” in the Caribbean or have been

    routed out on BATISTA’s instructions to one of his other accounts.

           502.    Equity investors and bond holders in the United States and world-wide were still

    relying on the fact that there was value in OGX. This belief was due to the fact that as recently as




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    May, 2013, a foreign oil company, Petronas, had apparently invested close to a billion dollars of

    its own money in the OGX oil fields.

            503.    On top of that, BATISTA himself was obliged to inject a billion dollars in cash into

    OGX, if and when needed, through the Put Option. (And in 2014, into OSX through a similar Put

    Option). All that was needed apparently was for OGX to have enough cash to stay in business until

    the oil started to flow.

            504.    The fraudulent OGX Put Option misrepresentation was repeated as the stock and

    bond prices fell. On July 19, 2013, BATISTA stated to the press that he would stand by the

    company and “honor all of [his] obligations,” which, the Plaintiffs’ investment adviser, Ms.

    Neiwirth took to include the Put Option, and that he would not “leave a single penny unpaid for

    each one of [his] debts,” which she believed to be true.

                                Section III - The OGX Oil Bubble Bursts

            505.    On September 6, 2013, OGX’s Controller, desperate for cash, formally demanded

    from BATISTA the first $100 million under the Put Option.

            506.    BATISTA, who had never had any intention of paying a single penny into OGX,

    shocked investors by refusing to pay this or any other obligation under the Put Option, claiming

    the benefit of an “out clause,” which he had inserted for that purpose.

            507.    The arrival of OSX III, yet another massive floating production, storage and

    offloading vessel at the Tubarão Martelo field, on October 1, 2013, raised momentary hopes that

    OGX might soon start producing offshore oil from the field. But by close of business that same

    day, OGX missed a bond payment in the amount of $45 million.

            508.    On October 28, 2013, MARCUS BERTO formally stepped down at LLX, resigning

    as President and Director of Investor Relations and handed over to the new owners’ appointed

    management and left for Miami, Florida.



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           509.    As a “thank you” for his services to date and in anticipation of services as trustee

    yet to come (as described above), in July 2013, 63X Master Fund sent Berto $10 million from its

    BTG account in the Cayman Islands to an account at Merrill Lynch in Florida in the name of a

    nominally Arizona company, named LIN LLC, wholly-owned and controlled by BERTO in

    Miami, Florida.

           510.    It is believed that MARCUS BERTO invested his pay-off in a $9.5 million Key

    Biscayne, Florida, mansion, which is titled in the names of two trusts, LIN KB and LIN MB, of

    which he and his wife Melissa Mason Berto are the trustees.

           511.    On October 30, 2013, OGX filed for bankruptcy in Rio de Janeiro disclosing debts

    of $5.1 billion, of which roughly $3.6 billion was owed to U.S. and other foreign bondholders.

           512.    Pimco, the world’s largest bond investor, based in California, and BlackRock, the

    world’s largest asset manager, from New York, had front-row seats for the collapse.

           513.    Bondholders like the Plaintiffs and, upon information and belief, other investors

    from Florida, such as the Florida Retirement System Trust Fund, and government funds across the

    United States were among the horde of other investors that were basically wiped out.

           514.    OGX’s satellite company, MMX, filed for bankruptcy on October 22, 2013.

           515.    OGX’s satellite company, OSX, filed for bankruptcy on November 11, 2013.

           516.    In November 2013, Petronas announced that it would not pay the $850 million,

    which investors had expected under the alleged “deal” that BATISTA had broadcast in May of

    that year, disclosing that the deal had been contingent on OGX being able to re-structure its debt.

           517.    By February, 2014, virtually all of the blocks which OGX had leased had been

    returned to the Brazilian Government as worthless.

           518.    Meanwhile, as detailed above, EIKE BATISTA and THOR BATISTA, through

    their controlled company accounts at BANCO ITAÚ MIAMI; and at banks internationally; and



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    through trusts administered by BERTO and MAGNO in Miami with accounts at EFG MIAMI and

    EFG SWITZERLAND, had stashed away huge amounts of the cash they had looted from the

    companies. Indeed, through stratagems such as the DIP loan at 120% interest to the reorganizing

    entity, OGPar, fronted by MAGNO as trustee in Miami, BATISTA and his son continued to loot

    the corpse.

            Batista’s “Brazilian Dream” Turns to Nightmare:

            519.    For everybody with an interest in OGX and its satellite companies - except for

    BATISTA, his co-conspirators, and accomplices - the “Brazilian Dream” BATISTA had boasted

    of in the April 30, 2012, during the Deirdre Bolton interview, had now turned to a nightmare.

            520.    The shareholders and ordinary bondholders, predominantly from the United States,

    who had invested billions of dollars in OGX, had now been essentially wiped out in what is

    currently the largest default in Latin American history.

            521.    BATISTA and a number of his co-conspirators and accomplices were thereafter

    indicted in Brazil for market manipulation, insider trading, money laundering, and corruption.

    These proceedings are expected to last a decade or more, with no real hope of securing punishment

    of the perpetrators of the fraud or restitution for the victims.

            522.    As one of his “defenses” in the criminal proceedings in Brazil, BATISTA has

    contended that the conditions of the oil exploration leases required that OGX continue to explore

    for oil until it declared a field to be commercial or return it to the government. BATISTA therefore

    had OGX declare fields to be commercial to avoid incurring the cost of exploration or having to

    return them as worthless, trusting that some future technological advance would allow OGX to

    commercially recover what were presently unrecoverable resources. In other words, BATISTA

    has admitted that those representations to investors were false.




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           523.    In November 2015, Brazil’s market regulator, the CVM, banned BATISTA from

    managing a publicly traded company for a derisory five years.

           Batista’s Silver Lining:

           524.    BATISTA and his co-conspirators, however, are all believed to have done well out

    of the scheme, having received sums ranging from tens of millions of dollars to hundreds of

    millions of dollars apiece.

           525.    All the lies about BATISTA being listed somewhere in the league of the world’s

    richest men can now be seen to have always been a lie. The number on which that supposed

    position ranking was predicated was the sum total of money paid in by investors in expectation of

    profits from oil that never existed.

           526.    In actual fact, BATISTA’s original net worth before the OGX fiasco was probably

    in the hundreds of millions of dollars, and his actual current assets, mainly squirreled away abroad,

    are probably significantly more than what he began with.

           527.    Thus, BATISTA and his family continue to live an untouchable life of luxury in

    Brazil. It is reported that he believes that he has “zeroed his debts” through the bankruptcies.

    Apparently the billions of dollars of which he bilked his victims does not count.

           528.    That BATISTA has massive wealth remaining is shown by the fact that in March

    2016, he threw $130,000.00 in gold coins from the deck of his yacht into the Atlantic Ocean to

    propitiate the “Queen of The Sea,” and turn the course of his luck for his next enterprise.

           529.    As previously mentioned, the Tubarão Azul oilfield had been OGX’s best prospect.

    Under BATISTA it had achieved less than 1% of the flow promised. On September 20, 2016, three

    years post-bankruptcy, after the successor entity had ploughed many more millions into its

    exploration, the Tubarão Azul oilfield was returned to the Brazilian government as worthless.




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           The Plaintiffs’ Claim:

           530.    Through restructuring in the OGX bankruptcy, MERIDIAN’s close to $17 million

    dollars in bonds has been translated into shares in a new version of OGX with a face value of

    $279,746 for which credit is given. MERIDIAN’s net loss is $16,438,233, plus interest.

           531.    Through restructuring in the OGX bankruptcy, AMERICAN’s close to $4 million

    in bonds has been translated into shares in a new version of OGX with a face value of $62,166, for

    which credit is given. AMERICAN’s net loss is $3,872,616, plus interest.

           532.    The Plaintiffs have retained the undersigned attorneys to prosecute this action and

    are obliged to pay them a reasonable fee.

           Cayman and Bahamas Proceedings:

           533.    As of the date of filing the initial Complaint, the Plaintiffs had already commenced

    proceedings ancillary to this action in the Cayman Islands, restricting Batista and the 63X

    Companies from dissipating assets and to obtain information relating to transfers of money and

    accounts owned and controlled by Batista and the 63X Companies.

           534.    In the Cayman Islands, after a multi-day hearing, the Judge, consistent with

    Cayman Islands law, entered an Order freezing the assets of Batista and the 63X Companies

    worldwide and ordered disclosures for information regarding accounts and transfers owned and

    controlled by Batista and the 63X Companies.

           535.    In the Bahamas, consistent with Bahamian law, the Judge similarly entered an order

    for the disclosure of information relating to transfers of money and accounts owned and controlled

    by Batista and the 63X Companies.

           536.    BATISTA and the 63X Companies are currently in default of numerous court

    orders in the Cayman Islands to make disclosure as to their worldwide assets and historical money




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    transfers. Those proceedings are continuing. BANCO ITAÚ MIAMI has steadfastly refused to

    disclose the accounts beneficially held by BATISTA and his controlled companies.

                                                 COUNT I
                                                  FRAUD

           Plaintiffs re-allege paragraphs 1-536 against EIKE BATISTA, ELIEZER BATISTA,

    WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO GODINHO, PAULO

    GOUVEA, MARCUS BERTO, LUIZ CARNEIRO AZIZ BEN AMMAR, CENTENNIAL

    ASSET MINING FUND, LLC, and CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC,

    as follows:

           537.    Each of the above named Defendants personally participated in the fraudulent

    scheme and composed and transmitted material fraudulent misrepresentations, and assisted each

    other in maintaining the credibility of material misrepresentations as detailed above.

           538.    As detailed above, each of them issued and assisted in issuing false statements

    concerning specific material facts, with actual knowledge that the representations were false, with

    the intention that investors in the United States would thereby be induced to rely on such

    representations to their consequent financial loss.

           539.    In directing their individual and collaborative misrepresentations to the United

    States, the named Defendants necessarily targeted investors in the most populous States of the

    United States, of which Florida is the third, behind only California and Texas. They did so in the

    expectation of personal gain and of causing loss to their targets.

           540.    Plaintiffs’ investment agent, Gables Capital Management, in Miami, Florida, was

    a target of such misrepresentations and relied on the same and was thereby induced by such

    fraudulent misrepresentations to buy OGX bonds on behalf of the Plaintiffs in the total amount of

    $21,231,683.00.




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            541.   The OGX bonds were and are virtually worthless, as a result of which Plaintiffs

    have been damaged in the sums alleged.

            542.   While participating in the fraudulent scheme, these Defendants had actual

    knowledge of the wrongfulness of the scheme and the high probability that the scheme would

    damage the Plaintiffs and, despite that knowledge, intentionally pursued the fraudulent scheme,

    damaging the Plaintiffs.

            543.   The corporate defendants actively and knowingly participated in the fraudulent

    scheme to the same extent as the individual defendants. Further, the employees and directors of

    the corporate defendants knowingly condoned and consented to the corporate defendants’

    participation in the fraudulent scheme, damaging the Plaintiffs.

            WHEREFORE, Plaintiffs demand damages, including punitive damages, together with

    interest, and such further and other legal and equitable relief as may appear just, plus the costs of

    this action.

                                            COUNT II
                                     CONSPIRACY TO DEFRAUD

            Further or alternatively, Plaintiffs re-allege paragraphs 1-541 against EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO

    GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO, AZIZ BEN AMMAR,

    BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X

    FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN

    EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX

    INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, and

    AUX LLC, and say as follows:

            544.   As is detailed above, the foregoing Defendants conspired and agreed together at

    numerous times and on various dates and in various places to participate in the fraudulent scheme

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    and achieve its objectives, as alleged, and to hide the proceeds in false names and in jurisdictions

    where they would not be available for satisfaction of the legitimate debts of creditors. Each such

    Defendant performed the overt acts detailed above in furtherance of the conspiracy.

            545.   While conspiring to participate in the fraudulent scheme, these Defendants had

    actual knowledge of the wrongfulness of the scheme and the high probability that the scheme

    would damage the Plaintiffs and, despite that knowledge, intentionally pursued the conspiracy,

    damaging the Plaintiffs.

            546.   The corporate defendants actively and knowingly conspired to participate in the

    fraudulent scheme to the same extent as the individual defendants. Further, the employees and

    directors of the corporate defendants knowingly condoned and consented to the corporate

    defendants’ participation in the conspiracy, damagin the Plaintiffs.

            WHEREFORE, Plaintiffs demand damages, including punitive damages, together with

    interest, and such further and other legal and equitable relief as may appear just, plus the costs of

    this action.

                                           COUNT III
                                  AIDING AND ABETTING FRAUD

            Further or alternatively, Plaintiffs re-allege paragraphs 1-541 against EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO

    GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO, AZIZ BEN AMMAR,

    BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X

    FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN

    EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX

    INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, and

    AUX LLC, and say as follows:

            547.   As detailed above, with knowledge of the underlying fraud, the foregoing

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    Defendants aided and abetted BATISTA and his co-conspirators and accomplices and rendered

    substantial, material assistance to him and them, to achieve the objectives of the fraudulent scheme

    and to assist in secreting the proceeds in false names and in jurisdictions where they would not be

    available for the satisfaction of the legitimate debts of creditors, wherefore they are additionally

    liable as aiders and abettors.

            548.     While aiding and abetting the fraudulent scheme, these Defendants had actual

    knowledge of the wrongfulness of the scheme and the high probability that the scheme would

    damage the Plaintiffs and, despite that knowledge, intentionally aided and abetted fraudulent

    scheme, damaging the Plaintiffs.

            549.     The corporate defendants actively and knowingly aided and abetted the fraudulent

    scheme to the same extent as the individual defendants. Further, the employees and directors of

    the corporate defendants knowingly condoned and consented to the corporate defendants’ aiding

    and abetting in the fraudulent scheme, damaging the Plaintiffs.

            WHEREFORE, Plaintiffs demand damages, including punitive damages, together with

    interest, and such further and other legal and equitable relief as may appear just, plus the costs of

    this action.

                                           COUNT IV
                   FLORIDA CIVIL REMEDIES FOR CRIMINAL PRACTICES ACT
                                   (f/k/a “FLORIDA RICO”)

            Further or alternatively, Plaintiffs re-allege paragraphs 1-541 against EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO

    GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO, AZIZ BEN AMMAR,

    BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X

    FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN

    EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX



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    INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, and

    AUX LLC, and say as follows:

           The Criminal Enterprise:

           550.    Upon the basis of the facts alleged, BATISTA is and was the prime directing and

    controlling force at the head of a criminal enterprise within the meaning of Fla. Stat. § 772.102(3)

    comprised of himself, the joined Defendants, and many other co-conspirators, aiders, abettors, and

    accomplices not joined.

           551.    The enterprise had as its common purpose the criminal aspirations and ambitions

    of BATISTA for the accumulation of wealth through a pattern of racketeering activity for further

    investment, enjoyment and transmission down through the generations of his relatives, friends co-

    conspirators and accomplices.

           552.    Such enterprise is referred to collectively as “the Batista Crime Family” and the

    Defendant individuals and entities comprising such as “members of the Batista Crime Family” or

    “members of the enterprise.”

           553.    All members of The Batista Crime Family acted, in regard to each listed predicate

    act as described below and as to the overall pattern of racketeering activity, with criminal intent.

           The Pattern of Criminal Activity:

           554.    By reason of the allegations made herein, the members of the enterprise engaged in

    a pattern of criminal activity as stated in Fla. Stat. § 772.102(4).

           The Predicate Acts of Criminal Activity:

           555.    The Defendants actively participated in the enterprise, the Batista Crime Family,

    through the stated prohibited activities contrary to Fla. Stat. § 772.103 in the course of a pattern of

    criminal activity under Fla. Stat. § 772.102(4) which entitle Plaintiffs to civil remedies under Fla.

    Stat. § 772.104.



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           Predicate Act I - Florida Securities Fraud - Alleged Against EIKE BATISTA,
           ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO
           MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ
           CARNEIRO, AZIZ BEN AMMAR, 63X INVESTMENTS LTD., 63X MASTER
           FUND, 63X FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL
           ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1
           LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC,
           AUX LUXEMBOURG SARL, and AUX LLC

           556.    As set forth above, the stated Defendants have committed multiple violations of the

    Florida Securities Fraud statute, in that in connection with the rendering of investment advice or

    in connection with the offer, sale, or purchase of investments or securities, which latter term

    includes “bonds” pursuant to Fla. Stat. § 517.02(22), they directly or indirectly employed a device,

    scheme, or artifice to defraud, contrary to Fla. Stat. § 517.301(1)(a)(1).

           557.    As set forth above, the stated Defendants have further committed multiple

    violations of the Florida Securities Fraud statute, in that in connection with the rendering of

    investment advice or in connection with the offer, sale, or purchase of investments or securities,

    which latter term includes “bonds” pursuant to Fla. Stat. § 517.02(22), they directly or indirectly

    obtained money or property by means of untrue statements of material facts or any omission to

    state material facts necessary in order to make the statements made, in the light of the

    circumstances under which they were made, not misleading, contrary to Fla. Stat. §

    517.301(1)(a)(2).

           558.    As set forth above, the stated Defendants have committed multiple violations of the

    Florida Securities Fraud statute, in that in connection with the rendering of investment advice or

    in connection with the offer, sale, or purchase of investments or securities, which latter term

    includes “bonds” pursuant to Fla. Stat. § 517.02(22), they directly or indirectly engaged in

    transactions, practices, or courses of business which operated as a fraud or deceit upon persons,

    including Plaintiffs, contrary to Fla. Stat. § 517.301(1)(a)(3).




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           Predicate Act II - Federal Wire Fraud - Alleged Against EIKE BATISTA, ELIEZER
           BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA,
           FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO,
           AZIZ BEN AMMAR, BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS
           LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET MINING FUND,
           LLC, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL
           ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX
           INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, and AUX LLC

           559.    As set forth above, the stated Defendants have committed numerous acts of wire

    fraud in that they, having devised or intending to devise a scheme or artifice to defraud, or for

    obtaining money or property by means of false or fraudulent pretenses, representations, or

    promises, transmitted or caused to be transmitted by means of wire, radio, or television

    communication in interstate or foreign commerce, writings, signs, signals, pictures, and sounds for

    the purpose of executing such scheme or artifice, contrary to 18 U.S.C. § 1343.

           Predicate Act III - Federal Money Laundering - Alleged Against EIKE BATISTA,
           ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO
           MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ
           CARNEIRO, AZIZ BEN AMMAR, BANCO ITAÚ INTERNATIONAL, 63X
           INVESTMENTS LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET
           MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC,
           CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS,
           LLC, 3BX INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, and AUX
           LLC

           560.    As set forth above, the stated Defendants committed numerous acts of money

    laundering in that they knowingly engaged or attempted to engage in monetary transactions in

    criminally derived property of a value greater than $10,000 derived from unlawful activity contrary

    to 18 U.S.C. § 1957. As stated above, the acts of money laundering variously took place in the

    United States pursuant to 18 U.S.C. § 1957(d), or was committed outside the U.S. by “U.S.

    persons” including U.S. nationals, U.S. permanent residents, corporations formed in the U.S. and

    foreign subsidiaries of such persons as defined in 18 U.S.C. § 3077.

           Predicate Act IV - Florida False Advertising - Alleged Against EIKE BATISTA,
           ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO
           MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ

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           CARNEIRO, AZIZ BEN AMMAR, 63X INVESTMENTS LTD., 63X MASTER
           FUND, 63X FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL
           ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1
           LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC,
           AUX LUXEMBOURG SARL, and AUX LLC

           561.    As set forth above, the stated Defendants committed numerous acts of misleading

    and deceptive advertising, contrary to Fla. Stat. § 817.40(5), in that they made or disseminated or

    caused to be made or disseminated before the general public of the state, or a portion thereof,

    misleading advertisements, which were fraudulent and unlawful, which the Defendants knew or

    should have known were false, and were designed and intended for obtaining money or property

    under false pretenses, contrary to Fla. Stat. § 817.41(1).

           Predicate Act V - Florida Theft - Alleged Against EIKE BATISTA, ELIEZER
           BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA,
           FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO,
           AZIZ BEN AMMAR, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X
           FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL ASSET
           BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1 LLC,
           WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC, AUX
           LUXEMBOURG SARL, and AUX LLC

           562.    By reason of the foregoing the stated Defendants, with criminal intent, knowingly

    obtained or used, or endeavored to obtain or use, the Plaintiffs’ property and the property of others

    through fraud, deceit, false pretenses and/or conduct of similar nature, with the intent to

    permanently deprive the Plaintiffs and such others of their right to their property or their benefit

    of their property, and further, knowingly and with criminal intent appropriated such property to

    their own use contrary to Fla. Stat. § 812.014.

           Predicate Act VI - Florida Communications Fraud: Alleged Against EIKE BATISTA,
           ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO
           MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ
           CARNEIRO, AZIZ BEN AMMAR, BANCO ITAÚ INTERNATIONAL, 63X
           INVESTMENTS LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET
           MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC,
           CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS,
           LLC, 3BX INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, and AUX
           LLC

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            563.   As set forth above, the stated Defendants engaged in a scheme to defraud, in that

    they engaged in a systematic, ongoing course of conduct with an intent to defraud, or intent to

    obtain property by false or fraudulent pretenses, representations, or promises, or willful

    misrepresentations of a future act, resulting in depriving persons of the right to property or a benefit

    therefrom, or appropriating the property to their own use or to the use of another person not entitled

    thereto contrary to Fla. Stat § 817.034(4)(a), 817.034(3)(b), 817.034(3)(c), and 817.034(3)(d).

            564.   Further by reason of the matters set forth above, the stated Defendants furthered a

    scheme to defraud, in that they furthered a systematic, ongoing course of conduct with an intent to

    defraud, or intent to obtain property by false or fraudulent pretenses, representations, or promises,

    or willful misrepresentations of a future act, resulting in depriving persons of the right to property

    or a benefit therefrom, or appropriating the property to their own use or to the use of another person

    not entitled thereto, and in the course thereof communicated with persons with the intent to obtain

    property from such persons contrary to Fla. Stat § 817.034(4)(b).

            Civil Remedy:

            565.   As a result of the Defendants’ participation in the criminal enterprise and its

    perpetration of the aforesaid pattern of criminal activity, Defendants caused injury and damage to

    Plaintiffs.

            566.   By reason of the foregoing, Defendants have, with criminal intent, received

    proceeds derived directly or indirectly from a pattern of criminal activity and have used or invested

    the same, or a part thereof, directly or indirectly, or the proceeds derived from the investment or

    use thereof, in the acquisition of title to, or a right, interest, or equity in, real property or in the

    establishment or operation of an enterprise, contrary to Fla. Stat. § 772.103.

            567.   By reason of the foregoing, Defendants have, with criminal intent, through a pattern

    of criminal activity acquired or maintained, directly or indirectly, an interest in or control of

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    enterprises or real property; have been employed by of associated with an enterprise to conduct or

    participate, directly or indirectly, in a pattern of criminal activity; conspired or have endeavored

    to violate provisions of subsection (1), subsection (2), or subsection (3) of Fla. Stat. § 772.103.

           568.    By reason of the foregoing, Plaintiffs have a cause of action for threefold the actual

    damages sustained, minimum damages as provided by statute, and reasonable attorney’s fees and

    court costs in the trial and appellate courts pursuant to Fla. Stat. § 772.104.

           WHEREFORE, Plaintiffs demand minimum damages, statutory treble damages in the

    amount of $60,932,547.00, together with interest, attorneys’ fees and costs, and such further and

    other legal and equitable relief as may appear just.

                                     COUNT V
       FLORIDA CIVIL REMEDIES FOR CRIMINAL PRACTICES ACT CONSPIRACY
                       (f/k/a “FLORIDA RICO CONSPIRACY”)

           Further or alternatively, Plaintiffs re-allege paragraphs 1-536 and 550-567 against EIKE

    BATISTA, ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO

    MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ

    CARNEIRO, AZIZ BEN AMMAR, BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS

    LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET MINING FUND, LLC,

    CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD.,

    WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC,

    AUX LUXEMBOURG SARL, and AUX LLC, and say as follows:

           569.    The members of the Batista Crime Family conspired and agreed together at

    numerous times and on various dates and in various places to participate in the fraudulent scheme

    and in the affairs of the criminal enterprise through a pattern of racketeering activity contrary to

    Florida Statute § 772.103(4), by reason of which Plaintiffs were damaged and are consequently

    entitled to civil remedies under Florida Statute § 772.104.



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           570.    By reason of the foregoing, Plaintiffs have a cause of action for threefold the actual

    damages sustained, minimum damages as provided by statute, and reasonable attorney’s fees and

    court costs in the trial and appellate courts pursuant to Florida Statutes § 772.104.

           WHEREFORE, Plaintiffs demand minimum damages, treble damages in the amount of

    $60,932,547.00, together with interest, attorneys’ fees and costs, and such further and other legal

    and equitable relief as may appear just.

                                         COUNT VI
                             FALSE AND MISLEADING ADVERTISING

           Further or alternatively, Plaintiffs re-allege paragraphs 1-536, against EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO

    GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO, and AZIZ BEN

    AMMAR, and say as follows:

           571.    Defendants committed numerous acts of false and misleading advertising in that

    they made or disseminated or caused to be made or disseminated before the general public of the

    state, or any portion thereof, misleading advertisements, which were fraudulent and unlawful, and

    were designed and intended for obtaining money or property under false pretenses, contrary to Fla.

    Stat. § 817.41(1), and that they caused such loss in fact to Plaintiffs.

           572.    While participating in this false and misleading advertising scheme, these

    Defendants had actual knowledge of the wrongfulness of the scheme and the high probability that

    the scheme would damage the Plaintiffs and, despite that knowledge, intentionally pursued the

    false and misleading advertising scheme, damaging the Plaintiffs.

           573.    Accordingly, Plaintiffs have a statutory cause of action for actual damages, punitive

    damages, attorneys’ fees and costs, pursuant to Fla. Stat. § 817.41(6).

           WHEREFORE, Plaintiffs demand damages, including punitive damages, interest,

    attorneys’ fees, costs, and such further and other relief as may seem fit.

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                                 COUNT VII
           CONSPIRACY TO COMMIT FALSE AND MISLEADING ADVERTISING

           Further or alternatively, Plaintiffs re-allege paragraphs 1-536 and 571-573, against EIKE

    BATISTA, ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO

    MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ

    CARNEIRO, and AZIZ BEN AMMAR, and say as follows:

           574.    Defendants conspired and agreed together to commit and did substaintially assist

    in the commission of numerous acts of false and misleading advertising in that they made or

    disseminated or caused to be made or disseminated before the general public of the state, or any

    portion thereof, misleading advertisements, which were fraudulent and unlawful, and were

    designed and intended for obtaining money or property under false pretenses, contrary to Fla. Stat.

    § 817.41(1).

           575.    While conspiring to participate in the false and misleading advertising scheme,

    these Defendants had actual knowledge of the wrongfulness of the scheme and the high probability

    that the scheme would damage the Plaintiffs and, despite that knowledge, intentionally pursued

    the conspiracy, damaging the Plaintiffs.

           576.    Accordingly, Plaintiffs have a statutory cause of action for actual damages, punitive

    damages, attorneys’ fees and costs, pursuant to Fla. Stat. § 817.41(6).

           WHEREFORE, Plaintiffs demand damages, including punitive damages, interest,

    attorneys’ fees, costs, and such further and other relief as may seem fit.

                                                COUNT VIII
                                               CIVIL THEFT

           Further or alternatively, Plaintiffs re-allege paragraphs 1-536 against EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO MENDONÇA, FLAVIO




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    GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ CARNEIRO and AZIZ BEN

    AMMAR, and say as follows:

           577.    By reason of the foregoing acts alleged, the Defendants committed theft by the

    terms of Fla. Stat. § 812.014 and Plaintiffs are entitled to the civil remedies set forth in Florida

    State § 772.11, including treble damages, attorneys’ fees and the expenses of this action.

           578.    All conditions precedent to this action, including statutory notice, have been

    complied with, waived, or have been otherwise satisfied.

           WHEREFORE, Plaintiffs demand three times the damage suffered, namely

    $60,932,547.00, plus interest, and such further and other legal and equitable relief as may appear

    just, plus the attorneys’ fees, costs and expenses of this action.

                                          COUNT IX
                                 CONSPIRACY TO COMMIT THEFT

           Further or alternatively, Plaintiffs re-allege paragraphs 1-536 and 577 against EIKE

    BATISTA, ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO

    MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ

    CARNEIRO, AZIZ BEN AMMAR, BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS

    LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET MINING FUND, LLC,

    CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD.,

    WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC,

    AUX LUXEMBOURG SARL, and AUX LLC, and say as follows:

           579.    As detailed above, the foregoing Defendants with criminal intent, conspired and

    agreed together at numerous times and on various dates and in various places to participate in the

    fraudulent scheme ways, to achieve the fraudulent scheme alleged and to secret the proceeds in

    false names and in jurisdictions where they would not be available for satisfaction of the legitimate

    debts of creditors, and performed the stated acts in pursuance of such agreement in so doing

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    committed theft by the terms of Fla. Stat. § 812.014 and Plaintiffs are entitled to the civil remedies

    set forth in Fla. Stat. § 772.11, including treble damages, attorneys’ fees and the expenses of this

    action.

              580.   All conditions precedent to this action, including statutory notice, have been

    complied with, waived, or have been otherwise satisfied.

              WHEREFORE, Plaintiffs demand against Defendants, jointly and severally, three times

    the damage suffered, namely $60,932,547.00, plus interest, and such further and other legal and

    equitable relief as may appear just, plus the attorneys’ fees, costs and expenses of this action.

                                           COUNT X
                                  AIDING AND ABETTING THEFT

              Further or alternatively, Plaintiffs re-allege paragraphs 1-536 and 577 against EIKE

    BATISTA, ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, PAULO

    MENDONÇA, FLAVIO GODINHO, PAULO GOUVEA, MARCUS BERTO, LUIZ

    CARNEIRO, AZIZ BEN AMMAR, BANCO ITAÚ INTERNATIONAL, 63X INVESTMENTS

    LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET MINING FUND, LLC,

    CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD.,

    WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC,

    AUX LUXEMBOURG SARL, and AUX LLC, and say as follows:

              581.   As detailed above, the foregoing Defendants, with criminal intent, at numerous

    times and on various dates and in various places, with knowledge of the fraudulent scheme,

    provided substantial assistance to advance the commission of the fraud and so aided and abetted

    BATISTA and his co-conspirators in achieving the fraudulent scheme alleged, and to secret the

    proceeds in false names and in jurisdictions where they would not be available for satisfaction of

    the legitimate debts of creditors, and in so doing committed theft by the terms of Fla. Stat. §




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    812.014 and Plaintiffs are entitled to the civil remedies set forth in Fla. Stat. § 772.11, including

    treble damages, attorneys’ fees and the expenses of this action.

           582.    All conditions precedent to this action, including statutory notice, have been

    complied with, waived, or have been otherwise satisfied.

           WHEREFORE, Plaintiffs demand against Defendants, jointly and severally, three times

    the damage suffered, namely $60,932,547.00, plus interest, and such further and other legal and

    equitable relief as may appear just, plus the attorneys’ fees, costs and expenses of this action.

                                      COUNT XI
                      FLORIDA UNIFORM FRAUDULENT TRANSFER ACT

           Further or alternatively, Plaintiffs allege paragraphs 1-536 against EIKE BATISTA,

    ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA, MARCUS BERTO, ERICK

    MAGNO, ERICK MAGNO, PL, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X

    FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN

    EQUITY FUND LLC, CENTENNIAL ASSET LTD., 3BX INVESTMENTS, LLC, 3BX

    INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL, AUX LLC, and FLAVIA

    SAMPAIO, OLIN BATISTA, and LUMA DE OLIVEIRA and say as follows:

           583.    The foregoing Defendants, in ways, upon dates, and in places that are unknown

    before discovery, beyond what is set forth herein, made fraudulent transfers of assets, cash, and

    property: (a) with actual intent to hinder, delay, or defraud creditors; or (b) without receiving a

    reasonably equivalent value in exchange for the transfer or obligation, when BATISTA and each

    of the other liable Defendants were engaged in or were about to; engage in a business or a

    transaction for which his and their remaining assets were unreasonably small in relation to the

    business or transaction; or intended to incur, or believed or reasonably should have believed that

    he or they would incur, debts beyond his or their ability to pay as they became due, contrary to

    Fla. Stat. § 726.101, et seq.

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           The Swiss Trust:

           584.    In particular, between 2013 and 2015, the Defendants MAGNO and MAGNO PL

    received funds in Florida from the defendants EIKE BATISTA and THOR BATISTA.

           585.    Part or all of the funds were sent from a Cayman Islands account of 63X MASTER

    FUND. Two tranches of $15 million each, for a total of $30 million, were received in late

    December 2013. The total received is believed to have been in excess of $70 million.

           586.    The funds were received into the MAGNO PL trust account which was owned and

    controlled by MAGNO and over which he had a responsibility as trustee to his firm’s clients.

           587.    MAGNO and his client BERTO both knew that EIKE BATISTA’s EBX Group

    was in financial crisis, and they knew or should have known that BATISTA and his family

    members and companies were unable to pay the billions of dollars in debt that they owed.

           588.    MAGNO and BERTO further knew or should have known that the request from

    EIKE BATISTA, THOR BATISTA and 63X MASTER FUND was for the purpose of fraudulently

    evading such creditors. With such knowledge, both agreed to help transfer the funds out of Florida.

           589.    Accordingly, BERTO agreed to act as the trustee of a trust set up by MAGNO for

    the benefit of EIKE BATISTA, THOR BATISTA and their family members.

           590.    As trustee, BERTO was vested with legal title to the funds placed in his name and

    was a transferee.

           591.    As the legal owner, BERTO then transferred or permitted the transfer of such funds

    abroad, out of Florida, to Switzerland, for the purpose of fraudulently avoiding creditors of the

    beneficiaries of the trust, EIKE BATISTA, THOR BATISTA and their family members.

           592.    It is believed that such sum was in excess of $40 million. It is unknown before

    discovery how much more money was so transferred.




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           593.    As trustee, MAGNO received legal title to the funds, was a transferee, and should

    be bound to return them to Florida, or an equivalent value.

           594.    It is believed that the beneficiaries of the two trusts were BATISTA and his family

    members, which would include one, more, all of the Defendants, EIKE BATISTA, ELIEZER

    BATISTA, WERNER BATISTA, THOR BATISTA, OLIN BATISTA, FLAVIA SAMPAIO and

    LUMA DE OLIVEIRA.

           595.    As beneficiaries they received equitable title to the funds for no consideration and

    as transferees should be bound to return them to Florida, or an equivalent value.

           The Miami Trust:

           596.    There was at least another $30 million received into the MAGNO PL trust account.

    In early 2014, MAGNO used $15 million of that sum, at BATISTA’s request, to make a loan at

    120% interest to OGX, then in reorganization as OGPar, as a trustee for undeclared beneficiaries.

           597.    The loan was accepted by the management of the company, which included

    BATISTA, who knew the truth behind the transaction, and who directed that it be repaid with $3

    million in interest a couple of months later. This was a mode of further looting the bankrupt

    company without notice to creditors that BATISTA was behind the transcation.

           598.    The $18 million joined the $15 million in the MAGNO PL trust account, for a total

    of $33 million. Such sum, and perhaps more, was “parked” there between 2013 and 2015 in order

    for BATISTA to hide it from creditors.

           599.    MAGNO had legal title to such funds as trustee, and was a transferee. He thereafter

    sent such funds out of Florida at BATISTA’s request, to fraudulently evade creditors.

           600.    As trustee, MAGNO received legal title to the funds, was a transferee, and should

    be bound to return them to Florida, or an equivalent value.




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              601.   It is believed that the beneficiaries of the two trusts were BATISTA and his family

    members, which would include one, more, all of the Defendants, EIKE BATISTA, ELIEZER

    BATISTA, WERNER BATISTA, THOR BATISTA, OLIN BATISTA, FLAVIA SAMPAIO and

    LUMA DE OLIVEIRA.

              602.   As beneficiaries they received equitable title to the funds for no consideration and

    as transferees should be bound to return them to Florida, or an equivalent value.

              603.   It is unknown before discovery how many more such transacations were carried out

    in Florida and Plaintiffs reserve the right to amend to add such additional claims as discovery may

    reveal.

              The Banco Itaú Miami Transfers:

              604.   Further, upon information and belief, EIKE BATISTA, ELIEZER BATISTA,

    WERNER BATISTA, THOR BATISTA, MARCUS BERTO, ERICK MAGNO, ERICK

    MAGNO, PL, 63X INVESTMENTS LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL

    ASSET MINING FUND, LLC, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC,

    CENTENNIAL ASSET LTD., 3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC,

    AUX LUXEMBOURG SARL, and AUX LLC, and other Defendants as discovery may reveal,

    defrauded creditors by assisting in the transfer of funds from accounts held at BANCO ITAÚ

    MIAMI into other names at that same bank, and to accounts in their own and other names outside

    Florida, as is set forth above.

              WHEREFORE, Plaintiffs demand: (a) avoidance of such transfers or obligations to the

    extent necessary to satisfy their claims; (b) an attachment or other provisional remedy against the

    assets transferred or other property of the transferees in accordance with applicable law; (c) an

    injunction against further disposition by the debtors or transferees, or both, of the assets transferred

    or of other property; (d) the appointment of a receiver to take charge of the assets transferred or of



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    other property of the transferee; and (d) such further and other relief as the Court deems just,

    including a mandatory injunction ordering the re-payment of any funds transferred, an accounting

    as to all sums had and transferred, damages or equitable compensation for such sums as are not

    returned, plus interest, costs and attorneys’ fees.

                                    COUNT XII
                    CONSPIRACY TO COMMIT FRAUDULENT TRANSFERS

           Further or alternatively, Plaintiffs re-allege paragraphs 1-536 and paragraphs 583-604

    against EIKE BATISTA, ELIEZER BATISTA, WERNER BATISTA, THOR BATISTA,

    FLAVIO GODINHO, MARCUS BERTO, LUIZ CARNEIRO, AZIZ BEN AMMAR, ERICK

    MAGNO, ERICK MAGNO, PL, BANCO ITAÚ INTERNATIONAL, EFG CAPITAL

    INTERNATIONAL CORP., EFG BANK AG, 63X INVESTMENTS LTD., 63X MASTER

    FUND, 63X FUND, CENTENNIAL ASSET MINING FUND, LLC, CENTENNIAL ASSET

    BRAZILIAN EQUITY FUND LLC, CENTENNIAL ASSET LTD., WRM1 LLC, WRM2 LLC,

    3BX INVESTMENTS, LLC, 3BX INVESTMENT FUND I, LLC, AUX LUXEMBOURG SARL,

    AUX LLC, FLAVIA SAMPAIO, OLIN BATISTA, and LUMA DE OLIVEIRA and say as

    follows:

           605.    The foregoing Defendants, in ways, upon dates, and in places that are unknown

    before discovery, beyond what is set forth above, conspired with BATISTA and others among

    themselves, to make fraudulent transfers of assets, cash, and property: (a) with actual intent to

    hinder, delay, or defraud creditors; or (b) without receiving a reasonably equivalent value in

    exchange for the transfer or obligation, when BATISTA and such other liable Defendants were:

    engaged or were about to engage in a business or a transaction for which his or their remaining

    assets were unreasonably small in relation to the business or transaction; intended to incur, or

    believed or reasonably should have believed that he and they would incur, debts beyond his and

    their ability to pay as they became due, contrary to Fla. Stat. § 726.101, et seq.

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             606.   In particular, EIKE BATISTA, THOR BATISTA, MARCUS BERTO, ERICK

    MAGNO, ERICK MAGNO, PL, EFG MIAMI, EFG BANK AG, 63X MASTER FUND and

    FLAVIA SAMPAIO, OLIN BATISTA, and LUMA DE OLIVEIRA, agreed and conspired

    together to defraud creditors by assisting in the transfer of in excess of $40 million out of Florida

    to Switzerland, as is set forth above.

             607.   Further, EIKE BATISTA, THOR BATISTA, ERICK MAGNO, ERICK MAGNO,

    PL, and 63X MASTER FUND, agreed and conspired together to defraud creditors by assisting in

    the transfer of in excess of $33 million out of Florida to accounts in other countries, as is set forth

    above.

             608.   Further, upon information and belief, EIKE BATISTA, ELIEZER BATISTA,

    WERNER BATISTA, THOR BATISTA, FLAVIO GODINHO, MARCUS BERTO, LUIZ

    CARNEIRO, AZIZ BEN AMMAR, ERICK MAGNO, ERICK MAGNO, PL, BANCO ITAÚ

    INTERNATIONAL, EFG CAPITAL INTERNATIONAL CORP., EFG BANK AG, 63X

    INVESTMENTS LTD., 63X MASTER FUND, 63X FUND, CENTENNIAL ASSET MINING

    FUND, LLC, CENTENNIAL ASSET BRAZILIAN EQUITY FUND LLC, CENTENNIAL

    ASSET LTD., WRM1 LLC, WRM2 LLC, 3BX INVESTMENTS, LLC, 3BX INVESTMENT

    FUND I, LLC, AUX LUXEMBOURG SARL, and AUX LLC, and other Defendants as discovery

    may reveal, agreed and conspired together to defraud creditors by assisting in the transfer of funds

    out of accounts held in their names to accounts in other names at BANCO ITAÚ MIAMI and

    further to accounts outside Florida, as is set forth above.

             WHEREFORE, Plaintiffs demand: (a) avoidance of such transfers or obligations to the

    extent necessary to satisfy their claims; (b) an attachment or other provisional remedy against the

    assets transferred or other property of the transferees in accordance with applicable law; (c) an

    injunction against further disposition by the debtors or transferees, or both, of the assets transferred



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    or of other property; (d) the appointment of a receiver to take charge of the assets transferred or of

    other property of the transferees; and (d) such further and other relief as the Court deems just,

    including a mandatory injunction ordering the re-payment of any funds transferred, an accounting

    as to all sums had and transferred, damages or equitable compensation for such sums as are not

    returned, plus interest, costs and attorneys’ fees.

                                      DEMAND FOR JURY TRIAL

           Plaintiffs demand trial by jury on all issues so triable, including liability for, and amount

    of, punitive damages on all applicable counts.

                                                   Respectfully submitted,
                                                   ABALLI MILNE KALIL, P.A.
                                                   Counsel for Plaintiffs
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                                                   One Southeast Third Ave.
                                                   Miami, FL 33131
                                                   Phone: (305) 373–6600
                                                   Fax: (305) 373–7929

                                                   s/ Hendrik G. Milne
                                                   Hendrik G. Milne
                                                   Florida Bar No.: 335886
                                                   Craig P. Kalil
                                                   Florida Bar No.: 607282

                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY, that on this 4th day of December, 2017 a true and correct copy of

    the foregoing was electronically filed via ECMF filing Portal, which will serve this document on

    all counsel of record via this Court’s e-service system.

                                                   s/ Hendrik G. Milne
                                                   Hendrik G. Milne




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